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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                          FT. LAUDERDALE DIVISION

                            CASE NO.: _______________




  SEMINOLE TRIBE OF FLORIDA,

  Plaintiff,

  v.

  AMERISOURCEBERGEN DRUG                                    COMPLAINT
  CORPORATION; CARDINAL HEALTH,
  INC.; McKESSON CORPORATION;                  Complaint for Violation of the Florida
  PURDUE PHARMA L.P.; PURDUE PHARMA,           Deceptive and Unfair Trade Practices Act;
  INC.; THE PURDUE FREDERICK COMPANY,          Violations of Racketeer Influenced and
  INC.; TEVA PHARMACEUTICALS USA, INC.;        Corrupt Organizations Act (RICO) 18 U.S.C.
  CEPHALON, INC.; JOHNSON & JOHNSON;           §§ 1961 et seq. and 1962(d) et seq.; Public
  JANSSEN PHARMACEUTICALS, INC.; ENDO          Nuisance; Negligence; and Gross Negligence
  HEALTH SOLUTIONS INC.; ENDO
  PHARMACEUTICALS, INC.; ALLERGAN
  FINANCE, LLC; ACTAVIS PHARMA; ACTAVIS,
  LLC; INSYS THERAPEUTICS, INC.;
                                                        JURY TRIAL DEMANDED
  MALLINCKRODT LLC, WALGREEN CO.; CVS
  HEALTHCARE CORP.; and CVS PHARMA,

  Defendants.
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                       COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff, the Seminole Tribe of Indians (“Plaintiff”), brings this Complaint against

  Defendants Purdue Pharma L.P.; Purdue Pharma, Inc.; the Purdue Frederick Company, Inc.; Teva

  Pharmaceuticals USA, Inc.; Cephalon, Inc.; Johnson & Johnson; Janssen Pharmaceuticals, Inc.;

  Endo Health Solutions, Inc.; Endo Pharmaceuticals, Inc.; Allergan Finance, LLC; Actavis, LLC;

  Actavis Pharma, Inc.; Mallinckrodt, LLC; McKesson Corporation; Cardinal Health, Inc.; Insys

  Therapeutics, Inc.; AmerisourceBergen Drug Corporation; Walgreen Co.; CVS Healthcare Corp.;

  and CVS Pharmacy (collectively “Defendants”) and alleges as follows:

                                          INTRODUCTION

         1.      The Seminole Tribe of Indians has been ravaged by the opioid epidemic. Thousands

  of tribal members, both young and old, have had their lives destroyed by opioid addiction. Opioid

  addiction and overdose have killed many tribal members and has destroyed hundreds of Seminole

  families leaving those who remain to pick up the pieces. The Seminole Tribe has exhausted vast

  resources to combat the opioid epidemic. The Seminole Tribe has been compelled to provide drug

  rehabilitation and therapy to its members, family counseling, foster care, medical services, and

  other services due to the opioid crisis on its lands. The Seminole Tribe now brings this civil action

  to eliminate the hazard to public health and safety in its community caused by the opioid epidemic,

  to abate the nuisance caused thereby, and to recoup monies spent because of Defendants’ false,

  deceptive, and unfair marketing and/or unlawful diversion of prescription opioids.

         2.      Opioid analgesics are widely diverted and improperly used, and the widespread

  abuse of opioids has resulted in a national epidemic of opioid overdose deaths and addictions.

         3.      The opioid epidemic is “directly related to the increasingly widespread misuse of

  powerful opioid pain medications.”




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         4.      Plaintiff brings this suit against the manufacturers of prescription opioids. The

  manufacturers aggressively pushed highly addictive, dangerous opioids, falsely representing to

  doctors that patients would only rarely succumb to drug addiction. These pharmaceutical

  companies aggressively advertised to and persuaded doctors to prescribe highly addictive,

  dangerous opioids and turned patients into drug addicts for their own corporate profit. Such actions

  were intentional and/or unlawful.

         5.      Plaintiff also brings this suit against the wholesale distributors of these highly

  addictive drugs. The distributors and manufacturers intentionally and/or unlawfully breached their

  legal duties under federal and state law to monitor, detect, investigate, refuse and report suspicious

  orders of prescription opiates.

                                    NATURE OF THE ACTION

         6.      The Seminole Tribe of Indians of Florida brings this action against all Defendants

  asserting claims under the Florida Deceptive and Unfair Trade Practices Act, §§ 501.201 et seq.,

  Fla. Stat. (“FDUTPA”), and the Federal Racketeer Influenced and Corrupt Organization Act

  (RICO) 18 U.S.C. 1961 et seq. as well as claims for public nuisance, negligence, gross negligence,

  and civil conspiracy against all defendants.

                                      JURISDICTION & VENUE

         7.      This Court has subject-matter jurisdiction under 28 U.S.C. § 1362 because this

  action is brought by an Indian tribe and under 28 U.S.C. § 1331 based upon the federal claims

  asserted under the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1961, et seq.

  (“RICO”) and based on its public nuisance claims asserted under the federal common law. This

  Court has supplemental jurisdiction over Plaintiff’s non-federal law claims pursuant to 28 U.S.C.




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  § 1367 because those claims are so related to Plaintiff’s federal claims that they form part of the

  same case or controversy.

         8.      This Court has personal jurisdiction over Defendants because they conduct business

  in Florida and within Plaintiff’s land and reservation, purposefully direct or directed their actions

  toward Florida and Plaintiff’s land and reservation, consented to be sued in Florida by registering

  an agent for service of process, and/or consensually submitted to the jurisdiction of Florida when

  obtaining a manufacturer or distributor license and have the requisite minimum contacts with

  Florida necessary to constitutionally permit the Court to exercise jurisdiction.

         9.      This Court also has personal jurisdiction over all of the defendants under 18 U.S.C.

  1965(b). This Court may exercise nationwide jurisdiction over the named Defendants where the

  “ends of justice” require national service and Plaintiff demonstrates national contacts. Here, the

  interests of justice require that Plaintiff be allowed to bring all members of the nationwide RICO

  enterprise before the court in a single trial. See, e.g., Iron Workers Local Union No. 17 Insurance

  Fund v. Philip Morris Inc., 23 F. Supp. 2d 796 (1998) (citing LaSalle National Bank V. Arroyo

  Office Plaza, Ltd., 1988 WL 23824, *3 (N.D. Ill. Mar 10, 1988); Butcher’s Union Local No. 498

  v. SDC Invest., Inc., 788 F.2d 535, 539 (9th Cir. 1986).

         10.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 18 U.S.C. § 1965

  because a substantial part of the events or omissions giving rise to the claim occurred in this

  District and each Defendant transacted affairs and conducted activity that gave rise to the claim of

  relief in this District. 28 U.S.C. §§ 1391(b); § 1965(a).

                                           PARTIES
         A.      The Seminole Tribe of Indians of Florida

         11.     Plaintiff, the Seminole Tribe, is a federally recognized Indian tribe, which occupies

  6 reservations areas in South Florida located in the Collier, Broward, Hendry, Glades, St. Lucie,


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  and Hillsborough Counties. The Seminole Tribe has the sovereign power to make and operate its

  own government, to make its own laws, and to seek redress in federal, state, and tribal courts for

  injuries suffered by the Plaintiff and its members and to bring the causes of action stated herein.

            B.     Manufacturer Defendants.

            12.    The Manufacturer Defendants are defined below. At all relevant times, the

  Manufacturer Defendants have packaged, distributed, supplied, sold, placed into the stream of

  commerce, labeled, described, marketed, advertised, promoted, and purported to warn or purported

  to inform prescribers and users regarding the benefits and risks associated with the use of the

  prescription opioid drugs.

            13.    The Manufacturer Defendants, at all times, have manufactured and sold

  prescription opioids without fulfilling their legal duty to prevent diversion and report suspicious

  orders.

            1.     Purdue

            14.    PURDUE PHARMA L.P. is a limited partnership organized under the laws of

  Delaware. PURDUE PHARMA INC. is a New York corporation with its principal place of

  business in Stamford, Connecticut, and THE PURDUE FREDERICK COMPANY is a Delaware

  corporation with its principal place of business in Stamford, Connecticut (collectively, “Purdue”).

            15.    Purdue manufactures, promotes, sells, and distributes opioids such as OxyContin,

  MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq ER in the United States.

  OxyContin is Purdue’s best-selling opioid. Since 2009, Purdue’s annual nationwide sales of

  OxyContin have fluctuated between $2.47 billion and $2.99 billion, up four-fold from its 2006

  sales of $800 million. OxyContin constitutes roughly 30% of the entire market for analgesic drugs

  (painkillers).




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         16.     Purdue and/or its affiliates held an out-of-state prescription drug wholesale

  distributor license under Florida law during the relevant times.

         2.      Cephalon

         17.     CEPHALON, INC. is a Delaware corporation with its principal place of business

  in Frazer, Pennsylvania. TEVA PHARMACEUTICAL INDUSTRIES, LTD. (“Teva Ltd.”) is an

  Israeli corporation with its principal place of business in Petah Tikva, Israel. In 2011, Teva Ltd.

  acquired Cephalon, Inc. TEVA PHARMACEUTICALS USA, INC. (“Teva USA”) is a Delaware

  corporation and is a wholly-owned subsidiary of Teva Ltd. in Pennsylvania. Teva USA acquired

  Cephalon in October 2011.

         18.     Cephalon, Inc. manufactures, promotes, sells, and distributes opioids such as Actiq

  and Fentora in the United States and Florida. Actiq has been approved by the FDA only for the

  “management of breakthrough cancer pain in patients 16 years and older with malignancies who

  are already receiving and who are tolerant to around-the-clock opioid therapy for the underlying

  persistent cancer pain.” Fentora has been approved by the FDA only for the “management of

  breakthrough pain in cancer patients 18 years of age and older who are already receiving and who

  are tolerant to around-the-clock opioid therapy for their underlying persistent cancer pain.” In

  2008, Cephalon pled guilty to a criminal violation of the Federal Food, Drug and Cosmetic Act for

  its misleading promotion of Actiq and two other drugs and agreed to pay $425 million.

         19.     Teva Ltd., Teva USA and Cephalon, Inc. work together closely to market and sell

  Cephalon products in the United States. Teva Ltd. conducts all sales and marketing activities for

  Cephalon in the United States through Teva USA and has done so since its October 2011

  acquisition of Cephalon. Teva Ltd. and Teva USA hold out Actiq and Fentora as Teva products to

  the public. Teva USA sells all former Cephalon branded products through its “specialty medicines”




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   division. The FDA-approved prescribing information and medication guide, which is distributed

   with Cephalon opioids, discloses that Teva USA submitted the guide, and directs physicians to

   contact Teva USA to report adverse events.

          20.     All of Cephalon’s promotional websites, including those for Actiq and Fentora,

   display Teva Ltd.’s logo. Teva Ltd.’s financial reports list Cephalon’s and Teva USA’s sales as its

   own, and its year-end report for 2012—the year immediately following the Cephalon acquisition—

   attributed a 22% increase in its specialty medicine sales to “the inclusion of a full year of

   Cephalon’s specialty sales,” including, among other things, sales of Fentora®. Through

   interrelated operations like these, Teva Ltd. operates in the United States through its subsidiaries

   Cephalon and Teva USA. The United States is the largest of Teva Ltd.’s global markets,

   representing 53% of its global revenue in 2015, and, were it not for the existence of Teva USA

   and Cephalon, Inc., Teva Ltd. would conduct those companies’ business in the United States itself.

   Upon information and belief, Teva Ltd. directs the business practices of Cephalon and Teva USA,

   and their profits inure to the benefit of Teva Ltd. as controlling shareholder. Teva Pharmaceutical

   Industries, Ltd.; Teva Pharmaceuticals USA, Inc. and Cephalon, Inc. are referred to as “Cephalon.”

          21.     Cephalon and its corporate affiliates held an out-of-state prescription drug

   wholesale distributor license under Florida law during the relevant times.

          3.      Janssen

          22.     JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its

   principal place of business in Titusville, New Jersey and is a wholly owned subsidiary of

   JOHNSON & JOHNSON (J&J), a New Jersey corporation with its principal place of business in

   New Brunswick, New Jersey. NORAMCO, INC. (“Noramco”) is a Delaware company

   headquartered in Wilmington, Delaware and was a wholly owned subsidiary of J&J until July




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   2016. ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC., now known as JANSSEN

   PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal place of business

   in Titusville, New Jersey. JANSSEN PHARMACEUTICA INC., now known as JANSSEN

   PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal place of business

   in Titusville, New Jersey. J&J is the only company that owns more than 10% of Janssen

   Pharmaceuticals’ stock, and J&J corresponds with the FDA regarding Janssen’s products. Upon

   information and belief, J&J controls the sale and development of Janssen Pharmaceuticals’ drugs

   and Janssen’s profits inure to J&J’s benefit. Janssen Pharmaceuticals, Inc.; Ortho-McNeil Janssen

   Pharmaceuticals, Inc.; Janssen Pharmaceutica, Inc.; Noramco and J&J are referred to as “Janssen.”

          23.     Janssen manufactures, promotes, sells and distributes drugs in the United States and

   Florida, including the opioid Duragesic (fentanyl). Before 2009, Duragesic accounted for at least

   $1 billion in annual sales. Until January 2015, Janssen developed, marketed and sold the opioids

   Nucynta (tapentadol) and Nucynta ER. Together, Nucynta and Nucynta ER accounted for $172

   million in sales in 2014.

          24.     Janssen and/or its corporate affiliates held an out-of-state prescription drug

   wholesale distributor license under Florida law during the relevant times.

          4.      Endo

          25.     ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its principal

   place of business in Malvern, Pennsylvania. ENDO PHARMACEUTICALS INC. is a wholly-

   owned subsidiary of Endo Health Solutions Inc. and is a Delaware corporation with its principal

   place of business in Malvern, Pennsylvania. Endo Health Solutions Inc. and Endo Pharmaceuticals

   Inc. are referred to as “Endo.”




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           26.    Endo develops, markets and sells prescription drugs, including the opioids

   Opana/Opana ER, Percodan, Percocet and Zydone, in the United States. Opioids made up roughly

   $403 million of Endo’s overall revenues of $3 billion in 2012. Opana ER yielded $1.15 billion in

   revenue from 2010 and 2013, and it accounted for 10% of Endo’s total revenue in 2012. Endo also

   manufactures and sells generic opioids such as oxycodone, oxymorphone, hydromorphone, and

   hydrocodone products in the United States, by itself and through its subsidiary, Qualitest

   Pharmaceuticals, Inc.

           27.    Endo and/or its affiliates held an out-of-state prescription drug wholesale

   distributor license under Florida law during the relevant times.

           5.     Allergan Entities

           28.    Defendant Allergan Finance, LLC is a Nevada limited liability company with its

   principal place of business in New Jersey. Allergan Finance, LLC was formerly known as Actavis,

   Inc. and Watson Pharmaceuticals, Inc. Allergan Finance, LLC is referred to herein as “Allergan”

           29.    Defendant Actavis Pharma, Inc.is a Delaware corporation with its principal place

   of business in New Jersey. Defendant Active LLC is a Delaware limited liability company with its

   principal place of business in New Jersey. During the time period described herein and until they

   were sold to Teva Pharmaceutical Industries Ltd. In August 2016, Actavis Pharma Inc. and Actavis

   LLC were part of the same corporate family as Allergan Finance, LLC and sold and marketed

   opioids as part of a coordinated strategy to sell and market the branded and generic opioids of

   Allergan Finance LLC, Actavis Pharma, Inc. and Actavis LLC. Allegations with regard to

   “Allergan” also refer to activites of Actavis Pharma, Inc. and Actavis LLC prior to their sale to

   Teva.




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          30.     Allergan, Actavis Pharma, Inc. and Actavis LLC manufacture, promote, market

   sell, and distributes opioids, including the branded drugs Kadian and Norco, a generic version of

   Kadian and generic versions of Duragesic and Opana, in the United States and Florida. Actavis

   acquired the rights to Kadian from King Pharmaceuticals, Inc. on December 30, 2008 and began

   marketing Kadian in 2009.

          31.     Allergan and/or its corporate affiliates held an out-of-state prescription drug

   wholesale distributor license under Florida law during the relevant times.

          6.      Mallinckrodt

          32.     MALLINCKRODT, LLC is a limited liability company organized and existing

   under the laws of the State of Delaware with its U.S. headquarters in St. Louis, Missouri.

   Mallinckrodt LLC is a subsidiary of Mallinckrodt plc, which is an Irish public limited company

   with its headquarters in Staines-Upon-Thames, Surry in the United Kingdom. The pharmaceutical

   business of drug-maker Covidien plc was transferred to Mallinckrodt plc in January 2013.

   Mallinckrodt LLC is referred to herein as “Mallinckrodt.” Mallinckrodt maintains an office in

   Florida.

          33.     Mallinckrodt manufactures four branded opioids: Exalgo (extended release

   hydromorphone), Roxicodone (oxycodone), Xartemis XR (extended-release oxycodone and

   acetaminophen), and Methadose (methadone hydrochloride). Mallinckrodt is also one of the

   largest manufacturers of generic opioids, manufacturing extended release morphine sulfate, oral

   solution of morphine sulfate, fentanyl transdermal system, oral transmucosal fentanyl citrate, a

   combination of oxycodone and acetaminophen, hydrocodone bitartrate and acetaminophen,

   hydromorphone hydrochloride and an extended release version of the same, oxymorphone




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   hydrochloride, methadone hydrochloride, oxycodone hydrochloride, and buprenorphine and

   naloxone.

          34.       Mallinckrodt manufactures, markets and sells branded and generic opioids in the

   United States and Florida, including generic oxycodone, of which it is one of the largest

   manufacturers.

          35.       In July 2017, Mallinckrodt agreed to pay $35 million to settle allegations brought

   by the Department of Justice that it failed to detect and notify the DEA of suspicious orders of

   controlled substances.

          36.       Mallinckrodt held an out-of-state prescription drug wholesale distributor license

   under Florida law during the relevant times. Mallinckrodt described itself as a “manufacturer and

   distributor of oxycodone and hydrocodone products” in a 2017 settlement with the Drug

   Enforcement Administration (“DEA”) (emphasis added).

          7.        Insys

          37.       Defendant Insys Therapeutics, Inc. is a Delaware corporation with its principal

   place of business in Arizona.

          38.       Insys manufactures Subsys (immediate-release fentanyl).

          39.       Insys promoted, advertised, and sold opioids in Florida and nationwide, including

   Subsys.

          C.        Distributor Defendants

          40.       Defendants AmerisourceBergen, Cardinal, McKesson, Walgreens, and CVS are

   collectively referred to herein as the “Distributor Defendants,” even though nearly all

   Manufacturer Defendants also held distributor licenses in Florida and distributed opioids.

   Defendants AmerisourceBergen, Cardinal, and McKesson’s primary business is the distribution of




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   pharmaceuticals. Defendants Walgreens and CVS operate national retail chain pharmacies,

   including many pharmacies across Florida, and are, along with Defendants AmerisourceBergen,

   Cardinal, and McKesson, among the biggest distributors of opioids in the State of Florida.

          41.     The Distributor Defendants are among the largest and most profitable companies

   in the United States. In 2017, Walgreens ranked seventeenth on the list of Fortune 500 companies,

   Cardinal ranked fifteenth, AmerisourceBergen ranked eleventh, CVS ranked Seventh, and

   McKesson ranked fifth. Together, the Distributor Defendants generated revenue of more than $750

   billion in 2017.

          42.     The Distributor Defendants also are defined below. At all relevant times, the

   Distributor Defendants have distributed, supplied, sold and placed into the stream of commerce

   the prescription opioids, without fulfilling the fundamental duty of wholesale drug distributors to

   detect and warn of diversion of dangerous drugs for non-medical purposes. The Distributor

   Defendants universally failed to comply with federal and/or state law. The Distributor Defendants

   are engaged in “wholesale distribution,” as defined under state and federal law. The Distributor

   Defendants distributed opioids to Florida pharmacies which were then purchased by consumers,

   Seminole Tribal members, and Indian Health Services. Plaintiff alleges the unlawful conduct by

   the Distributor Defendants is responsible for the volume of prescription opioids plaguing the

   Seminole Tribe.

          43.     The data that reveals and/or confirms the identity of each wrongful opioid

   distributor is hidden from public view in the DEA’s confidential ARCOS database. See Madel v.

   USDOJ, 784 F.3d 448 (8th Cir. 2015). Neither the DEA nor the wholesale distributors will

   voluntarily disclose the data necessary to identify with specificity the transactions which will form

   the evidentiary basis for the claims asserted herein.




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          44.     Consequently, Plaintiff has named the three (3) wholesale distributors (i.e.,

   AmerisourceBergen Drug Corporation; Cardinal Health, Inc. and McKesson Corporation) that

   dominate 85% of the market share for the distribution of prescription opioids. The “Big 3” are

   Fortune 500 corporations listed on the New York Stock Exchange whose principal business is the

   nationwide wholesale distribution of prescription drugs. See Fed. Trade Comm’n v. Cardinal

   Health, Inc., 12 F. Supp. 2d 34, 37 (D.D.C. 1998) (describing Cardinal Health, Inc.; McKesson

   Corporation and AmerisourceBergen Drug Corporation predecessors). Each has been investigated

   and/or fined by the DEA for the failure to report suspicious orders. Plaintiff has reason to believe

   each has engaged in unlawful conduct that resulted in the diversion of prescription opioids into the

   Seminole Tribe’s territory and society (the “Seminole Community”) and that discovery will likely

   reveal others who likewise engaged in unlawful conduct.

          1.      McKesson

          45.     Defendant, McKESSON CORPORATION, is a Delaware corporation with its

   principal place of business located in San Francisco, California. McKesson operates distribution

   centers and/or warehouses in Florida, including Orlando, Lakeland, and Jacksonville. In addition

   to distributing opioids, McKesson has marketed opioids during the relevant times.

          2.      Cardinal Health

          46.     Defendant, CARDINAL HEALTH, INC., is an Ohio corporation with its principal

   office located in Dublin, Ohio. Cardinal operates distribution centers and/or warehouses in Florida,

   including Lakeland, Jupiter, Pompano Beach, Weston, Tampa, and Jacksonville. In addition to

   distributing opioids, Cardinal has marketed opioids during the relevant times.




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          3.         AmerisourceBergen

          47.        Defendant, AMERISOURCEBERGEN DRUG CORPORATION, is a Delaware

   corporation with its principal place of business located in Chesterbrook, Pennsylvania.

   AmerisourceBergen operates distribution centers and/or warehouses in Florida, including Orlando.

   In addition to distributing opioids, AmerisourceBergen has marketed and promoted opioids,

   including through its marketing and consulting division, Xcenda, which has offices in Palm

   Harbor, Florida.

          4.         Walgreens

          48.        Defendant Walgreen Co. (“Walgreens”) is an Illinois corporation with its principal

   place of business in Illinois. Walgreens operates as a chain of retail pharmacies in Florida and it

   also operates as a distributor. Walgreens is one of the top distributors of opioids in Florida. In

   addition to dispensing and distributing opioids, Walgreens has marketed opioids during the

   relevant times.

          5.         CVS

          49.        Defendant CVS Health Corporation is a Delaware corporation with its principal

   place of business in Rhode Island. CVS Pharmacy, Inc. is a Rhode Island corporation with a

   principal place of business in Rhode Island. CVS Health Corporation and CVS Pharmacy, Inc. are

   collectively referred to as “CVS.” CVS, including through its subsidiary and affiliated entities,

   operates as a chain of retail pharmacies in Florida, and it also operates as a distributor. CVS is

   among the top distributors of opioids in Florida. In addition to dispensing and distributing opioids,

   CVS has marketed opioids during the relevant times.




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                                               STANDING

           50.      Opioid abuse, addiction, morbidity and mortality have created a serious public

   health and safety crisis in the Seminole Tribe’s territory and tribal lands, are a public nuisance,

   and diversion of legally-produced controlled substances into the illicit market causes or contributes

   to this public nuisance.

           51.      The distribution and diversion of opioids into Florida (“the State”), and into

   Seminole lands created the foreseeable opioid crisis and opioid public nuisance for which Plaintiff

   here seeks relief.

           52.      Plaintiff directly and foreseeably sustained all economic damages alleged herein.

           53.      Defendants’ conduct has exacted a financial burden for which the Plaintiff seeks

   relief. Categories of past and continuing sustained damages include, among other things: (1) costs

   for providing medical care, additional therapeutic and prescription drug purchases, and other

   treatments for patients suffering from opioid-related addiction or disease, including overdoses and

   deaths; (2) costs for providing treatment, counseling, and rehabilitation services; (3) costs for

   providing treatment of infants born with opioid-related medical conditions; (4) costs associated

   with law enforcement and public safety relating to the opioid epidemic; and (5) costs associated

   with providing care for children whose parents suffer from opioid-related disability or

   incapacitation. The Plaintiff has suffered, and continues to suffer directly, these damages.

           54.      Plaintiff also seeks the means to abate the epidemic created by Defendants’

   wrongful and/or unlawful conduct.

           55.      Plaintiff has standing to recover damages incurred as a result of Defendants’ actions

   and omissions.




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          56.     Plaintiff has standing to bring actions as an enterprise and a “person,” including,

   among other things; standing to bring claims under the federal RICO statute, pursuant to 18 U.S.C.

   § 1961(3) (“persons” include entities which can hold legal or beneficial title to property) and 18

   U.S.C. § 1964 (“persons” have standing).

                                    FACTUAL ALLEGATIONS


          A.      The Opioid Epidemic


                  1.      The National Opioid Epidemic

          57.     Increasing abuse and diversion of prescription drugs, including opioid medications,

   have characterized the past two decades in the United States. Prescription opioids have become

   widely prescribed. By 2010, enough prescription opioids were sold to medicate every adult in the

   United States with a dose of 5 milligrams of hydrocodone every 4 hours for 1 month.

          58.     By 2011, the U.S. Department of Health and Human Resources, Centers for Disease

   Control and Prevention declared prescription painkiller overdoses to be at epidemic levels. The

   press release noted:

          a.      The death toll from overdoses of prescription painkillers has more than tripled over

   the last decade.

          b.      More than 40 people die every day from overdoses involving narcotic pain relievers

   like hydrocodone (Vicodin), methadone, oxycodone (OxyContin) and oxymorphone (Opana).

          c.      Overdoses involving prescription painkillers are at epidemic levels and now kill

   more Americans than heroin and cocaine combined.

          d.      The increased use of prescription painkillers for nonmedical reasons, along with

   growing sales, has contributed to a large number of overdoses and deaths. In 2010, 1 in every 20

   people in the United States age 12 and older—a total of 12 million people—reported using


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   prescription painkillers non-medically, according to the National Survey on Drug Use and Health.

   Based on the data from the Drug Enforcement Administration, sales of these drugs to pharmacies

   and health care providers have increased by more than 300 percent since 1999.

          e.         Prescription drug abuse is a silent epidemic that is stealing thousands of lives and

   tearing apart communities and families across America.

          f.         Almost 5,500 people start to misuse prescription painkillers every day.

          59.        The number of annual opioid prescriptions written in the United States is now

   roughly equal to the number of adults in the population.

          60.        Many Americans are now addicted to prescription opioids, and the number of

   deaths due to prescription opioid overdose is unacceptable. In 2016, drug overdoses killed roughly

   64,000 people in the United States, an increase of more than 22 percent over the 52,404 drug deaths

   recorded the previous year.

          61.        Moreover, the CDC has identified addiction to prescription pain medication as the

   strongest risk factor for heroin addiction. People who are addicted to prescription opioid painkillers

   are forty times more likely to be addicted to heroin.

          62.        Heroin is pharmacologically similar to prescription opioids. The majority of current

   heroin users report having used prescription opioids non-medically before they initiated heroin

   use. Available data indicates that the nonmedical use of prescription opioids is a strong risk factor

   for heroin use.

          63.        The CDC reports that drug overdose deaths involving heroin continued to climb

   sharply, with heroin overdoses more than tripling in four (4) years. This increase mirrors large

   increases in heroin use across the country and has been shown to be closely tied to opioid pain

   reliever misuse and dependence. Past misuse of prescription opioids is the strongest risk factor for




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   heroin initiation and use, specifically among persons who report past-year dependence or abuse.

   The increased availability of heroin combined with its relatively low price (compared with diverted

   prescription opioids) and high purity appear to be major drivers of the upward trend in heroin use

   and overdose.

          64.      The societal costs of prescription drug abuse are “huge.” Across the nation, local

   governments are struggling with a pernicious, ever-expanding epidemic of opioid addiction and

   abuse. Every day, on average, 130 Americans die due to opioid overdose.

          65.      The National Institute on Drug Abuse identifies misuse and addiction to opioids as

   “a serious national crisis that affects public health as well as social and economic welfare.” The

   economic burden of prescription opioid misuse alone is $78.5 billion a year, including the costs of

   healthcare, lost productivity, addiction treatment and criminal justice expenditures.

          66.      The U.S. opioid epidemic is continuing, and drug overdose deaths nearly tripled

   during 1999–2014. Among 47,055 drug overdose deaths that occurred in 2014 in the United States,

   28,647 (60.9%) involved an opioid.

          67.      The rate of death from opioid overdose has quadrupled during the past 15 years in

   the United States. Nonfatal opioid overdoses that require medical care in a hospital or emergency

   department have increased by a factor of six in the past 15 years.

          68.      Every day brings a new revelation regarding the depth of the opioid plague: just to

   name one example, the New York Times reported in September 2017 that the epidemic, which

   now claims 60,000 lives a year, is now killing babies and toddlers because ubiquitous, deadly

   opioids are “everywhere” and mistaken for candy.




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          69.     On October 28, 2017, the President of the United States declared the opioid crisis

   a public health emergency.1

          70.     The epidemic of prescription pain medication and heroin deaths is devastating

   families and communities across the country. Meanwhile, the manufacturers and distributors of

   prescription opioids extract billions of dollars of revenue from the addicted American public, while

   public entities experience tens of millions of dollars of injury caused by the reasonably foreseeable

   consequences of the prescription opioid addiction epidemic.

          71.     The prescription opioid manufacturers and distributors, including the Defendants,

   have continued their wrongful, intentional and unlawful conduct, despite their knowledge that such

   conduct is causing and/or continuing to the national, state and local opioid epidemic.

                  2.      Florida’s Opioid Epidemic

          72.     Florida, like many other states, has been devastated by the national opioid crisis.

          73.     The 2016 Annual Report from Florida’s Statewide Drug Policy Advisory Council

   states that, since 2000, the rate of drug overdoses has increased 137 percent including a 200 percent

   increase in the rate of overdose deaths involving opioids. Notably, from 2003–2009 98 out of the

   top 100 physicians who dispensed the highest quantities of oxycodone were located in Florida.

          74.     While new legislation in Florida has curbed in-state prescription of opioids, the

   number of opioid-related overdoses continues to climb. Occurrences of opioid prescriptions have

   decreased but the presence of heroin, fentanyl, and other opioid related substances have increased

   in deceased overdose victims.




   1
    Julie Hirschfeld Davis, Trump Declares Opioid Crisis a ‘Health Emergency’ but Requests No
   Funds, THE NEW YORK TIMES, Oct. 26, 2017,
   https://www.nytimes.com/2017/10/26/us/politics/trump-opioid-crisis.html.


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          75.    The Advisory Council has found that the increase in deaths caused by heroin,

   fentanyl and other psychoactive narcotics is predominantly due to the reduced access to opioids

   since 2012. Opioid addicts have turned to these substances to mimic the effects of controlled

   substances.

          76.    The epidemic is also evident in the rise of Neonatal Abstinence Syndrome (NAS)

   cases. From 2010–2015 Florida saw the incidence of NAS increase by 86 percent (from 1,336 to

   2,487). NAS continues to be a largely underreported statistic that shows the resounding effect of

   the continuing opioid epidemic.

          77.    Infants born with NAS usually spend weeks in neonatal intensive care units while

   they painfully withdraw from the drugs—a process so painful that it traps many adults on opioids.

          78.    Children are also injured by the removal from their homes due to opioid abuse and

   addiction.

                 3.      The Seminole Opioid Epidemic

          79.    The Seminole Community is experiencing an excessive drug overdose rate related

   to an excessive volume of prescription opiates proximately caused by the wrongful conduct by the

   Defendants described and named herein.

          80.    The cumulative effect of the opioid epidemic in the United States and Florida has

   caused a public health crisis in the Seminole Community.

          81.    The Seminole Community resides throughout the State of Florida and the effects of

   the opioid crisis has reached every reservation and every family. The Seminole Tribe’s 6

   reservations span the Florida peninsula and are located in Collier, Broward, Hendry, Glades, St.

   Lucie, Hendry, and Hillsborough Counties. The national average for opioid prescriptions per 100




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   adults in the United States in 2017 was 58.7 per 100 adults while Florida’s average was 60.9 per

   100 adults.

                 a. Broward County, from 2006–2017, averaged 62.55 opioid prescriptions per 100

                    adults with a peak in 2010 of 77.3 opioid prescriptions per 100 adults. From 2010–

                    2017, Broward County averaged approximately 17 drug-related deaths per 100,000

                    people adding up to 2,524 drug-related deaths over the same time period.

                 b. Collier County, from 2006–2017, averaged 68.55 opioid prescriptions per 100

                    adults with a peak in 2007 of 78.7 opioid prescriptions per 100 adults. From 2010–

                    2017, Collier County averaged approximately 14 drug-related deaths per 100,000

                    people adding up to 382 drug-related deaths during the same time period.

                 c. Glades County is one of the most remote and rural counties in Florida and does not

                    have a great deal of data available regarding the effect of the opioid crisis.

                 d. Hendry County, from 2006–2017, averaged 80.25 opioid prescriptions per 100

                    adults with a peak in 2010 of 94.2 opioid prescriptions per 100 adults. Data related

                    to drug-related deaths and overdose is limited for Hendry County.

                 e. Hillsborough County, from 2006–2017, averaged 85.20 opioid prescriptions per

                    100 adults with a peak in 110.5 opioid prescriptions per 100 adults in 2006. From

                    2010–2017, Hillsborough County averaged approximately 16 drug-related deaths

                    per 100,000 people resulting in 1,667 deaths over the same time period.

                 f. St. Lucie County, from 2006–2017, averaged 72.48 opioid prescriptions per 100

                    adults with a peak in 2011 of 85.6 opioid prescriptions per 100 adults. From 2010–

                    2017, St. Lucie County averaged approximately 20 drug-related deaths per 100,000

                    people adding up to 466 deaths over the same time period.




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            82.   Excessive numbers of opioid prescriptions have also been dispensed in the

   Seminole Community.

            83.   Many residents of the Seminole Community have sought addiction treatment both

   through conventional and culturally traditional means. However, drug poisoning, death and opioid

   related addiction in the Seminole Community have significantly affected the community in recent

   years.

            84.   The opioid epidemic has placed increased budgetary constraints upon, among other

   things, the public health, medical care, and rehabilitation expenditures of the Seminole

   Community. Opioid addiction is one of the primary reasons members of the Seminole Tribe seek

   substance abuse treatment.

            85.   Opioid abuse, addiction, morbidity, and mortality are hazards to public health and

   safety in the Seminole Community, and constitute a temporary and continuing public nuisance,

   which remains unabated.

            B.    The Manufacturer Defendants’ False, Deceptive, And Unfair Marketing Of
                  Opioids.

            86.   The opioid epidemic did not happen by accident. Before the 1990s, generally

   accepted standards of medical practice dictated that opioids should only be used short-term for

   acute pain, pain relating to recovery from surgery, or for cancer or palliative (end-of-life) care.

   Due to the lack of evidence that opioids improved patients’ ability to overcome pain and function,

   coupled with evidence of greater pain complaints as patients developed tolerance to opioids over

   time and the serious risk of addiction and other side effects, the use of opioids for chronic pain

   was discouraged or prohibited. As a result, doctors generally did not prescribe opioids for chronic

   pain.




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          87.     Each Manufacturer Defendant has conducted, and has continued to conduct, a

   marketing scheme designed to persuade doctors and patients that opioids can and should be used

   for chronic pain, resulting in opioid treatment for a far broader group of patients who are much

   more likely to become addicted and suffer other adverse effects from the long-term use of opioids.

   In connection with this scheme, each Manufacturer Defendant spent, and continues to spend,

   millions of dollars on promotional activities and materials that falsely deny or trivialize the risks

   of opioids while overstating the benefits of using them for chronic pain.

          88.     The Manufacturer Defendants have made false and misleading claims, contrary to

   the language on their drugs’ labels, regarding the risks of using their drugs that: (1) downplayed

   the serious risk of addiction; (2) created and promoted the concept of “pseudoaddiction” when

   signs of actual addiction began appearing and advocated that the signs of addiction should be

   treated with more opioids; (3) exaggerated the effectiveness of screening tools to prevent

   addiction; (4) claimed that opioid dependence and withdrawal are easily managed; (5) denied the

   risks of higher opioid dosages; and (6) exaggerated the effectiveness of “abuse-deterrent” opioid

   formulations to prevent abuse and addiction. The Manufacturer Defendants have also falsely

   touted the benefits of long-term opioid use, including the supposed ability of opioids to improve

   function and quality of life, even though there was no scientifically reliable evidence to support

   the Manufacturer Defendants’ claims.

          89.     The Manufacturer Defendants have disseminated these common messages to

   reverse the popular and medical understanding of opioids and risks of opioid use. They

   disseminated these messages directly, through their sales representatives, in speaker groups led by

   physicians the Manufacturer Defendants recruited for their support of their marketing messages,

   through unbranded marketing and through industry-funded front groups.




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          90.     Defendants’ efforts have been wildly successful. Opioids are now the most

   prescribed class of drugs. Globally, opioid sales generated $11 billion in revenue for drug

   companies in 2010 alone; sales in the United States have exceeded $8 billion in revenue annually

   since 2009. In an open letter to the nation’s physicians in August 2016, the then-U.S. Surgeon

   General expressly connected this “urgent health crisis” to “heavy marketing of opioids to doctors

   . . . [m]any of [whom] were even taught—incorrectly—that opioids are not addictive when

   prescribed for legitimate pain.” This epidemic has resulted in a flood of prescription opioids

   available for illicit use or sale (the supply), and a population of patients physically and

   psychologically dependent on them (the demand). When those patients can no longer afford or

   obtain opioids from licensed dispensaries, they often turn to the street to buy prescription opioids

   or even non-prescription opioids, like heroin.

          91.     The Manufacturer Defendants intentionally continued their conduct, as alleged

   herein, with knowledge that such conduct was creating the opioid nuisance and causing the harms

   and damages alleged herein.

          C.      Each Manufacturer Defendant Used Multiple Avenues to Disseminate Their
                  False and Deceptive Statements About Opioids.

          92.     The Manufacturer Defendants spread their false and deceptive statements by

   marketing their branded opioids directly to doctors and patients in and around the State, including

   in the Seminole Community. Defendants also deployed seemingly unbiased and independent third

   parties that they controlled to spread their false and deceptive statements about the risks and

   benefits of opioids for the treatment of chronic pain throughout the State and the Seminole

   Community.

          93.     The Manufacturer Defendants employed the same marketing plans and strategies

   and deployed the same messages in and around the State, including in the Seminole Community,



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   as they did nationwide. Across the pharmaceutical industry, corporate headquarters fund and

   oversee “core message” development on a national basis. This comprehensive approach ensures

   that the Manufacturer Defendants’ messages are accurately and consistently delivered across

   marketing channels—including detailing visits, speaker events, and advertising—and in each sales

   territory. The Manufacturer Defendants consider this high level of coordination and uniformity

   crucial to successfully marketing their drugs.

          94.     The Manufacturer Defendants ensure marketing consistency nationwide through

   national and regional sales representative training; national training of local medical liaisons, the

   company employees who respond to physician inquiries; centralized speaker training; single sets

   of visual aids, speaker slide decks and sales training materials; and nationally coordinated

   advertising. The Manufacturer Defendants’ sales representatives and physician speakers were

   required to stick to prescribed talking points, sales messages and slide decks, and supervisors rode

   along with them periodically to both check on their performance and compliance.

                  1.      Direct Marketing.

          95.     The Manufacturer Defendants’ direct marketing of opioids generally proceeded on

   two tracks. First, each Manufacturer Defendant conducted and continues to conduct advertising

   campaigns touting the purported benefits of their branded drugs. For example, upon information

   and belief, the Manufacturer Defendants spent more than $14 million on medical journal

   advertising of opioids in 2011, nearly triple what they spent in 2001.

          96.     Many of the Manufacturer Defendants’ branded ads deceptively portrayed the

   benefits of opioids for chronic pain. For example, Endo distributed and made available on its

   website opana.com a pamphlet promoting Opana ER with photographs depicting patients with

   physically demanding jobs like construction worker, chef, and teacher, misleadingly implying that




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   the drug would provide long-term pain relief and functional improvement. Upon information and

   belief, Purdue also ran a series of ads, called “Pain vignettes,” for OxyContin in 2012 in medical

   journals. These ads featured chronic pain patients and recommended OxyContin for each. One ad

   described a “54-year-old writer with osteoarthritis of the hands” and implied that OxyContin would

   help the writer work more effectively.

          97.     Second, each Manufacturer Defendant promoted the use of opioids for chronic pain

   through “detailers”—sales representatives who visited individual doctors and medical staff in their

   offices—and small-group speaker programs. The Manufacturer Defendants have not corrected this

   misinformation. Instead, each Defendant devoted massive resources to direct sales contacts with

   doctors. Upon information and belief, the Manufacturer Defendants spent in excess of $168 million

   in 2014 alone on detailing branded opioids to doctors, more than twice what they spent on detailing

   in 2000.

          98.     The Manufacturer Defendants’ detailing to doctors is effective. Numerous studies

   indicate that marketing impacts prescribing habits, with face-to-face detailing having the greatest

   influence. Even without such studies, the Manufacturer Defendants purchase, manipulate, and

   analyze some of the most sophisticated data available in any industry, data available from IMS

   Health Holdings, Inc., to track, precisely, the rates of initial prescribing and renewal by individual

   doctor, which in turn allows them to target, tailor, and monitor the impact of their core messages.

   Thus, the Manufacturer Defendants know their detailing to doctors is effective.

          99.     The Manufacturer Defendants’ detailers have been reprimanded for their deceptive

   promotions. In March 2010, for example, the FDA found that Actavis had been distributing

   promotional materials that “minimize[] the risks associated with Kadian and misleadingly

   suggest[] that Kadian is safer than has been demonstrated.” Those materials in particular “fail to




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   reveal warnings regarding potentially fatal abuse of opioids, use by individuals other than the

   patient for whom the drug was prescribed.”

                  2.     Indirect Marketing.

          100.    The Manufacturer Defendants indirectly marketed their opioids using unbranded

   advertising, paid speakers and “key opinion leaders” (“KOLs”), and industry-funded organizations

   posing as neutral and credible professional societies and patient advocacy groups (referred to

   hereinafter as “Front Groups”).

          101.    The Manufacturer Defendants deceptively marketed opioids in the State and the

   Seminole Community through unbranded advertising—e.g., advertising that promotes opioid use

   generally but does not name a specific opioid. This advertising was ostensibly created and

   disseminated by independent third parties. But by funding, directing, reviewing, editing, and

   distributing this unbranded advertising, the Manufacturer Defendants controlled the deceptive

   messages disseminated by these third parties and acted in concert with them to falsely and

   misleadingly promote opioids for the treatment of chronic pain. Much as Defendants controlled

   the distribution of their “core messages” via their own detailers and speaker programs, the

   Manufacturer Defendants similarly controlled the distribution of these messages in scientific

   publications, treatment guidelines, Continuing Medical Education (“CME”) programs, and

   medical conferences and seminars. To this end, the Manufacturer Defendants used third-party

   public relations firms to help control those messages when they originated from third parties.

          102.    The Manufacturer Defendants marketed through third-party, unbranded advertising

   to avoid regulatory scrutiny because that advertising is not submitted to and typically is not

   reviewed by the FDA. The Manufacturer Defendants also used third-party, unbranded advertising

   to give the false appearance that the deceptive messages came from an independent and objective




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   source. Like the tobacco companies, the Manufacturer Defendants used third parties that they

   funded, directed and controlled to carry out and conceal their scheme to deceive doctors and

   patients about the risks and benefits of long term opioid use for chronic pain.

          103.    Defendants also identified doctors to serve, for payment, on their speakers’ bureaus

   and to attend programs with speakers and meals paid for by Defendants. These speaker programs

   provided: (1) an incentive for doctors to prescribe a particular opioid (so they might be selected to

   promote the drug); (2) recognition and compensation for the doctors selected as speakers; and (3)

   an opportunity to promote the drug through the speaker to his or her peers. These speakers give

   the false impression that they are providing unbiased and medically accurate presentations when

   they are, in fact, presenting a script prepared by Defendants. On information and belief, these

   presentations conveyed misleading information, omitted material information, and failed to correct

   Defendants’ prior misrepresentations about the risks and benefits of opioids.

          104.    Borrowing a page from Big Tobacco’s playbook, the Manufacturer Defendants

   worked through third parties they controlled by: (a) funding, assisting, encouraging and directing

   doctors who served as KOLS and (b) funding, assisting, directing and encouraging seemingly

   neutral and credible Front Groups. The Manufacturer Defendants then worked together with those

   KOLs and Front Groups to taint the sources that doctors and patients relied on for ostensibly

   “neutral” guidance, such as treatment guidelines, CME programs, medical conferences and

   seminars, and scientific articles. Thus, working individually and collectively, and through these

   Front Groups and KOLs, the Manufacturer Defendants persuaded doctors and patients that what

   they have long known—that opioids are addictive drugs, unsafe in most circumstances for long-

   term use—was untrue, and that the compassionate treatment of pain required opioids.




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          105.    In 2007, multiple States sued Purdue for engaging in unfair and deceptive practices

   in its marketing, promotion and sale of OxyContin. Certain states settled their claims in a series of

   Consent Judgments that prohibited Purdue from making misrepresentations in the promotion and

   marketing of OxyContin in the future. By using indirect marketing strategies, however, Purdue

   intentionally circumvented these restrictions. Such actions included contributing to the creation of

   misleading publications and prescribing guidelines, which lack a reliable scientific basis and

   promote prescribing practices that have worsened the opioid crisis.

          106.    Pro-opioid doctors are one of the most important avenues that the Manufacturer

   Defendants use to spread their false and deceptive statements about the risks and benefits of long-

   term opioid use. The Manufacturer Defendants know that doctors rely heavily and less critically

   on their peers for guidance, and KOLs provide the false appearance of unbiased and reliable

   support for chronic opioid therapy. For example, the State of New York found in its settlement

   with Purdue that the Purdue website “In the Face of Pain” failed to disclose that Purdue paid

   doctors who provided testimonials on the site and concluded that Purdue’s failure to disclose these

   financial connections potentially misled consumers regarding the objectivity of the testimonials.

          107.    Defendants utilized many KOLs, including many of the same ones.

          108.    Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

   Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL whom the

   Manufacturer Defendants identified and promoted to further their marketing campaign. Dr.

   Portenoy received research support, consulting fees and honoraria from Cephalon, Endo, Janssen

   and Purdue (among others) and was a paid consultant to Cephalon and Purdue. Dr. Portenoy was

   instrumental in opening the door for the regular use of opioids to treat chronic pain. He served on

   the American Pain Society (“APS”) / American Academy of Pain Medicine (“AAPM”) Guidelines




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   Committees, which endorsed the use of opioids to treat chronic pain, first in 1996 and again in

   2009. He was also a member of the board of the American Pain Foundation (“APF”), an advocacy

   organization almost entirely funded by the Manufacturer Defendants.

          109.    Dr. Portenoy also made frequent media appearances promoting opioids and

   spreading misrepresentations, such as his claim that “the likelihood that the treatment of pain using

   an opioid drug which is prescribed by a doctor will lead to addiction is extremely low.” He

   appeared on Good Morning America in 2010 to discuss the use of opioids long-term to treat

   chronic pain. On this widely-watched program, broadcast across the country, Dr. Portenoy

   claimed: “Addiction, when treating pain, is distinctly uncommon. If a person does not have a

   history, a personal history, of substance abuse, and does not have a history in the family of

   substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

   assured that that person is not going to become addicted.”

          110.    Dr. Portenoy later admitted that he “gave innumerable lectures in the late 1980s

   and ‘90s about addiction that weren’t true.” These lectures falsely claimed that fewer than 1% of

   patients would become addicted to opioids. According to Dr. Portenoy, because the primary goal

   was to “destigmatize” opioids, he and other doctors promoting them overstated their benefits and

   glossed over their risks. Dr. Portenoy also conceded that “[d]ata about the effectiveness of opioids

   does not exist.” Portenoy candidly stated: “Did I teach about pain management, specifically about

   opioid therapy, in a way that reflects misinformation? Well, . . . I guess I did.”

          111.    Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

   of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr.

   Webster was President of the American Academy of Pain Medicine (“AAPM”) in 2013. He is a

   Senior Editor of Pain Medicine, the same journal that published Endo special advertising




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   supplements touting Opana ER. Dr. Webster was the author of numerous CMEs sponsored by

   Cephalon, Endo and Purdue. At the same time, Dr. Webster was receiving significant funding from

   the Manufacturer Defendants (including nearly $2 million from Cephalon).

          112.    During a portion of his time as a KOL, Dr. Webster was under investigation for

   overprescribing by the U.S. Department of Justice’s Drug Enforcement Agency, which raided his

   clinic in 2010. Although the investigation was closed without charges in 2014, more than 20 of

   Dr. Webster’s former patients at the Lifetree Clinic have died of opioid overdoses.

          113.    Ironically, Dr. Webster created and promoted the Opioid Risk Tool, a five question,

   one-minute screening tool relying on patient self-reports that purportedly allows doctors to manage

   the risk that their patients will become addicted to or abuse opioids. The claimed ability to pre-sort

   patients likely to become addicted is an important tool in giving doctors confidence to prescribe

   opioids long-term, and, for this reason, references to screening appear in various industry-

   supported guidelines. Versions of Dr. Webster’s Opioid Risk Tool appear on, or are linked to,

   websites run by Endo, Janssen and Purdue. Unaware of the flawed science and industry bias

   underlying this tool, certain states and public entities have incorporated the Opioid Risk Tool into

   their own guidelines, indicating, also, their reliance on the Manufacturer Defendants and those

   under their influence and control.

          114.    In 2011, Dr. Webster presented via webinar a program sponsored by Purdue entitled

   “Managing Patient’s Opioid Use: Balancing the Need and the Risk.” Dr. Webster recommended

   use of risk screening tools, urine testing and patient agreements as a way to prevent “overuse of

   prescriptions” and “overdose deaths.” This webinar was available to and was intended to reach

   doctors in the State and doctors treating members of the Seminole Community.




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          115.    Dr. Webster also was a leading proponent of the concept of “pseudoaddiction,” the

   notion that addictive behaviors should be seen not as warnings, but as indications of undertreated

   pain. In Dr. Webster’s description, the only way to differentiate the two was to increase a patient’s

   dose of opioids. As he and co-author Beth Dove wrote in their 2007 book Avoiding Opioid Abuse

   While Managing Pain—a book that is still available online—when faced with signs of aberrant

   behavior, increasing the dose “in most cases . . . should be the clinician’s first response.” Upon

   information and belief, Endo distributed this book to doctors. Years later, Dr. Webster reversed

   himself, acknowledging that “[pseudoaddiction] obviously became too much of an excuse to give

   patients more medication.”

          116.    The Manufacturer Defendants also entered into arrangements with seemingly

   unbiased and independent patient and professional organizations to promote opioids for the

   treatment of chronic pain. Under the direction and control of the Manufacturer Defendants, these

   “Front Groups” generated treatment guidelines, unbranded materials and programs that favored

   chronic opioid therapy. They also assisted the Manufacturer Defendants by responding to negative

   articles, advocating against regulatory changes that would limit opioid prescribing in accordance

   with the scientific evidence and conducting outreach to vulnerable patient populations targeted by

   the Manufacturer Defendants.

          117.    These Front Groups depended on the Manufacturer Defendants for funding and, in

   some cases, for survival. The Manufacturer Defendants also exercised control over programs and

   materials created by these groups by collaborating on, editing and approving their content and by

   funding their dissemination. In doing so, the Manufacturer Defendants made sure that the Front

   Groups would generate only the messages that the Manufacturer Defendants wanted to distribute.




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   Despite this, the Front Groups held themselves out as independent and serving the needs of their

   members—whether patients suffering from pain or doctors treating those patients.

          118.    Defendants Cephalon, Endo, Janssen and Purdue, in particular, utilized many Front

   Groups, including many of the same ones. Several of the most prominent are described below, but

   there are many others, including the American Pain Society (“APS”), American Geriatrics Society

   (“AGS”), the Federation of State Medical Boards (“FSMB”), American

          119.    Chronic Pain Association (“ACPA”), the Center for Practical Bioethics (“CPB”),

   the U.S. Pain Foundation (“USPF”) and the Pain & Policy Studies Group (“PPSG”).

          120.    The most prominent of the Manufacturer Defendants’ Front Groups was the

   American Pain Foundation (“APF”), which, upon information and belief, received more than $10

   million in funding from opioid manufacturers from 2007 until it closed its doors in May 2012,

   primarily from Endo and Purdue. APF issued education guides for patients, reporters and

   policymakers that touted the benefits of opioids for chronic pain and trivialized their risks,

   particularly the risk of addiction. APF also launched a campaign to promote opioids for returning

   veterans, which has contributed to high rates of addiction and other adverse outcomes—including

   death—among returning veterans. APF also engaged in a significant multimedia campaign—

   through radio, television, and the internet—to educate patients about their “right” to pain

   treatment, namely opioids. All of the programs and materials were available nationally and were

   intended to reach citizens of the State and the Seminole Community.

          121.    In 2009 and 2010, more than 80% of APF’s operating budget came from

   pharmaceutical industry sources. Including industry grants for specific projects, APF received

   about $2.3 million from industry sources out of a total income of about $2.85 million in 2009; its

   budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of total




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   income of about $3.5 million. By 2011, upon information and belief, APF was entirely dependent

   on incoming grants from defendants Purdue, Cephalon, Endo and others to avoid using its line of

   credit.

             122.   APF held itself out as an independent patient advocacy organization. It often

   engaged in grassroots lobbying against various legislative initiatives that might limit opioid

   prescribing and thus the profitability of its sponsors. Upon information and belief, it was often

   called upon to provide “patient representatives” for the Manufacturer Defendants’ promotional

   activities, including for Purdue’s Partners Against Pain and Janssen’s Let’s Talk Pain. APF

   functioned largely as an advocate for the interests of the Manufacturer Defendants, not patients.

   Indeed, upon information and belief, as early as 2001, Purdue told APF that the basis of a grant

   was Purdue’s desire to “strategically align its investments in nonprofit organizations that share

   [its] business interests.”

             123.   Plaintiff is informed, and believes, that on several occasions representatives of the

   Manufacturer Defendants, often at informal meetings at conferences, suggested activities and

   publications for APF to pursue. APF then submitted grant proposals seeking to fund these activities

   and publications, knowing that drug companies would support projects conceived as a result of

   these communications.

             124.   The U.S. Senate Finance Committee began looking into APF in May 2012 to

   determine the links, financial and otherwise, between the organization and the manufacturers of

   opioid painkillers. The investigation caused considerable damage to APF’s credibility as an

   objective and neutral third party, and the Manufacturer Defendants stopped funding it. Within days

   of being targeted by Senate investigation, APF’s board voted to dissolve the organization “due to

   irreparable economic circumstances.” APF “cease[d] to exist, effective immediately.”




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          125.     Another front group for the Manufacturer Defendants was the American Academy

   of Pain Medicine (“AAPM”). With the assistance, prompting, involvement, and funding of the

   Manufacturer Defendants, the AAPM issued purported treatment guidelines and sponsored and

   hosted medical education programs essential to the Manufacturer Defendants’ deceptive marketing

   of chronic opioid therapy.

          126.     AAPM received substantial funding from opioid manufacturers. For example,

   AAPM maintained a corporate relations council, whose members paid $25,000 per year (on top of

   other funding) to participate. The benefits included allowing members to present educational

   programs at off-site dinner symposia in connection with AAPM’s marquee event—its annual

   meeting held in Palm Springs, California, or other resort locations. AAPM describes the annual

   event as an “exclusive venue” for offering education programs to doctors. Membership in the

   corporate relations council also allows drug company executives and marketing staff to meet with

   AAPM executive committee members in small settings. Defendants Endo, Purdue, and Cephalon

   were members of the council and presented deceptive programs to doctors who attended this

   annual event.

          127.     Upon information and belief, AAPM is viewed internally by Endo as “industry

   friendly,” with Endo advisors and speakers among its active members. Endo attended AAPM

   conferences, funded its CMEs, and distributed its publications. The conferences sponsored by

   AAPM heavily emphasized sessions on opioids—37 out of roughly 40 at one conference alone.

   AAPM’s presidents have included top industry-supported KOLs Perry Fine and Lynn Webster.

   Dr. Webster was even elected president of AAPM while under a DEA investigation.

          128.     The Manufacturer Defendants were able to influence AAPM through both their

   significant and regular funding and the leadership of pro-opioid KOLs within the organization.




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          129.    In 1996, AAPM and APS jointly issued a consensus statement, “The Use of Opioids

   for the Treatment of Chronic Pain,” which endorsed opioids to treat chronic pain and claimed that

   the risk of a patients’ addiction to opioids was low. Dr. Haddox, who co-authored the AAPM/APS

   statement, was a paid speaker for Purdue at the time. Dr. Portenoy was the sole consultant. The

   consensus statement remained on AAPM’s website until 2011, and, upon information and belief,

   was taken down from AAPM’s website only after a doctor complained.

          130.    AAPM and APS issued their own guidelines in 2009 (“AAPM/APS Guidelines”)

   and continued to recommend the use of opioids to treat chronic pain. Treatment guidelines have

   been relied upon by doctors, especially the general practitioners and family doctors targeted by the

   Manufacturer Defendants. Treatment guidelines not only directly inform doctors’ prescribing

   practices, but are cited throughout the scientific literature and referenced by third-party payors in

   determining whether they should cover treatments for specific indications. Pharmaceutical sales

   representatives employed by Endo, Actavis, and Purdue discussed treatment guidelines with

   doctors during individual sales visits.

          131.    At least 14 of the 21 panel members who drafted the AAPM/APS Guidelines,

   including KOLs Dr. Portenoy and Dr. Perry Fine of the University of Utah, received support from

   Janssen, Cephalon, Endo, and Purdue. The 2009 Guidelines promote opioids as “safe and

   effective” for treating chronic pain, despite acknowledging limited evidence, and conclude that the

   risk of addiction is manageable for patients regardless of past abuse histories. One panel member,

   Dr. Joel Saper, Clinical Professor of Neurology at Michigan State University and founder of the

   Michigan Headache & Neurological Institute, resigned from the panel because of his concerns that

   the 2009 Guidelines were influenced by contributions that drug companies, including

   Manufacturer Defendants, made to the sponsoring organizations and committee members. These




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   AAPM/APS Guidelines have been a particularly effective channel of deception and have

   influenced not only treating physicians, but also the body of scientific evidence on opioids; the

   Guidelines have been cited hundreds of times in academic literature, were disseminated in the

   State and/or the Seminole Community during the relevant time period, are still available online,

   and were reprinted in the Journal of Pain. The Manufacturer Defendants widely referenced and

   promoted the 2009 Guidelines without disclosing the lack of evidence to support them or the

   Manufacturer Defendants financial support to members of the panel.

          132.   The Manufacturer Defendants worked together through Front Groups to spread

   their deceptive messages about the risks and benefits of long-term opioid therapy. For example,

   Defendants combined their efforts through the Pain Care Forum (“PCF”), which began in 2004 as

   an APF project. PCF is comprised of representatives from opioid manufacturers (including

   Cephalon, Endo, Janssen, and Purdue) and various Front Groups, almost all of which received

   substantial funding from the Manufacturer Defendants. Among other projects, PCF worked to

   ensure that an FDA-mandated education project on opioids was not unacceptably negative and did

   not require mandatory participation by prescribers, which the Manufacturer Defendants

   determined would reduce prescribing.

          D.     The Manufacturer Defendants’ Marketing Scheme Misrepresented the Risks and
                 Benefits of Opioids.

                 1.      The Manufacturer Defendants embarked upon a campaign of false,
                         deceptive, and unfair assurances grossly understating and misstating
                         the dangerous addiction risks of the opioid drugs.

          133.   To falsely assure physicians and patients that opioids are safe, the Manufacturer

   Defendants deceptively trivialized and failed to disclose the risks of long-term opioid use,

   particularly the risk of addiction, through a series of misrepresentations that have been

   conclusively debunked by the FDA and CDC. These misrepresentations—which are described



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   below—reinforced each other and created the dangerously misleading impression that: (1) starting

   patients on opioids was low risk because most patients would not become addicted, and because

   those at greatest risk for addiction could be identified and managed; (2) patients who displayed

   signs of addiction probably were not addicted and, in any event, could easily be weaned from the

   drugs; (3) the use of higher opioid doses, which many patients need to sustain pain relief as they

   develop tolerance to the drugs, do not pose special risks; and (4) abuse-deterrent opioids both

   prevent abuse and overdose and are inherently less addictive. The Manufacturer Defendants have

   not only failed to correct these misrepresentations—they continue to make them today.

          134.    Opioid manufacturers, including Defendants Endo Pharmaceuticals, Inc. and

   Purdue Pharma L.P., have entered into settlement agreements with public entities that prohibit

   them from making many of the misrepresentations identified in this Complaint. Yet even

   afterward, each Manufacturer Defendant continued to misrepresent the risks and benefits of long-

   term opioid use in the State and the Seminole Community and each continues to fail to correct its

   past misrepresentations.

          135.    Some illustrative examples of the Manufacturer Defendants’ false, deceptive, and

   unfair claims about the purportedly low risk of addiction include:

              a. Actavis’s predecessor caused a patient education brochure, Managing Chronic

  Back Pain, to be distributed beginning in 2003 that admitted that opioid addiction is possible, but

  falsely claimed that it is “less likely if you have never had an addiction problem.” Based on

  Actavis’s acquisition of its predecessor’s marketing materials along with the rights to Kadian, it

  appears that Actavis continued to use this brochure in 2009 and beyond.

              b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People

  Living with Pain (2007), which suggested that addiction is rare and limited to extreme cases of




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  unauthorized dose escalations, obtaining duplicative opioid prescriptions from multiple sources, or

  theft. This publication is still available online.

               c. Endo sponsored a website, “PainKnowledge,” which, upon information and belief,

  claimed in 2009 that “[p]eople who take opioids as prescribed usually do not become addicted.”

  Upon information and belief, another Endo website, PainAction.com, stated “Did you know? Most

  chronic pain patients do not become addicted to the opioid medications that are prescribed for

  them.” Endo also distributed an “Informed Consent” document on PainAction.com that

  misleadingly suggested that only people who “have problems with substance abuse and addiction”

  are likely to become addicted to opioid medications.

               d. Upon information and belief, Endo distributed a pamphlet with the Endo logo

  entitled Living with Someone with Chronic Pain, which stated that: “Most health care providers

  who treat people with pain agree that most people do not develop an addiction problem.”

               e. Janssen reviewed, edited, approved, and distributed a patient education guide

  entitled Finding Relief: Pain Management for Older Adults (2009), which described as “myth” the

  claim that opioids are addictive, and asserted as fact that “[m]any studies show that opioids are

  rarely addictive when used properly for the management of chronic pain.”

               f. Janssen currently runs a website, Prescriberesponsibly.com (last updated July 2,

  2015), which claims that concerns about opioid addiction are “overestimated.”

               g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

  Management, which claims that less than 1% of children prescribed opioids will become addicted

  and that pain is undertreated due to “[m]isconceptions about opioid addiction.”

               h. Consistent with the Manufacturer Defendants’ published marketing materials, upon

  information and belief, detailers for Purdue, Endo, Janssen, and Cephalon in the State and the




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  Seminole Community minimized or omitted any discussion with doctors of the risk of addiction;

  misrepresented the potential for abuse of opioids with purportedly abuse-deterrent formulations;

  and routinely did not correct the misrepresentations noted above.

              i. Seeking to overturn the criminal conviction of a doctor for illegally prescribing

  opioids, the Manufacturer Defendants’ Front Groups APF and NFP argued in an amicus brief to the

  United States Fourth Circuit Court of Appeals that “patients rarely become addicted to prescribed

  opioids,” citing research by their KOL, Dr. Portenoy.

          136.    These claims are contrary to longstanding scientific evidence. A 2016 opioid-

   prescription guideline issued by the CDC (the “2016 CDC Guideline”) explains that there is

   “[e]xtensive evidence” of the “possible harms of opioids (including opioid use disorder [an

   alternative term for opioid addiction], [and] overdose . . .).” The 2016 CDC Guideline further

   explains that “[o]pioid pain medication use presents serious risks, including overdose and opioid

   use disorder” and that “continuing opioid therapy for 3 months substantially increases risk for

   opioid use disorder.”

          137.    The FDA further exposed the falsity of Defendants’ claims about the low risk of

   addiction when it announced changes to the labels for extended-release and long-acting (“ER/LA”)

   opioids in 2013 and for immediate release (“IR”) opioids in 2016. In its announcements, the FDA

   found that “most opioid drugs have ‘high potential for abuse’” and that opioids “are associated

   with a substantial risk of misuse, abuse, NOWS [neonatal opioid withdrawal syndrome], addiction,

   overdose, and death.” According to the FDA, because of the “known serious risks” associated with

   long-term opioid use, including “risks of addiction, abuse, and misuse, even at recommended

   doses, and because of the greater risks of overdose and death,” opioids should be used only “in

   patients for whom alternative treatment options” like non-opioid drugs have failed.




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           138.     The State of New York, in a 2016 settlement agreement with Endo, found that

   opioid “use disorders appear to be highly prevalent in chronic pain patients treated with opioids,

   with up to 40% of chronic pain patients treated in specialty and primary care outpatient centers

   meeting the clinical criteria for an opioid use disorder.” Endo had claimed on its www.opana.com

   website that “[m]ost healthcare providers who treat patients with pain agree that patients treated

   with prolonged opioid medicines usually do not become addicted,” but the State of New York

   found that Endo had no evidence for that statement. Consistent with this, Endo agreed not to “make

   statements that . . . opioids generally are non-addictive” or “that most patients who take opioids

   do not become addicted” in New York. Endo remains free, however, to make those statements in

   this State.

           139.     In addition to mischaracterizing the highly addictive nature of the drugs they were

   pushing, the Manufacturer Defendants also fostered a fundamental misunderstanding of the signs

   of addiction. Specifically, the Manufacturer Defendants misrepresented, to both doctors and

   patients, that warning signs and/or symptoms of addiction were, instead, signs of undertreated pain

   (i.e. “pseudoaddiction”)—and instructed doctors to increase the opioid prescription dose for

   patients who were already in danger.

           140.     To this end, one of Purdue’s employees, Dr. David Haddox, invented a

   phenomenon called “pseudoaddiction.” KOL Dr. Portenoy popularized the term. Examples of the

   false, misleading, deceptive, and unfair statements regarding pseudoaddiction include:

                 a. Cephalon and Purdue sponsored Responsible Opioid Prescribing (2007), which

   taught that behaviors such as “requesting drugs by name,” “demanding or manipulative behavior,”

   seeing more than one doctor to obtain opioids, and hoarding, are all signs of pseudoaddiction,




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   rather than true addiction. The 2012 edition, which remains available for sale online, continues to

   teach that pseudoaddiction is real.

              b. Janssen sponsored, funded, and edited the Let’s Talk Pain website, which in 2009

   stated: “pseudoaddiction . . . refers to patient behaviors that may occur when pain is under-treated

   . . . . Pseudoaddiction is different from true addiction because such behaviors can be resolved with

   effective pain management.”

              c. Endo sponsored a National Initiative on Pain Control (“NIPC”) CME program in

   2009 entitled “Chronic Opioid Therapy: Understanding Risk While Maximizing Analgesia,”

   which, upon information and belief, promoted pseudoaddiction by teaching that a patient’s

   aberrant behavior was the result of untreated pain. Endo appears to have substantially controlled

   NIPC by funding NIPC projects; developing, specifying, and reviewing content; and distributing

   NIPC materials.

              d. Purdue published a pamphlet in 2011 entitled Providing Relief, Preventing Abuse,

   which, upon information and belief, described pseudoaddiction as a concept that “emerged in the

   literature” to describe the inaccurate interpretation of [drug-seeking behaviors] in patients who

   have pain that has not been effectively treated.”

              e. Upon information and belief, Purdue sponsored a CME program titled “Path of the

   Patient, Managing Chronic Pain in Younger Adults at Risk for Abuse”. In a role play, a chronic

   pain patient with a history of drug abuse tells his doctor that he is taking twice as many

   hydrocodone pills as directed. The narrator notes that because of pseudoaddiction, the doctor

   should not assume the patient is addicted even if he persistently asks for a specific drug, seems

   desperate, hoards medicine, or “overindulges in unapproved escalating doses.” The doctor treats

   this patient by prescribing a high-dose, long-acting opioid.




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          141.    In the 2016 CDC Guideline, the CDC implicitly rejected the validity of the

   pseudoaddiction fallacy.

          142.    In addition to misstating the addiction risk and inventing the pseudoaddiction

   falsehood, a third category of false, deceptive, and unfair practice is the Manufacturer Defendants’

   false instructions that addiction risk screening tools, patient contracts, urine drug screens, and

   similar strategies allow them to reliably identify and safely prescribe opioids to patients

   predisposed to addiction. These misrepresentations were especially insidious because the

   Manufacturer Defendants aimed them at general practitioners and family doctors who lack the

   time and expertise to closely manage higher-risk patients on opioids. The Manufacturer

   Defendants’ misrepresentations made these doctors feel more comfortable prescribing opioids to

   their patients and patients more comfortable starting on opioid therapy for chronic pain. Illustrative

   examples include:

              a. Endo paid for a 2007 supplement in the Journal of Family Practice written by a

   doctor who became a member of Endo’s speakers’ bureau in 2010. The supplement, entitled Pain

   Management Dilemmas in Primary Care: Use of Opioids, emphasized the effectiveness of

   screening tools, claiming that patients at high risk of addiction could safely receive chronic opioid

   therapy using a “maximally structured approach” involving toxicology screens and pill counts.

              b. Purdue, upon information and belief, sponsored a 2011 webinar, Managing

   Patient’s Opioid Use: Balancing the Need and Risk, which claimed that screening tools, urine tests,

   and patient agreements prevent “overuse of prescriptions” and “overdose deaths.”

              c. As recently as 2015, upon information and belief, Purdue has represented in

   scientific conferences that “bad apple” patients—and not opioids—are the source of the addiction




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   crisis and that once those “bad apples” are identified, doctors can safely prescribe opioids without

   causing addiction.

          143.    The 2016 CDC Guideline confirms the falsity of these claims. The Guideline

   explains that there are no studies assessing the effectiveness of risk mitigation strategies “for

   improving outcomes related to overdose, addiction, abuse or misuse.”

          144.    A fourth category of deceptive messaging regarding dangerous opioids is the

   Manufacturer Defendants’ false assurances regarding the alleged ease of eliminating opioid

   dependence. The Manufacturer Defendants falsely claimed that opioid dependence can easily be

   addressed by tapering and that opioid withdrawal is not a problem, but they failed to disclose the

   increased difficulty of stopping opioids after long-term use. In truth, the 2016 CDC Guideline

   explains that the symptoms of opioid withdrawal include abdominal pain, vomiting, diarrhea,

   sweating, tremor, tachycardia, drug cravings, anxiety, insomnia, spontaneous abortion and

   premature labor in pregnant women.

          145.    The Manufacturer Defendants nonetheless downplayed the severity of opioid

   detoxification. For example, upon information and belief, a CME sponsored by Endo, entitled

   Persistent Pain in the Older Adult, claimed that withdrawal symptoms can be avoided by tapering

   a patient’s opioid dose by 10%–20% for 10 days. And Purdue sponsored APF’s A Policymaker’s

   Guide to Understanding Pain & Its Management, which claimed that “[s]ymptoms of physical

   dependence can often be ameliorated by gradually decreasing the dose of medication during

   discontinuation” without mentioning any hardships that might occur.

          146.    A fifth category of false, deceptive, and unfair statements the Manufacturer

   Defendants made to sell more drugs is that opioid dosages could be increased indefinitely without

   added risk. The ability to escalate dosages was critical to Defendants’ efforts to market opioids for




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   long-term use to treat chronic pain because, absent this misrepresentation, doctors would have

   abandoned treatment when patients built up tolerance and lower dosages did not provide pain

   relief. The Manufacturer Defendants’ deceptive claims include:

               a. Upon information and belief, Actavis’s predecessor created a patient brochure for

   Kadian in 2007 that stated, “Over time, your body may become tolerant of your current dose. You

   may require a dose adjustment to get the right amount of pain relief. This is not addiction.” Based

   on Actavis’s acquisition of its predecessor’s marketing materials along with the rights to Kadian,

   Actavis appears to have continued to use these materials in 2009 and beyond.

               b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People

   Living with Pain (2007), which claims that some patients “need” a larger dose of an opioid

   regardless of the dose currently prescribed. The guide stated that opioids have “no ceiling dose”

   and insinuated that they are therefore the most appropriate treatment for severe pain. This

   publication is still available online.

               c. Endo sponsored a website, “PainKnowledge,” which, upon information and belief,

   claimed in 2009 that opioid dosages may be increased until “you are on the right dose of

   medication for your pain.”

               d. Endo distributed a pamphlet edited by a KOL entitled Understanding Your Pain:

   Taking Oral Opioid Analgesics (2004 Endo Pharmaceuticals PM-0120). In Q&A format, it asked

   “If I take the opioid now, will it work later when I really need it?” The response is, “The dose can

   be increased. . . . You won’t ‘run out’ of pain relief.”

               e. Janssen sponsored a patient education guide entitled Finding Relief: Pain

   Management for Older Adults (2009), which was distributed by its sales force. This guide listed




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   dosage limitations as “disadvantages” of other pain medicines but omitted any discussion of risks

   of increased opioid dosages.

              f. Upon information and belief, Purdue’s “In the Face of Pain” website promoted the

   notion that if a patient’s doctor does not prescribe what, in the patient’s view, is a sufficient dosage

   of opioids, he or she should find another doctor who will.

              g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

   Management, which taught that dosage escalations are “sometimes necessary,” and that “the need

   for higher doses of medication is not necessarily indicative of addiction,” but inaccurately

   downplayed the risks from high opioid dosages.

              h. In 2007, Purdue sponsored a CME entitled “Overview of Management Options”

   that was available for CME credit and available until at least 2012. The CME was edited by a KOL

   and taught that NSAIDs and other drugs, but not opioids, are unsafe at high dosages.

              i. Upon information and belief, Purdue presented a 2015 paper at the College on the

   Problems of Drug Dependence, “the oldest and largest organization in the US dedicated to

   advancing a scientific approach to substance use and addictive disorders,” challenging the

   correlation between opioid dosage and overdose.

              j. Seeking to overturn the criminal conviction of a doctor for illegally prescribing

   opioids, the Manufacturer Defendants’ Front Groups APF and NFP argued in an amicus brief to

   the United States Fourth Circuit Court of Appeals that “there is no ‘ceiling dose’” for opioids.

          147.    Once again, the 2016 CDC Guideline reveals that the Manufacturer Defendants’

   representations regarding opioids were lacking in scientific evidence. The 2016 CDC Guideline

   clarifies that the “[b]enefits of high-dose opioids for chronic pain are not established” while the

   “risks for serious harms related to opioid therapy increase at higher opioid dosage.” More




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   specifically, the CDC explains that “there is now an established body of scientific evidence

   showing that overdose risk is increased at higher opioid dosages.” The CDC also states that there

   is an increased risk “for opioid use disorder, respiratory depression, and death at higher dosages.”

   That is why the CDC advises doctors to “avoid increasing dosage” to above 90 morphine milligram

   equivalents per day.

          148.    Defendants’ deceptive marketing of the so-called abuse-deterrent properties of

   some of their opioids has created false impressions that these opioids can cure addiction and abuse.

          149.    The Manufacturer Defendants made misleading claims about the ability of their so-

   called abuse-deterrent opioid formulations to deter abuse. For example, Endo’s advertisements for

   the 2012 reformulation of Opana ER claimed that it was designed to be crush resistant in a way

   that suggested it was more difficult to abuse. This claim was false. The FDA warned in a 2013

   letter that Opana ER Extended-Release Tablets’ “extended-release features can be compromised,

   causing the medication to ‘dose dump,’ when subject to . . . forms of manipulation such as cutting,

   grinding, or chewing, followed by swallowing.” Also troubling, Opana ER can be prepared for

   snorting using commonly available methods and “readily prepared for injection.” The letter

   discussed “the troubling possibility that a higher (and rising) percentage of [Opana ER Extended-

   Release Tablet] abuse is occurring via injection.” Endo’s own studies, which it failed to disclose,

   showed that Opana ER could still be ground and chewed.

          150.    In June 2017, the FDA requested that Opana ER be removed from the market.

                  2.      The Manufacturer Defendants embarked upon a campaign of false,
                          deceptive, and unfair assurances grossly overstating the benefits of the
                          opioid drugs.

          151.    To convince doctors and patients that opioids should be used to treat chronic pain,

   the Manufacturer Defendants also had to persuade them that there was a significant upside to long-




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   term opioid use. But as the CDC Guideline makes clear, “[n]o evidence shows a long-term benefit

   of opioids in pain and function versus no opioids for chronic pain with outcomes examined at least

   1 year later (with most placebo-controlled randomized trials ≤ 6 weeks in duration)” and that other

   treatments were more or equally beneficial and less harmful than long-term opioid use. The FDA,

   too, has recognized the lack of evidence to support long-term opioid use. Despite this, Defendants

   falsely and misleadingly touted the benefits of long-term opioid use and falsely and misleadingly

   suggested that these benefits were supported by scientific evidence.

             152.   Some illustrative examples of the Manufacturer Defendants’ false claims are:

                a. Upon information and belief, Actavis distributed an advertisement claiming that the

   use of Kadian to treat chronic pain would allow patients to return to work, relieve “stress on your

   body and your mental health,” and help patients enjoy their lives.

                b. Endo distributed advertisements that claimed that the use of Opana ER for chronic

   pain would allow patients to perform demanding tasks like construction work or work as a chef

   and portrayed seemingly healthy, unimpaired subjects.

                c. Janssen sponsored and edited a patient education guide entitled Finding Relief: Pain

   Management for Older Adults (2009)—which states as “a fact” that “opioids may make it easier

   for people to live normally.” The guide lists expected functional improvements from opioid use,

   including sleeping through the night, returning to work, recreation, sex, walking, and climbing

   stairs.

                d. Janssen promoted Ultracet for everyday chronic pain and distributed posters, for

   display in doctors’ offices, of presumed patients in active professions; the caption read, “Pain

   doesn’t fit into their schedules.”




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               e. Upon information and belief, Purdue ran a series of advertisements for Oxycontin

   in 2012 in medical journals entitled “Pain vignettes,” which were case studies featuring patients

   with pain conditions persisting over several months and recommending OxyContin for them. The

   ads implied that OxyContin improves patients’ function.

               f. Responsible Opioid Prescribing (2007), sponsored and distributed by Cephalon,

   Endo and Purdue, taught that relief of pain by opioids, by itself, improved patients’ function.

               g. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People

   Living with Pain (2007), which counseled patients that opioids “give [pain patients] a quality of

   life we deserve.” This publication is still available online.

               h. Endo’s NIPC website “PainKnowledge” claimed in 2009, upon information and

   belief, that with opioids, “your level of function should improve; you may find you are now able

   to participate in activities of daily living, such as work and hobbies, that you were not able to enjoy

   when your pain was worse.” Elsewhere, the website touted improved quality of life (as well as

   “improved function”) as benefits of opioid therapy. The grant request that Endo approved for this

   project specifically indicated NIPC’s intent to make misleading claims about function, and Endo

   closely tracked visits to the site.

               i. Endo was the sole sponsor, through NIPC, of a series of CMEs entitled “Persistent

   Pain in the Older Patient.” Upon information and belief, a CME disseminated via webcast claimed

   that chronic opioid therapy has been “shown to reduce pain and improve depressive symptoms and

   cognitive functioning.”

               j. Janssen sponsored and funded a multimedia patient education campaign called

   “Let’s Talk Pain.” One feature of the campaign was to complain that patients were under-treated.

   In 2009, upon information and belief, a Janssen-sponsored website, part of the “Let’s Talk Pain”




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   campaign, featured an interview edited by Janssen claiming that opioids allowed a patient to

   “continue to function.”

              k. Purdue sponsored the development and distribution of APF’s A Policymaker’s

   Guide to Understanding Pain & Its Management, which claimed that “[m]ultiple clinical studies”

   have shown that opioids are effective in improving “[d]aily function,” “[p]sychological health,”

   and “[o]verall health-related quality of life for chronic pain.” The Policymaker’s Guide was

   originally published in 2011.

              l. Purdue’s, Cephalon’s, Endo’s, and Janssen’s sales representatives have conveyed

   and continue to convey the message that opioids will improve patient function. As the FDA and

   other agencies have made clear for years, these claims have no support in the scientific literature.

          153.    In 2010, the FDA warned Actavis, in response to its advertising of Kadian described

   above, that “we are not aware of substantial evidence or substantial clinical experience

   demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating pain, taken

   together with any drug-related side effects patients may experience . . . results in any overall

   positive impact on a patient’s work, physical and mental functioning, daily activities, or enjoyment

   of life.” And in 2008, upon information and belief, the FDA sent a warning letter to an opioid

   manufacturer, making it clear “that [the claim that] patients who are treated with the drug

   experience an improvement in their overall function, social function, and ability to perform daily

   activities . . . has not been demonstrated by substantial evidence or substantial clinical experience.”

          154.    The Manufacturer Defendants also falsely and misleadingly emphasized or

   exaggerated the risks of competing medications like NSAIDs (nonsteroidal anti-inflammatory

   drugs), so that doctors and patients would look to opioids first for the treatment of chronic pain.

   Once again, these misrepresentations by the Manufacturer Defendants contravene pronouncements




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   by and guidance from the FDA and CDC based on the scientific evidence. Indeed, the FDA

   changed the labels for ER/LA opioids in 2013 and IR opioids in 2016 to state that opioids should

   only be used as a last resort “in patients for which alternative treatment options” like non-opioid

   drugs “are inadequate.” And the 2016 CDC Guideline states that

          155.    NSAIDs, not opioids, should be the first-line treatment for chronic pain,

   particularly arthritis and lower back pain. Purdue misleadingly promoted OxyContin as being

   unique among opioids in providing 12 continuous hours of pain relief with one dose. In fact,

   OxyContin does not last for 12 hours—a fact that Purdue has known at all times relevant to this

   action. Upon information and belief, Purdue’s own research shows that OxyContin wears off in

   under six hours in one quarter of patients and in under 10 hours in more than half. This is because

   OxyContin tablets release approximately 40% of their active medicine immediately, after which

   release tapers. This triggers a powerful initial response, but provides little or no pain relief at the

   end of the dosing period, when less medicine is released. This phenomenon is known as “end of

   dose” failure, and the FDA found in 2008 that a “substantial proportion” of chronic pain patients

   taking OxyContin experience it. This not only renders Purdue’s promise of 12 hours of relief false

   and deceptive, it also makes OxyContin more dangerous because the declining pain relief patients

   experience toward the end of each dosing period drives them to take more OxyContin before the

   next dosing period begins, quickly increasing the amount of drug they are taking and spurring

   growing dependence.

          156.    Purdue’s competitors were aware of this problem. For example, upon information

   and belief, Endo ran advertisements for Opana ER referring to “real” 12-hour dosing.

   Nevertheless, Purdue falsely promoted OxyContin as if it were effective for a full 12 hours. Upon




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   information and belief, Purdue’s sales representatives continue to tell doctors that OxyContin lasts

   a full 12 hours.

          157.    Front groups supported by Purdue likewise echoed these representations. For

   example, in an amicus brief submitted to the Supreme Court of Ohio by the American Pain

   Foundation, the National Foundation for the Treatment of Pain and the Ohio Pain Initiative in

   support of Purdue, those amici represented:

          OxyContin is particularly useful for sustained long-term pain because it comes in
          higher, compact pills with a slow release coating. OxyContin pills can work for 12
          hours. This makes it easier for patients to comply with dosing requirements without
          experiencing a roller-coaster of pain relief followed quickly by pain renewal that
          can occur with shorter acting medications. It also helps the patient sleep through
          the night, which is often impossible with short-acting medications. For many of
          those serviced by Pain Care Amici, OxyContin has been a miracle medication.

          158.    Cephalon deceptively marketed its opioids Actiq and Fentora for chronic pain even

   though the FDA has expressly limited their use to the treatment of cancer pain in opioid tolerant

   individuals. Both Actiq and Fentora are extremely powerful fentanyl-based IR opioids. Neither is

   approved for or has been shown to be safe or effective for chronic pain. Indeed, the FDA expressly

   prohibited Cephalon from marketing Actiq for anything but cancer pain and refused to approve

   Fentora for the treatment of chronic pain because of the potential harm, including the high risk of

   “serious and life-threatening adverse events” and abuse—which are greatest in non-cancer

   patients. The FDA also issued a Public Health Advisory in 2007 emphasizing that Fentora should

   only be used for cancer patients who are opioid-tolerant and should not be used for any other

   conditions, such as migraines, post-operative pain, or pain due to injury. Specifically, the FDA

   advised that Fentora “is only approved for breakthrough cancer pain in patients who are opioid-

   tolerant, meaning those patients who take a regular, daily, around-the-clock narcotic pain

   medication.”




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          159.     Despite this, Cephalon conducted and continues to conduct a well-funded campaign

   to promote Actiq and Fentora for chronic pain and other non-cancer conditions for which it was

   not approved, appropriate, and for which it is not safe. As part of this campaign, Cephalon used

   CMEs, speaker programs, KOLs, journal supplements, and detailing by its sales representatives to

   give doctors the false impression that Actiq and Fentora are safe and effective for treating non-

   cancer pain. For example:

              a. Cephalon paid to have a CME it sponsored, Opioid-Based Management of

   Persistent and Breakthrough Pain, published in a supplement of Pain Medicine News in 2009. The

   CME instructed doctors that “[c]linically, broad classification of pain syndromes as either cancer-

   or non-cancer-related has limited utility” and recommended Actiq and Fentora for patients with

   chronic pain.

              b. Upon information and belief, Cephalon’s sales representatives set up hundreds of

   speaker programs for doctors, including many non-oncologists, which promoted Actiq and Fentora

   for the treatment of non-cancer pain.

              c. In December 2011, Cephalon widely disseminated a journal supplement entitled

   “Special Report: An Integrated Risk Evaluation and Mitigation Strategy for Fentanyl Buccal

   Tablet (FENTORA) and Oral Transmucosal Fentanyl Citrate (ACTIQ)” to Anesthesiology News,

   Clinical Oncology News, and Pain Medicine News—three publications that are sent to thousands

   of anesthesiologists and other medical professionals. The Special Report openly promotes Fentora

   for “multiple causes of pain”—and not just cancer pain.

          160.     Cephalon’s deceptive marketing gave doctors and patients the false impression that

   Actiq and Fentora were not only safe and effective for treating chronic pain, but were also

   approved by the FDA for such uses.




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           161.    Purdue also unlawfully and unfairly failed to report or address illicit and unlawful

   prescribing of its drugs despite knowing about it for years. Purdue’s sales representatives have

   maintained a database since 2002 of doctors suspected of inappropriately prescribing its drugs.

   Rather than report these doctors to state medical boards or law enforcement authorities (as Purdue

   is legally obligated to do) or cease marketing to them, Purdue used the list to demonstrate the high

   rate of diversion of OxyContin—the same OxyContin that Purdue had promoted as less

   addictive—to persuade the FDA to bar the manufacture and sale of generic copies of the drug

   because the drug was too likely to be abused. In an interview with the Los Angeles Times, Purdue’s

   senior compliance officer acknowledged that in five years of investigating suspicious pharmacies,

   Purdue failed to take action—even where Purdue employees personally witnessed the diversion of

   its drugs. The same was true of prescribers; despite its knowledge of illegal prescribing, Purdue

   did not report that a Los Angeles clinic prescribed more than 1.1 million OxyContin tablets and

   that Purdue’s district manager described it internally as “an organized drug ring” until years after

   law enforcement shut it down. In doing so, Purdue protected its own profits at the expense of

   public health and safety.

           162.    Like Purdue, Endo has been cited for its failure to set up an effective system for

   identifying and reporting suspicious prescribing. In its settlement agreement with Endo, the State

   of New York found that Endo failed to require sales representatives to report signs of abuse,

   diversion, and inappropriate prescribing; paid bonuses to sales representatives for detailing

   prescribers who were subsequently arrested or convicted for illegal prescribing; and failed to

   prevent sales representatives from visiting prescribers whose suspicious conduct had caused them

   to be placed on a no-call list.




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          E.      The Manufacturer Defendants Targeted Susceptible Prescribers and
                  Vulnerable Patient Populations.

          163.    As a part of their deceptive marketing scheme, the Manufacturer Defendants

   identified and targeted susceptible prescribers and vulnerable patient populations in the U.S.,

   including this State and the Seminole Community. For example, the Manufacturer Defendants

   focused their deceptive marketing on primary care doctors, who were more likely to treat chronic

   pain patients and prescribe them drugs, but were less likely to be educated about treating pain and

   the risks and benefits of opioids and therefore more likely to accept the Manufacturer Defendants’

   misrepresentations.

          164.    The Manufacturer Defendants also targeted vulnerable patient populations like the

   elderly and veterans, who tend to suffer from chronic pain. The Manufacturer Defendants targeted

   these vulnerable patients even though the risks of long-term opioid use were significantly greater

   for them. For example, the 2016 CDC Guideline observes that existing evidence confirms that

   elderly patients taking opioids suffer from elevated fall and fracture risks, reduced renal function

   and medication clearance, and a smaller window between safe and unsafe dosages. The 2016 CDC

   Guideline concludes that there must be “additional caution and increased monitoring” to minimize

   the risks of opioid use in elderly patients. Id. at 27. The same is true for veterans, who are more

   likely to use anti-anxiety drugs (benzodiazepines) for posttraumatic stress disorder, which interact

   dangerously with opioids.

          F.      The Manufacturer Defendants made Materially Deceptive Statements and
                  Concealed Materials Facts.

          165.    As alleged herein, the Manufacturer Defendants made and/or disseminated

   deceptive statements regarding material facts and further concealed material facts, in the course of

   manufacturing, marketing, and selling prescription opioids. The Manufacturer Defendants’ actions




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   were intentional and/or unlawful. Such statements include, but are not limited to, those set out

   below and alleged throughout this Complaint.

          166.     Defendant Purdue made and/or disseminated deceptive statements, and concealed

   material facts in such a way to make their statements deceptive, including, but not limited to, the

   following:

                a. Creating, sponsoring, and assisting in the distribution of patient education materials

   distributed to consumers that contained deceptive statements;

                b. Creating and disseminating advertisements that contained deceptive statements

   concerning the ability of opioids to improve function long-term and concerning the evidence

   supporting the efficacy of opioids long-term for the treatment of chronic non-cancer pain;

                c. Disseminating misleading statements concealing the true risk of addiction and

   promoting the deceptive concept of pseudoaddiction through Purdue’s own unbranded

   publications and on internet sites Purdue operated that were marketed to and accessible by

   consumers;

                d. Distributing brochures to doctors, patients, and law enforcement officials that

   included deceptive statements concerning the indicators of possible opioid abuse;

                e. Sponsoring, directly distributing, and assisting in the distribution of publications

   that promoted the deceptive concept of pseudoaddiction, even for high-risk patients;

                f. Endorsing, directly distributing, and assisting in the distribution of publications that

   presented an unbalanced treatment of the long-term and dose-dependent risks of opioids versus

   NSAIDs;

                g. Providing significant financial support to pro-opioid KOL doctors who made

   deceptive statements concerning the use of opioids to treat chronic non-cancer pain;




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              h. Providing needed financial support to pro-opioid pain organizations that made

   deceptive statements, including in patient education materials, concerning the use of opioids to

   treat chronic non-cancer pain;

              i. Assisting in the distribution of guidelines that contained deceptive statements

   concerning the use of opioids to treat chronic non-cancer pain and misrepresented the risks of

   opioid addiction;

              j. Endorsing and assisting in the distribution of CMEs containing deceptive

   statements concerning the use of opioids to treat chronic non-cancer pain;

              k. Developing and disseminating scientific studies that misleadingly concluded

   opioids are safe and effective for the long-term treatment of chronic non-cancer pain and that

   opioids improve quality of life, while concealing contrary data;

              l. Assisting in the dissemination of literature written by pro-opioid KOLs that

   contained deceptive statements concerning the use of opioids to treat chronic non-cancer pain;

              m. Creating, endorsing, and supporting the distribution of patient and prescriber

   education materials that misrepresented the data regarding the safety and efficacy of opioids for

   the long-term treatment of chronic non-cancer pain, including known rates of abuse and addiction

   and the lack of validation for long-term efficacy;

              n. Targeting veterans by sponsoring and disseminating patient education marketing

   materials that contained deceptive statements concerning the use of opioids to treat chronic non-

   cancer pain;

              o. Targeting the elderly by assisting in the distribution of guidelines that contained

   deceptive statements concerning the use of opioids to treat chronic non-cancer pain and

   misrepresented the risks of opioid addiction in this population;




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                p. Exclusively disseminating misleading statements in education materials to hospital

   doctors and staff while purportedly educating them on new pain standards;



                q. Making deceptive statements concerning the use of opioids to treat chronic non-

   cancer pain to prescribers through in-person detailing; and

                r. Withholding from law enforcement the names of prescribers Purdue believed to be

   facilitating the diversion of its opioid, while simultaneously marketing opioids to these doctors by

   disseminating patient and prescriber education materials and advertisements and CMEs they knew

   would reach these same prescribers.

            167.   Defendant Endo made and/or disseminated deceptive statements, and concealed

   material facts in such a way to make their statements deceptive, including, but not limited to, the

   following:

                a. Creating, sponsoring, and assisting in the distribution of patient education materials

   that contained deceptive statements;

                b. Creating and disseminating advertisements that contained deceptive statements

   concerning the ability of opioids to improve function long-term and concerning the evidence

   supporting the efficacy of opioids long-term for the treatment of chronic non-cancer pain;

                c. Creating and disseminating paid advertisement supplements in academic journals

   promoting chronic opioid therapy as safe and effective for long term use for high risk patients;

                d. Creating and disseminating advertisements that falsely and inaccurately conveyed

   the impression that Endo’s opioids would provide a reduction in oral, intranasal, or intravenous

   abuse;




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              e. Disseminating misleading statements concealing the true risk of addiction and

   promoting the misleading concept of pseudoaddiction through Endo’s own unbranded publications

   and on internet sites Endo sponsored or operated;

              f. Endorsing, directly distributing, and assisting in the distribution of publications that

   presented an unbalanced treatment of the long-term and dose-dependent risks of opioids versus

   NSAIDs;

              g. Providing significant financial support to pro-opioid KOLs, who made deceptive

   statements concerning the use of opioids to treat chronic non-cancer pain;

              h. Providing needed financial support to pro-opioid pain organizations—including

   over $5 million to the organization responsible for many of the most egregious

   misrepresentations—that made deceptive statements, including in patient education materials,

   concerning the use of opioids to treat chronic non-cancer pain;

              i. Targeting the elderly by assisting in the distribution of guidelines that contained

   deceptive statements concerning the use of opioids to treat chronic non-cancer pain and

   misrepresented the risks of opioid addiction in this population;

              j. Endorsing and assisting in the distribution of CMEs containing deceptive

   statements concerning the use of opioids to treat chronic non-cancer pain;

              k. Developing and disseminating scientific studies that deceptively concluded opioids

   are safe and effective for the long-term treatment of chronic non-cancer pain and that opioids

   improve quality of life, while concealing contrary data;

              l. Directly distributing and assisting in the dissemination of literature written by pro-

   opioid KOLs that contained deceptive statements concerning the use of opioids to treat chronic

   non-cancer pain, including the concept of pseudoaddiction;




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                m. Creating, endorsing, and supporting the distribution of patient and prescriber

   education materials that misrepresented the data regarding the safety and efficacy of opioids for

   the long-term treatment of chronic non-cancer pain, including known rates of abuse and addiction

   and the lack of validation for long-term efficacy; and

                n. Making deceptive statements concerning the use of opioids to treat chronic non-

   cancer pain to prescribers through in-person detailing.


          168.     Defendant Janssen made and/or disseminated deceptive statements, and concealed

   material facts in such a way to make their statements deceptive, including, but not limited to, the

   following:

                a. Creating, sponsoring, and assisting in the distribution of patient education materials

   that contained deceptive statements;

                b. Directly disseminating deceptive statements through internet sites over which

   Janssen exercised final editorial control and approval stating that opioids are safe and effective for

   the long-term treatment of chronic non-cancer pain and that opioids improve quality of life, while

   concealing contrary data;

                c. Disseminating deceptive statements concealing the true risk of addiction and

   promoting the deceptive concept of pseudoaddiction through internet sites over which Janssen

   exercised final editorial control and approval;

                d. Promoting opioids for the treatment of conditions for which Janssen knew, due to

   the scientific studies it conducted, that opioids were not efficacious and concealing this

   information;

                e. Sponsoring, directly distributing, and assisting in the dissemination of patient

   education publications over which Janssen exercised final editorial control and approval, which



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   presented an unbalanced treatment of the long-term and dose dependent risks of opioids versus

   NSAIDs;

              f. Providing significant financial support to pro-opioid KOLs, who made deceptive

   statements concerning the use of opioids to treat chronic non-cancer pain;

              g. Providing necessary financial support to pro-opioid pain organizations that made

   deceptive statements, including in patient education materials, concerning the use of opioids to

   treat chronic non-cancer pain;

              h. Targeting the elderly by assisting in the distribution of guidelines that contained

   deceptive statements concerning the use of opioids to treat chronic non-cancer pain and

   misrepresented the risks of opioid addiction in this population;

              i. Targeting the elderly by sponsoring, directly distributing, and assisting in the

   dissemination of patient education publications targeting this population that contained deceptive

   statements about the risks of addiction and the adverse effects of opioids, and made false

   statements that opioids are safe and effective for the long-term treatment of chronic non-cancer

   pain and improve quality of life, while concealing contrary data;

              j. Endorsing and assisting in the distribution of CMEs containing deceptive

   statements concerning the use of opioids to treat chronic non-cancer pain;

              k. Directly distributing and assisting in the dissemination of literature written by pro-

   opioid KOLs that contained deceptive statements concerning the use of opioids to treat chronic

   non-cancer pain, including the concept of pseudoaddiction;

              l. Creating, endorsing, and supporting the distribution of patient and prescriber

   education materials that misrepresented the data regarding the safety and efficacy of opioids for




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   the long-term treatment of chronic non-cancer pain, including known rates of abuse and addiction

   and the lack of validation for long-term efficacy;

              m. Targeting veterans by sponsoring and disseminating patient education marketing

   materials that contained deceptive statements concerning the use of opioids to treat chronic non-

   cancer pain; and

              n. Making deceptive statements concerning the use of opioids to treat chronic non-

   cancer pain to prescribers through in-person detailing.

          169.    Defendant Cephalon made and/or disseminated untrue, false and deceptive

   statements, and concealed material facts in such a way to make their statements deceptive,

   including, but not limited to, the following:

              a. Creating, sponsoring, and assisting in the distribution of patient education materials

   that contained deceptive statements;

              b. Sponsoring and assisting in the distribution of publications that promoted the

   deceptive concept of pseudoaddiction, even for high-risk patients;

              c. Providing significant financial support to pro-opioid KOL doctors who made

   deceptive statements concerning the use of opioids to treat chronic non-cancer pain and

   breakthrough chronic non-cancer pain;

              d. Developing and disseminating scientific studies that deceptively concluded opioids

   are safe and effective for the long-term treatment of chronic non-cancer pain in conjunction with

   Cephalon’s potent rapid-onset opioids;

              e. Providing needed financial support to pro-opioid pain organizations that made

   deceptive statements, including in patient education materials, concerning the use of opioids to

   treat chronic non-cancer pain;




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                f. Endorsing and assisting in the distribution of CMEs containing deceptive

   statements concerning the use of opioids to treat chronic non-cancer pain;

                g. Endorsing and assisting in the distribution of CMEs containing deceptive

   statements concerning the use of Cephalon’s rapid-onset opioids;

                h. Directing its marketing of Cephalon’s rapid-onset opioids to a wide range of

   doctors, including general practitioners, neurologists, sports medicine specialists, and workers’

   compensation programs, serving chronic pain patients;

                i. Making deceptive statements concerning the use of Cephalon’s opioids to treat

   chronic non-cancer pain to prescribers through in-person detailing and speakers’ bureau events,

   when such uses are unapproved and unsafe; and

                j. Making deceptive statements concerning the use of opioids to treat chronic non-

   cancer pain to prescribers through in-person detailing and speakers’ bureau events.

          170.     Defendant Actavis made and/or disseminated deceptive statements, and concealed

   material facts in such a way to make their statements deceptive, including, but not limited to, the

   following:

                a. Making deceptive statements concerning the use of opioids to treat chronic non-

   cancer pain to prescribers through in-person detailing;

                b. Creating and disseminating advertisements that contained deceptive statements that

   opioids are safe and effective for the long-term treatment of chronic non-cancer pain and that

   opioids improve quality of life;

                c. Creating and disseminating advertisements that concealed the risk of addiction in

   the long-term treatment of chronic, non-cancer pain; and




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               d. Developing and disseminating scientific studies that deceptively concluded opioids

   are safe and effective for the long-term treatment of chronic non-cancer pain and that opioids

   improve quality of life while concealing contrary data.

          G.      The Manufacturer Defendants Fraudulently Concealed Their Misconduct.

          171.    The Manufacturer Defendants, both individually and collectively, made, promoted,

   and profited from their misrepresentations about the risks and benefits of opioids for chronic pain

   even though they knew that their misrepresentations were false and deceptive. The history of

   opioids, as well as research and clinical experience establish that opioids are highly addictive and

   are responsible for a long list of very serious adverse outcomes. The FDA warned Defendants of

   this, and Defendants had access to scientific studies, detailed prescription data, and reports of

   adverse events, including reports of addiction, hospitalization, and death—all of which clearly

   described the harm from long-term opioid use and that patients were suffering from addiction,

   overdose, and death in alarming numbers. More recently, the FDA and CDC have issued

   pronouncements, based on medical evidence, that conclusively expose the falsity of Defendants’

   misrepresentations, and Endo and Purdue have recently entered agreements in New York

   prohibiting them from making some of the same misrepresentations described in this Complaint.

          172.    At all times relevant to this Complaint, the Manufacturer Defendants took steps to

   avoid detection of and to fraudulently conceal their deceptive marketing and unlawful, unfair, and

   fraudulent conduct. For example, the Manufacturer Defendants disguised their role in the

   deceptive marketing of chronic opioid therapy by funding and working through third parties like

   Front Groups and KOLs. The Manufacturer Defendants purposefully hid behind the assumed

   credibility of these individuals and organizations and relied on them to vouch for the accuracy and

   integrity of the Manufacturer Defendants’ false and deceptive statements about the risks and




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   benefits of long-term opioid use for chronic pain. Defendants also never disclosed their role in

   shaping, editing, and approving the content of information and materials disseminated by these

   third parties. The Manufacturer Defendants exerted considerable influence on these promotional

   and “educational” materials in emails, correspondence, and meetings with KOLs, Front Groups,

   and public relations companies that were not, and have not yet become, public. For example,

   PainKnowledge.org, which is run by the NIPC, did not disclose Endo’s involvement. Other

   Manufacturer Defendants, such as Purdue and Janssen, ran similar websites that masked their own

   role.

           173.   Finally, the Manufacturer Defendants manipulated their promotional materials and

   the scientific literature to make it appear that these documents were accurate, truthful, and

   supported by objective evidence when they were not. The Manufacturer Defendants distorted the

   meaning or import of studies they cited and offered them as evidence for propositions the studies

   did not support. The Manufacturer Defendants invented “pseudoaddiction” and promoted it to an

   unsuspecting medical community. The Manufacturer Defendants provided the medical community

   with false and misleading information about ineffectual strategies to avoid or control opioid

   addiction. The Manufacturer Defendants recommended to the medical community that dosages be

   increased, without disclosing the risks. The Manufacturer Defendants spent millions of dollars

   over a period of years on a misinformation campaign aimed at highlighting opioids’ alleged

   benefits, disguising the risks, and promoting sales. The lack of support for the Manufacturer

   Defendants’ deceptive messages was not apparent to medical professionals who relied upon them

   in making treatment decisions, nor could it have been detected by the Seminole Tribe or the

   Seminole Community. Thus, the Manufacturer Defendants successfully concealed from the

   medical community, patients, and health care payors facts sufficient to arouse suspicion of the




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   claims that the Plaintiff now asserts. Plaintiff did not know of the existence or scope of the

   Manufacturer Defendants’ industry-wide fraud and could not have acquired such knowledge

   earlier through the exercise of reasonable diligence.

          H.      The Distributor Defendants’ Unlawful Distribution of Opioids.

          174.    The Distributor Defendants owe a duty under both federal law (21 U.S.C. § 823, 21

   CFR 1301.74) and Florida law (§ 499.0121(15)(b), Fla. Stat. (2018)) to monitor, detect,

   investigate, refuse to fill, and report suspicious orders of prescription opioids originating from the

   Seminole Community as well as those orders which the Distributor Defendants knew or should

   have known were likely to be diverted into the Seminole Community.

          175.    The foreseeable harm from a breach of these duties is the diversion of prescription

   opioids for nonmedical purposes.

          176.    Each Distributor Defendant repeatedly and purposefully breached its duties under

   state and federal law. Such breaches are a direct and proximate cause of the widespread diversion

   of prescription opioids for nonmedical purposes into the Seminole Community.

          177.    The unlawful diversion of prescription opioids is a direct and proximate cause of

   the opioid epidemic, prescription opioid abuse, addiction, morbidity and mortality in the State and

   in the Seminole Community. This diversion and the epidemic are direct causes of harms for which

   Plaintiff seeks to recover here.

          178.    The opioid epidemic in Florida, including, among other things, in the Seminole

   Community, remains an immediate hazard to public health and safety.

          179.    The opioid epidemic in the Seminole Community is a temporary and continuous

   public nuisance and remains unabated.




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           180.    The Distributor Defendants’ intentionally continued their conduct, as alleged

   herein, with knowledge that such conduct was creating the opioid nuisance and causing the harms

   and damages alleged herein.

           I.      The Distributor Defendants Have a Duty under Federal and State Law to
                   Guard Against, and Report, Unlawful Diversion and to Report and Prevent
                   Suspicious Orders.

           181.    Opioids are a controlled substance and as “Schedule II” drugs are categorized as

   dangerous drugs with a “high potential for abuse” which may lead to “severe psychological or

   physical dependence” under federal and Florida law. See 21 U.S.C. §§ 812(b)(2)(A) and (C); §§

   893.03(2)(a)–(b), Fla. Stat. (2018).

           182.    Florida law required Defendants to be licensed by the Florida Department of

   Health. See §§ 465.022 et seq., Fla. Stat.; see also §§ 465.0156 et seq., Fla. Stat. (requiring non-

   resident pharmacies and their designated pharmacist to obtain a permit from the State in order to

   dispense).

           183.    The Florida Pharmacy Board has the authority to suspend or revoke licenses and

   impose penalties on any applicant or licensee who is found guilty of violating any provision of the

   disciplinary statute applicable to pharmacists. Also, “Making misleading, deceptive, or fraudulent

   representations in or related to the practice of the licensee’s profession,” or “failing to perform any

   statutory or legal obligation placed upon the licensee,” are grounds for disciplinary action

   including and up to permanent revocation. §§ 456.072(1)(a), (1)(k), (2), Fla. Stat. (2018).

           184.    Unless expressly authorized, it is unlawful to possess, manufacture, or deliver

   controlled substances. § 893.13(1)(a), Fla. Stat.; see also § 893.13(7)(a)(5), Fla. Stat. (“A person

   may not . . . keep or maintain any store, . . . warehouse, . . . building, . . . or other structure or place,




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   . . . used for keeping or selling [controlled substances] in violation of [the Florida Comprehensive

   Drug Abuse Prevention and Control Act]”).

             185.   Florida Law requires manufacturers and distributors of controlled substances to

   keep and maintain “complete and accurate record[s] of all stocks of controlled substances on

   hand.” § 893.07(1)(a), Fla. Stat. (2018). Likewise, Florida law requires manufacturers and

   distributors to maintain “a complete and accurate record of each substance manufactured, received,

   sold, delivered, or otherwise disposed of . . . .” Id. § 893.07(1)(b); see also id. § 893.071(5)(a)–(b)

   (requiring maintenance of records of “controlled substances lost, destroyed or stolen,” and to

   “report [any] such theft or significant loss to the sheriff or that county within 24 hours after

   discovery.”).

             186.   Furthermore, Florida law does incorporate federal requirements set out under the

   Controlled Substances Act and related controlled substances laws and regulations. To receive and

   maintain a Florida license, each of the Defendants who registered as Wholesale Distributors

   assumed a duty to comply with “applicable federal and state laws.” § 499.01(4)(h), Fla. Stat.

   (2018).

             187.   Each Distributor Defendant was further required to register with the DEA, pursuant

   to the federal Controlled Substance Act. See 21 U.S.C. § 823(b), (e); 28 C.F.R. § 0.100. Each

   Distributor Defendant is a “registrant” as a wholesale distributor in the chain of distribution of

   Schedule II controlled substances with a duty to comply with all security requirements imposed

   under that statutory scheme. Those requirements are adopted and incorporated into Florida law, as

   set forth above.

             188.   Each Distributor Defendant has an affirmative duty under federal and Florida to act

   as a gatekeeper guarding against the diversion of the highly addictive, dangerous opioid drugs.




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   Federal law requires that Distributors of Schedule II drugs, including opioids, must maintain

   “effective control against diversion of particular controlled substances into other than legitimate

   medical, scientific, and industrial channels.” 21 U.S.C. §§ 823(b)(1). Florida law requires that all

   locations “used for wholesale drug distribution must be secure from unauthorized entry” and that

   it must be equipped with a “security system that will provide suitable protection from theft and

   diversion” and “theft or diversion that is facilitated or hidden by tampering with computers or

   electronic records.” § 499.0121(2)(a)–(b), Fla. Stat.. In addition, drug distributors must “establish,

   maintain, and adhere to written policies and procedures, which shall be followed for the receipt,

   security, storage, inventory, and distribution of prescription drugs, including policies and

   procedures for identifying, recording, and reporting losses or thefts[.]” Id. § 499.0121(8).

          189.    Federal regulations and Florida law impose a non-delegable duty upon wholesale

   drug distributors to “design and operate a system to disclose to the registrant suspicious orders of

   controlled substances. The registrant [distributor] shall inform the Field Division Office of the

   Administration in his area of suspicious orders when discovered by the registrant. Suspicious

   orders include orders of unusual size, orders deviating substantially from a normal pattern, and

   orders of unusual frequency.” 21 C.F.R. § 1301.74(b); § 499.0121(15)(b), Fla. Stat. (“wholesale

   distributor[s] must establish internal policies and procedures for identifying suspicious orders and

   preventing suspicious transactions.”); see also Fla. Admin. Code 61N-2.012, 2.016 (both domestic

   and out-of-state wholesale distributors must comply with Chapter 499, Fla. Stat. to apply for and

   receive permits to distribute controlled substances). “Suspicious orders” include orders of an

   unusual size, orders of unusual frequency or orders deviating substantially from a normal pattern.

   See 21 CFR 1301.74(b). These criteria are disjunctive and are not all inclusive. For example, if an

   order deviates substantially from a normal pattern, the size of the order does not matter and the




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   order should be reported as suspicious. Likewise, a wholesale distributor need not wait for a normal

   pattern to develop over time before determining whether a particular order is suspicious. The size

   of an order alone, regardless of whether it deviates from a normal pattern, is enough to trigger the

   wholesale distributor’s responsibility to report the order as suspicious. The determination of

   whether an order is suspicious depends not only on the ordering patterns of the particular customer

   but also on the patterns of the entirety of the wholesale distributor’s customer base and the patterns

   throughout the relevant segment of the wholesale distributor industry.

           190.    In addition to reporting all suspicious orders, distributors must also stop shipment

   on any order which is flagged as suspicious and only ship orders which were flagged as potentially

   suspicious if, after conducting due diligence, the distributor can determine that the order is not

   likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg. 36,487,

   36,501 (Drug Enf’t Admin. July 3, 2007); Masters Pharmaceutical, Inc. v. Drug Enforcement

   Administration, No. 15-11355 (D.C. Cir. June 30, 2017). Regardless, all flagged orders must be

   reported. Id.

           191.    These prescription drugs are regulated for the purpose of providing a “closed”

   system intended to reduce the widespread diversion of these drugs out of legitimate channels into

   the illicit market, while at the same time providing the legitimate drug industry with a unified

   approach to narcotic and dangerous drug control.

           192.    Different entities supervise the discrete links in the chain that separate a consumer

   from a controlled substance. Statutes and regulations define each participant’s role and

   responsibilities.

           193.    As the DEA advised the Distributor Defendants in a letter to them dated September

   27, 2006, wholesale distributors are “one of the key components of the distribution chain. If the




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   closed system is to function properly … distributors must be vigilant in deciding whether a

   prospective customer can be trusted to deliver controlled substances only for lawful purposes. This

   responsibility is critical, as … the illegal distribution of controlled substances has a substantial and

   detrimental effect on the health and general welfare of the American people.”

           194.    The Distributor Defendants have admitted that they are responsible for reporting

   suspicious orders.

           195.    The DEA sent a letter to each of the Distributor Defendants on September 27, 2006,

   warning that it would use its authority to revoke and suspend registrations when appropriate. The

   letter expressly states that a distributor, in addition to reporting suspicious orders, has a “statutory

   responsibility to exercise due diligence to avoid filling suspicious orders that might be diverted

   into other than legitimate medical, scientific, and industrial channels.” The letter also instructs that

   “distributors must be vigilant in deciding whether a prospective customer can be trusted to deliver

   controlled substances only for lawful purposes.” The DEA warns that “even just one distributor

   that uses its DEA registration to facilitate diversion can cause enormous harm.”

           196.    The DEA sent a second letter to each of the Distributor Defendants on December

   27, 2007. This letter reminds the Defendants of their statutory and regulatory duties to “maintain

   effective controls against diversion” and “design and operate a system to disclose to the registrant

   suspicious orders of controlled substances.” The letter further explains:

                  . . .The regulation also requires that the registrant inform the local DEA
           Division Office of suspicious orders when discovered by the registrant. Filing a
           monthly report of completed transactions (e.g., “excessive purchase report” or
           “high unity purchases”) does not meet the regulatory requirement to report
           suspicious orders. Registrants are reminded that their responsibility does not end
           merely with the filing of a suspicious order report. Registrants must conduct an
           independent analysis of suspicious orders prior to completing a sale to determine
           whether the controlled substances are likely to be diverted from legitimate
           channels. Reporting an order as suspicious will not absolve the registrant of




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         responsibility if the registrant knew, or should have known, that the controlled
         substances were being diverted.

                 The regulation specifically states that suspicious orders include orders of
         unusual size, orders deviating substantially from a normal pattern, and orders of an
         unusual frequency. These criteria are disjunctive and are not all inclusive. For
         example, if an order deviates substantially from a normal pattern, the size of the
         order does not matter and the order should be reported as suspicious. Likewise, a
         registrant need not wait for a “normal pattern” to develop over time before
         determining whether a particular order is suspicious. The size of an order alone,
         whether or not it deviates from a normal pattern, is enough to trigger the registrant’s
         responsibility to report the order as suspicious. The determination of whether an
         order is suspicious depends not only on the ordering patterns of the particular
         customer, but also on the patterns of the registrant’s customer base and the patterns
         throughout the segment of the regulated industry.

                  Registrants that rely on rigid formulas to define whether an order is
         suspicious may be failing to detect suspicious orders. For example, a system that
         identifies orders as suspicious only if the total amount of a controlled substance
         ordered during one month exceeds the amount ordered the previous month by a
         certain percentage or more is insufficient. This system fails to identify orders placed
         by a pharmacy if the pharmacy placed unusually large orders from the beginning
         of its relationship with the distributor. Also, this system would not identify orders
         as suspicious if the order were solely for one highly abused controlled substance if
         the orders never grew substantially. Nevertheless, ordering one highly abused
         controlled substance and little or nothing else deviates from the normal pattern of
         what pharmacies generally order.

                 When reporting an order as suspicious, registrants must be clear in their
         communication with DEA that the registrant is actually characterizing an order as
         suspicious. Daily, weekly, or monthly reports submitted by registrant indicating
         “excessive purchases” do not comply with the requirement to report suspicious
         orders, even if the registrant calls such reports “suspicious order reports.”
         Lastly, registrants that routinely report suspicious orders, yet fill these orders
         without first determining that order is not being diverted into other than legitimate
         medical, scientific, and industrial channels, may be failing to maintain effective
         controls against diversion. Failure to maintain effective controls against diversion
         is inconsistent with the public interest as that term is used in 21 USC 823 and 824,
         and may result in the revocation of the registrant’s DEA Certificate of Registration.

         197.   Finally, the DEA letter references the Revocation of Registration issued in

   Southwood Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which discusses the




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   obligation to report suspicious orders and “some criteria to use when determining whether an order

   is suspicious.”

          198.       The Distributor Defendants admit that they “have not only statutory and regulatory

   responsibilities to detect and prevent diversion of controlled prescription drugs, but undertake such

   efforts as responsible members of society.”

          199.       The Distributor Defendants knew they were required to monitor, detect, and halt

   suspicious orders. Industry compliance guidelines established by the Healthcare Distribution

   Management Association, the trade association of pharmaceutical distributors, explain that

   distributors are “[a]t the center of a sophisticated supply chain” and therefore “are uniquely situated

   to perform due diligence in order to help support the security of the controlled substances they

   deliver to their customers.” The guidelines set forth recommended steps in the “due diligence”

   process, and note in particular: If an order meets or exceeds a distributor’s threshold, as defined in

   the distributor’s monitoring system, or is otherwise characterized by the distributor as an order of

   interest, the distributor should not ship to the customer, in fulfillment of that order, any units of

   the specific drug code product as to which the order met or exceeded a threshold or as to which

   the order was otherwise characterized as an order of interest.,

          200.       Each of the Distributor Defendants sold prescription opioids, including

   hydrocodone and/or oxycodone, to retailers in the Seminole Community and/or to retailers from

   which Defendants knew prescription opioids were likely to be diverted to the Seminole

   Community.

          201.       Each Distributor Defendant owes a duty to monitor and detect suspicious orders of

   prescription opioids.




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          202.    Each Distributor Defendant owes a duty under federal and state law to investigate

   and refuse suspicious orders of prescription opioids.

          203.    Each Distributor Defendant owes a duty under federal and state law to report

   suspicious orders of prescription opioids.

          204.    Each Distributor Defendant owes a duty under federal and state law to prevent the

   diversion of prescription opioids into illicit markets in the state and the Seminole Community.

          205.    The foreseeable harm resulting from a breach of these duties is the diversion of

   prescription opioids for nonmedical purposes and subsequent plague of opioid addiction.

          206.    The foreseeable harm resulting from the diversion of prescription opioids for

   nonmedical purposes is abuse, addiction, morbidity and mortality in the Seminole Community and

   the damages caused thereby.

          J.      The Distributor Defendants Breached their Duties.

          207.    Because distributors handle such large volumes of controlled substances, and are

   the first major line of defense in the movement of legal pharmaceutical controlled substances from

   legitimate channels into the illicit market, it is incumbent on distributors to maintain effective

   controls to prevent diversion of controlled substances. Should a distributor deviate from these

   checks and balances, the closed system collapses.

          208.    The sheer volume of prescription opioids distributed to pharmacies in the Seminole

   Community, and/or to pharmacies from which the Distributor Defendants knew the opioids were

   likely to be diverted into the Seminole Community, is excessive for the medical need of the

   community and facially suspicious. Some red flags are so obvious that no one who engages in the

   legitimate distribution of controlled substances can reasonably claim ignorance of them.




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          209.    The Distributor Defendants failed to report “suspicious orders” originating from

   the Seminole Community, or which the Distributor Defendants knew were likely to be diverted to

   the Seminole Community, to the federal and state authorities, including the DEA and/or the

   NCDHHS.

          210.    The Distributor Defendants unlawfully filled suspicious orders of unusual size,

   orders deviating substantially from a normal pattern and/or orders of unusual frequency in the

   Seminole Community, and/or in areas from which the Distributor Defendants knew opioids were

   likely to be diverted to the Seminole Community.

          211.    The Distributor Defendants breached their duty to monitor, detect, investigate,

   refuse and report suspicious orders of prescription opiates originating from the Seminole

   Community, and/or in areas from which the Distributor Defendants knew opioids were likely to

   be diverted to the Seminole Community.

          212.    The Distributor Defendants breached their duty to maintain effective controls

   against diversion of prescription opiates into other than legitimate medical, scientific, and

   industrial channels. See Cardinal Health v. Holder, 846 F.Supp. 2d 203, 206 (D.D.C. 2012).

          213.    The Distributor Defendants breached their duty to “design and operate a system to

   disclose to the registrant suspicious orders of controlled substances” and failed to inform the

   authorities including the DEA of suspicious orders when discovered, in violation of their duties

   under federal and state law.

          214.    The Distributor Defendants breached their duty to exercise due diligence to avoid

   filling suspicious orders that might be diverted into channels other than legitimate medical,

   scientific and industrial channels.

          215.    The federal and state laws at issue here are public safety laws.




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          216.    The Distributor Defendants’ violations of public safety statutes constitute prima

   facie evidence of negligence.

          217.    The unlawful conduct by the Distributor Defendants is purposeful and intentional.

   The Distributor Defendants refuse to abide by the duties imposed by federal and state law which

   are required to legally acquire and maintain a license to distribute prescription opiates.

          218.    The Distributor Defendants acted with actual malice in breaching their duties, i.e.,

   they have acted with a conscious disregard for the rights and safety of other persons, and said

   actions have a great probability of causing substantial harm.

          219.    The Distributor Defendants’ repeated shipments of suspicious orders, over an

   extended period of time, in violation of public safety statutes, and without reporting the suspicious

   orders to the relevant authorities demonstrates wanton, willful, or reckless conduct or criminal

   indifference to civil obligations affecting the rights of others and justifies an award of punitive

   damages.

          K.      The Distributor Defendants Have Sought to Avoid and Have Misrepresented
                  their Compliance with their Legal Duties.

          220.    The Distributor Defendants have repeatedly misrepresented their compliance with

   their legal duties under Tribal, state and federal law and have wrongfully and repeatedly disavowed

   those duties in an effort to mislead regulators and the public regarding the Distributor Defendants’

   compliance with their legal duties.

          221.    Distributor Defendants have refused to recognize any duty beyond reporting

   suspicious orders. In Masters Pharmaceuticals, the HDMA, a trade association run the Distributor

   Defendants, and the NACDS submitted amicus briefs regarding the legal duty of wholesale

   distributors. Inaccurately denying the legal duties that the wholesale drug industry has been

   tragically recalcitrant in performing, they argued as follows:



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              a. The Associations complained that the “DEA has required distributors not only to

   report suspicious orders, but to investigate orders (e.g., by interrogating pharmacies and

   physicians) and take action to halt suspicious orders before they are filled.”

              b. The Associations argued that, “DEA now appears to have changed its position to

   require that distributors not only report suspicious orders, but investigate and halt suspicious

   orders. Such a change in agency position must be accompanied by an acknowledgment of the

   change and a reasoned explanation for it. In other words, an agency must display awareness that it

   is changing position and show that there are good reasons for the new policy. This is especially

   important here, because imposing intrusive obligation on distributors threatens to disrupt patient

   access to needed prescription medications.”

              c. The Associations alleged (inaccurately) that nothing “requires distributors to

   investigate the legitimacy of orders, or to halt shipment of any orders deemed to be suspicious.”

              d. The Associations complained that the purported “practical infeasibility of requiring

   distributors to investigate and halt suspicious orders (as well as report them) underscores the

   importance of ensuring that DEA has complied with the APA before attempting to impose such

   duties.”

              e. The Associations alleged (inaccurately) that “DEA’s regulations [] sensibly

   impose[] a duty on distributors simply to report suspicious orders, but left it to DEA and its agents

   to investigate and halt suspicious orders.”

              f. Also inaccurately, the Associations argued that, “[i]mposing a duty on

   distributors—which lack the patient information and the necessary medical expertise—to

   investigate and halt orders may force distributors to take a shot-in-the-dark approach to complying

   with DEA’s demands.”




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          222.    The positions taken by the trade groups are emblematic of the position taken by the

   Distributor Defendants in a futile attempt to deny their legal obligations to prevent diversion of

   the dangerous drugs.

          223.    The Court of Appeals for the District of Columbia recently issued its opinion

   affirming that a wholesale drug distributor does, in fact, have duties beyond reporting. Masters

   Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d 206 (D.C. Cir. 2017). The D.C. Circuit Court upheld

   the revocation of Master Pharmaceutical’s license and determined that DEA regulations require

   that in addition to reporting suspicious orders, distributors must “decline to ship the order, or

   conduct some ‘due diligence’ and—if it is able to determine that the order is not likely to be

   diverted into illegal channels—ship the order.” Id. at 212. Master Pharmaceutical was in violation

   of legal requirements because it failed to conduct necessary investigations and filled suspicious

   orders. Id. at 218–19, 226. A distributor’s investigation must dispel all the red flags giving rise to

   suspicious circumstance prior to shipping a suspicious order. Id. at 226. The Circuit Court also

   rejected the argument made by the HDMA and NACDS (quoted above), that, allegedly, the DEA

   had created or imposed new duties. Id. at 220.

          224.    Wholesale Distributor McKesson has recently been forced to specifically admit to

   breach of its duties to monitor, report, and prevent suspicious orders. Pursuant to an Administrative

   Memorandum of Agreement (“2017 Agreement”) entered into between McKesson and the DEA

   in January 2017, McKesson admitted that, at various times during the period from January 1, 2009

   through the effective date of the Agreement (January 17, 2017) it “did not identify or report to

   [the] DEA certain orders placed by certain pharmacies which should have been detected by

   McKesson as suspicious based on the guidance contained in the DEA Letters.” Further, the 2017

   Agreement specifically finds that McKesson “distributed controlled substances to pharmacies even




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   though those McKesson Distribution Centers should have known that the pharmacists practicing

   within those pharmacies had failed to fulfill their corresponding responsibility to ensure that

   controlled substances were dispensed pursuant to prescriptions issued for legitimate medical

   purposes by practitioners acting in the usual course of their professional practice, as required by

   21 C.F.R § 1306.04(a).” McKesson admitted that, during this time period, it “failed to maintain

   effective controls against diversion of particular controlled substances into other than legitimate

   medical, scientific and industrial channels by sales to certain of its customers in violation of the

   CSA and the CSA’s implementing regulations, 21 C.F.R. Part 1300 et seq., at the McKesson

   Distribution Centers.” Due to these violations, McKesson agreed that its authority to distribute

   controlled substances from some of its distribution centers would be partially suspended.

          225.    The 2017 Memorandum of Agreement followed a 2008 Settlement Agreement in

   which McKesson also admitted failure to report suspicious orders of controlled substances to the

   DEA. In the 2008 Settlement Agreement, McKesson “recognized that it had a duty to monitor its

   sales of all controlled substances and report suspicious orders to DEA,” but had failed to do so.

   The 2017 Memorandum of Agreement documents that McKesson continued to breach its admitted

   duties by “fail[ing] to properly monitor its sales of controlled substances and/or report suspicious

   orders to DEA, in accordance with McKesson’s obligations.” As a result of these violations,

   McKesson was fined and required to pay to the United States $150,000,000.

          226.    Even though McKesson had been sanctioned in 2008 for failure to comply with its

   legal obligations regarding controlling diversion and reporting suspicious orders, and even though

   McKesson had specifically agreed in 2008 that it would no longer violate those obligations,

   McKesson continued to violate the laws in contrast to its written agreement not to do so.




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          227.    Because of the Distributor Defendants’ refusal to abide by their legal obligations,

   the DEA has repeatedly taken administrative action to attempt to force compliance. For example,

   in May 2014, the United States Department of Justice, Office of the Inspector General, Evaluation

   and Inspections Divisions, reported that the DEA issued final decisions in 178 registrant actions

   between 2008 and 2012. The Office of Administrative Law Judges issued a recommended decision

   in a total of 117 registrant actions before the DEA issued its final decision, including 76 actions

   involving orders to show cause and 41 actions involving immediate suspension orders. These

   actions include the following:

              a. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate

  Suspension Order against the AmerisourceBergen Orlando, Florida distribution center (“Orlando

  Facility”) alleging failure to maintain effective controls against diversion of controlled substances.

  On June 22, 2007, AmerisourceBergen entered into a settlement that resulted in the suspension of

  its DEA registration;

              b. On November 28, 2007, the DEA issued an Order to Show Cause and Immediate

  Suspension Order against the Cardinal Health Auburn, Washington Distribution Center (“Auburn

  Facility”) for failure to maintain effective controls against diversion of hydrocodone;

              c. On December 5, 2007, the DEA issued an Order to Show Cause and Immediate

  Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center (“Lakeland

  Facility”) for failure to maintain effective controls against diversion of hydrocodone;

              d. On December 7, 2007, the DEA issued an Order to Show Cause and Immediate

  Suspension Order against the Cardinal Health Swedesboro, New Jersey Distribution Center

  (“Swedesboro Facility”) for failure to maintain effective controls against diversion of hydrocodone;




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              e. On January 30, 2008, the DEA issued an Order to Show Cause and Immediate

  Suspension Order against the Cardinal Health Stafford, Texas Distribution Center (“Stafford

  Facility”) for failure to maintain effective controls against diversion of hydrocodone;

              f. On May 2, 2008, McKesson Corporation entered into an Administrative

  Memorandum of Agreement (“2008 MOA”) with the DEA which provided that McKesson would

  “maintain a compliance program designed to detect and prevent the diversion of controlled

  substances, inform DEA of suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the

  procedures established by its Controlled Substance Monitoring Program”;

              g. On September 30, 2008, Cardinal Health entered into a Settlement and Release

  Agreement and Administrative Memorandum of Agreement with the DEA related to its Auburn

  Facility, Lakeland Facility, Swedesboro Facility and Stafford Facility. The document also

  referenced allegations by the DEA that Cardinal failed to maintain effective controls against the

  diversion of controlled substances at its distribution facilities located in McDonough, Georgia

  (“McDonough Facility”), Valencia, California (“Valencia Facility”) and Denver, Colorado

  (“Denver Facility”);

              h. On February 2, 2012, the DEA issued an Order to Show Cause and Immediate

  Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center (“Lakeland

  Facility”) for failure to maintain effective controls against diversion of oxycodone;

              i. On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the

  DEA to resolve the civil penalty portion of the administrative action taken against its Lakeland,

  Florida Distribution Center; and

              j. On January 5, 2017, McKesson Corporation entered into an Administrative

  Memorandum Agreement with the DEA wherein it agreed to pay a $150 million civil penalty for




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  violation of the 2008 MOA as well as failure to identify and report suspicious orders at its facilities

  in Aurora CO, Aurora IL, Delran NJ, LaCrosse WI, Lakeland FL, Landover MD, La Vista NE,

  Livonia MI, Methuen MA, Santa Fe Springs CA, Washington Courthouse OH and West

  Sacramento CA.

          228. Rather than abide by their non-delegable duties under public safety laws, the
   Distributor Defendants, individually and collectively through trade groups in the industry,

   pressured the U.S. Department of Justice to “halt” prosecutions and lobbied Congress to strip the

   DEA of its ability to immediately suspend distributor registrations. The result was a “sharp drop

   in enforcement actions” and the passage of the “Ensuring Patient Access and Effective Drug

   Enforcement Act” which, ironically, raised the burden for the DEA to revoke a distributor’s license

   from “imminent harm” to “immediate harm” and provided the industry the right to “cure” any

   violations of law before a suspension order can be issued.

          229.    In addition to taking actions to limit regulatory prosecutions and suspensions, the

   Distributor Defendants undertook to fraudulently convince the public that they were complying

   with their legal obligations, including those imposed by licensing regulations. Through such

   statements, the Distributor Defendants attempted to assure the public they were working to curb

   the opioid epidemic.

          230.    For example, a Cardinal Health executive claimed that it uses “advanced analytics”

   to monitor its supply chain, and represented that it was being “as effective and efficient as possible

   in constantly monitoring, identifying, and eliminating any outside criminal activity.” Given the

   sales volumes and the company’s history of violations, this executive was either not telling the

   truth, or, if Cardinal Health had such a system, it ignored the results.




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          231.    Similarly, Defendant McKesson publicly stated that it has a “best-in-class

   controlled substance monitoring program to help identify suspicious orders,” and claimed it is

   “deeply passionate about curbing the opioid epidemic in our country.” Again, given McKesson’s

   historical conduct, this statement is either false, or the company ignored outputs of the monitoring

   program.

          232.    By misleading the public about the effectiveness of their controlled substance

   monitoring programs, the Distributor Defendants successfully concealed the facts sufficient to

   arouse suspicion of the claims that the Plaintiff now asserts.

          233.    The Plaintiff did not know of the existence or scope of Defendants’ industry-wide

   fraud and could not have acquired such knowledge earlier through the exercise of reasonable

   diligence.

          234.    Meanwhile, the opioid epidemic rages unabated in the Nation, the State, and in the

   Seminole Community.

          235.    The epidemic still rages because the fines and suspensions imposed by the DEA do

   not change the conduct of the industry. The distributors, including the Distributor Defendants, pay

   fines as a cost of doing business in an industry that generates billions of dollars in annual revenue.

   They hold multiple DEA registration numbers and when one facility is suspended, they simply

   ship from another facility.

          236.    The wrongful actions and omissions of the Distributor Defendants which have

   caused the diversion of opioids and which have been a substantial contributing factor to and/or

   proximate cause of the opioid crisis, and many of the actions are alleged in greater detail in

   Plaintiff’s racketeering allegations below.




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          237.    The Distributor Defendants have abandoned their duties imposed under federal and

   state law, taken advantage of a lack of DEA law enforcement, and abused the privilege of

   distributing controlled substances in the State and the Seminole Community.

          L.      The Manufacturer Defendants’ Unlawful Failure to Prevent Diversion and
                  Monitor, Report, And Prevent Suspicious Orders.

          238.    The same legal duties to prevent diversion, and to monitor, report, and prevent

   suspicious orders of prescription opioids that were incumbent upon the Distributor Defendants

   were also legally required of the Manufacturer Defendants under federal law.

          239.    Under Florida and federal law, the Manufacturing Defendants were required to

   comply with the same licensing requirements as the Distributor Defendants and the same rules

   regarding prevention of diversion and reporting suspicious orders, as set out above. See Fla. Stat.

   §§ 499.003(24), 499.003(49).

          240.    Like the Distributor Defendants, the Manufacturer Defendants were required to

   register with the DEA to manufacture schedule II controlled substances, like prescription opioids.

   See 21 U.S.C. § 823(a). A requirement of such registration is the:

               a. maintenance of effective controls against diversion of particular controlled

   substances and any controlled substance in schedule I or II compounded therefrom into other than

   legitimate medical, scientific, research, or industrial channels, by limiting the importation and bulk

   manufacture of such controlled substances to a number of establishments which can produce an

   adequate and uninterrupted supply of these substances under adequately competitive conditions

   for legitimate medical, scientific, research, and industrial purposes. 21 U.S.C. § 823(a)(1)

   (emphasis added).

          241.    Additionally, as “registrants” under Section 823, the Manufacturer Defendants

   were also required to monitor, report, and prevent suspicious orders of controlled substances:



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              a. The registrant shall design and operate a system to disclose to the registrant

   suspicious orders of controlled substances. The registrant shall inform the Field Division Office of

   the Administration in his area of suspicious orders when discovered by the registrant. Suspicious

   orders include orders of unusual size, orders deviating substantially from a normal pattern, and

   orders of unusual frequency. 21 C.F.R. § 1301.74. See also 21 C.F.R. § 1301.02 (“Any term used

   in this part shall have the definition set forth in section 102 of the Act (21 U.S.C. 802) or part 1300

   of this chapter.”); 21 C.F.R. § 1300.01 (“Registrant means any person who is registered pursuant

   to either section 303 or section 1008 of the Act (21 U.S.C. 823 or 958)”).


          242.    Like the Distributor Defendants, the Manufacturer Defendants breached their duties

   under federal and state law.

          243.    The Manufacturer Defendants had access to and possession of the information

   necessary to monitor, report, and prevent suspicious orders and to prevent diversion. The

   Manufacturer Defendants engaged in the practice of paying “chargebacks” to opioid distributors.

   A chargeback is a payment made by a manufacturer to a distributor after the distributor sells the

   manufacturer’s product at a price below a specified rate. After a distributor sells a manufacturer’s

   product to a pharmacy, for example, the distributor requests a chargeback from the manufacturer

   and, in exchange for the payment, the distributor identifies to the manufacturer the product, volume

   and the pharmacy to which it sold the product. Thus, the Manufacturer Defendants knew—just as

   the Distributor Defendants knew—the volume, frequency, and pattern of opioid orders being

   placed and filled. The Manufacturer Defendants built receipt of this information into the payment

   structure for the opioids provided to the opioid distributors.

          244.    Federal statutes and regulations—and Florida law incorporating these

   requirements—are clear: just like opioid distributors, opioid manufacturers are required to “design



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   and operate a system to disclose . . . suspicious orders of controlled substances” and to maintain

   “effective controls against diversion.” 21 C.F.R. § 1301.74; 21 U.S.C.A. § 823(a)(1).

          245.    The Department of Justice has recently confirmed the suspicious order obligations

   clearly imposed by federal law upon opioid manufacturers, fining Mallinckrodt $35 million for

   failure to report suspicious orders of controlled substances, including opioids, and for violating

   recordkeeping requirements.

          246.    In the press release accompanying the settlement, the Department of Justice stated:

          Mallinckrodt did not meet its obligations to detect and notify DEA of suspicious
          orders of controlled substances such as oxycodone, the abuse of which is part of
          the current opioid epidemic. These suspicious order monitoring requirements exist
          to prevent excessive sales of controlled substances, like oxycodone . . . .
          Mallinckrodt’s actions and omissions formed a link in the chain of supply that
          resulted in millions of oxycodone pills being sold on the street. . . . “Manufacturers
          and distributors have a crucial responsibility to ensure that controlled substances
          do not get into the wrong hands. . . .

          247.    Among the allegations resolved by the settlement, the government alleged:

          “Mallinckrodt failed to design and implement an effective system to detect and
          report ‘suspicious orders’ for controlled substances—orders that are unusual in
          their frequency, size, or other patterns . . . [and] Mallinckrodt supplied distributors,
          and the distributors then supplied various U.S. pharmacies and pain clinics, an
          increasingly excessive quantity of oxycodone pills without notifying DEA of these
          suspicious orders.”

          248.    The Memorandum of Agreement entered into by Mallinckrodt (“2017 Mallinckrodt

   MOA”) avers “[a]s a registrant under the CSA, Mallinckrodt had a responsibility to maintain

   effective controls against diversion, including a requirement that it review and monitor these sales

   and report suspicious orders to DEA.”

          249.    The 2017 Mallinckrodt MOA further details the DEA’s allegations regarding

   Mallinckrodt’s failures to fulfill its legal duties as an opioid manufacturer:

          With respect to its distribution of oxycodone and hydrocodone products,
          Mallinckrodt’s alleged failure to distribute these controlled substances in a manner



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          authorized by its registration and Mallinckrodt’s alleged failure to operate an
          effective suspicious order monitoring system and to report suspicious orders to the
          DEA when discovered as required by and in violation of 21 C.F.R. § 1301.74(b).
          The above includes, but is not limited to Mallinckrodt’s alleged failure to:

          a.        conduct adequate due diligence of its customers;

          b.        detect and report to the DEA orders of unusual size and frequency;

          c.        detect and report to the DEA orders deviating substantially from normal patterns
                    including, but not limited to, those identified in letters from the DEA Deputy
                    Assistant Administrator, Office of Diversion Control, to registrants dated
                    September 27, 2006 and December 27, 2007:

               1.      orders that resulted in a disproportionate amount of a substance which is most
                       often abused going to a particular geographic region where there was known
                       diversion,

               2.      orders that purchased a disproportionate amount of a substance which is most
                       often abused compared to other products, and

               3.      orders from downstream customers to distributors who were purchasing from
                       multiple different distributors, of which Mallinckrodt was aware;

          d.        use “chargeback” information from its distributors to evaluate suspicious orders.
                    Chargebacks include downstream purchasing information tied to certain discounts,
                    providing Mallinckrodt with data on buying patterns for Mallinckrodt products; and

          e.        take sufficient action to prevent recurrence of diversion by downstream customers
                    after receiving concrete information of diversion of Mallinckrodt product by those
                    downstream customers.

          250.      Mallinckrodt agreed that its “system to monitor and detect suspicious orders did

   not meet the standards outlined in letters from the DEA Deputy Administrator, Office of

          251.      Diversion Control, to registrants dated September 27, 2006 and December 27,

   2007.” Mallinckrodt further agreed that it “recognizes the importance of the prevention of

   diversion of the controlled substances they manufacture” and would “design and operate a system

   that meets the requirements of 21 CFR 1301.74(b) . . . [such that it would] utilize all available

   transaction information to identify suspicious orders of any Mallinckrodt product. Further,




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   Mallinckrodt agrees to notify DEA of any diversion and/or suspicious circumstances involving

   any Mallinckrodt controlled substances that Mallinckrodt discovers.”

          252.      Mallinckrodt acknowledged that “[a]s part of their business model Mallinckrodt

   collects transaction information, referred to as chargeback data, from their direct customers

   (distributors). The transaction information contains data relating to the direct customer sales of

   controlled substances to “downstream” registrants.” Mallinckrodt agreed that, from this data, it

   would “report to the DEA when Mallinckrodt concludes that the chargeback data or other

   information indicates that a downstream registrant poses a risk of diversion.”

          253.      The same duties imposed by federal law on Mallinckrodt were imposed upon all

   Distributor Defendants.

          254.      The same business practices utilized by Mallinckrodt regarding “chargebacks” and

   receipt and review of data from opioid distributors regarding orders of opioids were utilized

   industry-wide among opioid manufacturers and distributors, including, upon information and

   belief, the other Distributor Defendants.

          255.      Through, among other things, the charge back data, the Manufacturer Defendants

   could monitor suspicious orders of opioids.

          256.      The Manufacturer Defendants failed to monitor, report, and halt suspicious orders

   of opioids as required by federal law.

          257.      The Manufacturer Defendants’ failures to monitor, report, and halt suspicious

   orders of opioids were intentional and unlawful.

          258.      The Manufacturer Defendants have misrepresented their compliance with federal

   and state law.




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          259.    The Manufacturer Defendants enabled the supply of prescription opioids to

   obviously suspicious physicians and pharmacies, enabled the illegal diversion of opioids, aided

   criminal activity and disseminated massive quantities of prescription opioids into the black market.

          260.    The wrongful actions and omissions of the Manufacturer Defendants which have

   caused the diversion of opioids and which have been a substantial contributing factor to and/or

   proximate cause of the opioid crisis are alleged in greater detail in Plaintiff’s racketeering

   allegations below.

          261.    The Manufacturer Defendants’ actions and omissions in failing to effectively

   prevent diversion and failing to monitor, report, and prevent suspicious orders have enabled the

   unlawful diversion of opioids into the Seminole Community.

          M.      Defendants’ Unlawful Conduct and Breaches of Legal Duties Caused the Harm
                  Alleged Herein and Substantial Damages.

          262.    As the Manufacturer Defendants’ efforts to expand the market for opioids increased

   so have the rates of prescriptions and sale of their products — and the rates of opioid-related

   substance abuse, hospitalization, and death among the people of the State and the Seminole

   Community. The Distributor Defendants have continued to unlawfully ship these massive

   quantities of opioids into the Seminole Community, fueling the epidemic.

          263.    There is a “parallel relationship between the availability of prescription opioid

   analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

   associated adverse outcomes.”

          264.    Opioid analgesics are widely diverted and improperly used, and the widespread use

   of the drugs has resulted in a national epidemic of opioid overdose deaths and addictions.

          265.    The epidemic is “directly related to the increasingly widespread misuse of powerful

   opioid pain medications.”



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          266.    The increased abuse of prescription painkillers along with growing sales has

   contributed to a large number of overdoses and deaths.

          267.    As shown above, the opioid epidemic has escalated in the Seminole Community

   with devastating effects. Substantial opiate-related substance abuse, hospitalization and death that

   mirrors Defendants’ increased distribution of opiates.

          268.    Because of the well-established relationship between the use of prescription opiates

   and the use of non-prescription opioids, like heroin, the massive distribution of opioids to the

   Seminole Community and areas from which such opioids are being diverted into the Seminole

   Community, has caused the Defendant-caused opioid epidemic to include heroin addiction, abuse,

   and death.

          269.    Prescription opioid abuse, addiction, morbidity, and mortality are hazards to public

   health and safety in the State and in the Seminole Community.

          270.    Heroin abuse, addiction, morbidity, and mortality are hazards to public health and

   safety in the State and in the Seminole Community.

          271.    Defendants repeatedly and purposefully breached their duties under tribal, state and

   federal law, and such breaches are direct and proximate causes of, and/or substantial factors

   leading to, the widespread diversion of prescription opioids for nonmedical purposes into the

   Seminole Community.

          272.    The unlawful diversion of prescription opioids is a direct and proximate cause of,

   and/or substantial factor leading to, the opioid epidemic, prescription opioid abuse, addiction,

   morbidity and mortality in the State and the Seminole Community. This diversion and the epidemic

   are direct causes of foreseeable harms incurred by the Plaintiff and the Seminole Community.




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          273.    Defendants intentional and/or unlawful conduct resulted in direct and foreseeable,

   past and continuing, economic damages for which Plaintiff seeks relief, as alleged herein. Plaintiff

   also seeks the means to abate the epidemic created by Defendants’ wrongful and/or unlawful

   conduct.

          274.    Plaintiff seeks economic damages from the Defendants as reimbursement for the

   costs associated with past efforts to eliminate the hazards to public health and safety.

          275.    Plaintiff seeks economic damages from the Defendants to pay for the cost to

   permanently eliminate the hazards to public health and safety and abate the temporary public

   nuisance.

          276.    To eliminate the hazard to public health and safety, and abate the public nuisance,

   a “multifaceted, collaborative public health and law enforcement approach is urgently needed.”

          277.    A comprehensive response to this crisis must focus on preventing new cases of

   opioid addiction, identifying early opioid-addicted individuals, and ensuring access to effective

   opioid addiction treatment while safely meeting the needs of patients experiencing pain.

          278.    These community-based problems require community-based solutions that have

   been limited by “budgetary constraints at the state and Federal levels.”

          279.    Having profited enormously through the aggressive sale, misleading promotion,

   and irresponsible distribution of opiates, Defendants should be required to take responsibility for

   the financial burdens their conduct has inflicted upon the Seminole Tribe and the Seminole

   Community.

   Statutes Of Limitations Are Tolled And Defendants Are Estopped From Asserted Statutes
                                     Of Limitations As Defenses.

          A.      Continuing Wrong Doctrine.




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          280.    Plaintiff contends it continues to suffer harm from the continual unlawful actions

   by the Defendants.

          281.    The continued tortious and unlawful conduct by the Defendants are continuing

   violations of federal, state and tribal law causing a distinct injury instead of continual ill effects

   from an original violation. The effects of Defendants’ acts are cumulative. The damages have not

   occurred all at once but have continued to occur after each violation and have increased as time

   progresses. The tort is not completed nor have all the damages been incurred until the wrongdoing

   ceases. The wrongdoing and unlawful activity by Defendants has not ceased. The public nuisance

   remains unabated.

          B.      Equitable Estoppel.

          282.    Defendants are equitably estopped from relying upon a statute of limitations

   defense, to the extent any such defense even applies to Plaintiff’s claims, because they undertook

   efforts to purposefully conceal their unlawful conduct and fraudulently assure the public, including

   the State, the Plaintiff, and the Seminole Community, that they were undertaking efforts to comply

   with their obligations under the state and federal controlled substances laws, all with the goal of

   protecting their registered manufacturer or distributor status in the State and to continue generating

   profits. Notwithstanding the allegations set forth above, the Defendants affirmatively assured the

   public, including the State, the Seminole Tribe, and the Seminole Community, that they are

   working to curb the opioid epidemic.

          283.    For example, a Cardinal Health executive claimed that it uses “advanced analytics”

   to monitor its supply chain, and assured the public it was being “as effective and efficient as

   possible in constantly monitoring, identifying, and eliminating any outside criminal activity.”




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          284.    Similarly, McKesson publicly stated that it has a “best-in-class controlled substance

   monitoring program to help identify suspicious orders,” and claimed it is “deeply passionate about

   curbing the opioid epidemic in our country.”

          285.    Moreover, in furtherance of their effort to affirmatively conceal their conduct and

   avoid detection, the Distributor Defendants, through their trade associations, HDMA and NACDS,

   filed an amicus brief in Masters Pharmaceuticals, which made the following statements:

              a. “HDMA and NACDS members not only have statutory and regulatory

   responsibilities to guard against diversion of controlled prescription drugs, but undertake such

   efforts as responsible members of society.”

              b. “DEA regulations that have been in place for more than 40 years require distributors

   to report suspicious orders of controlled substances to DEA based on information readily available

   to them (e.g., a pharmacy’s placement of unusually frequent or large orders).”

              c. “Distributors take seriously their duty to report suspicious orders, utilizing both

   computer algorithms and human review to detect suspicious orders based on the generalized

   information that is available to them in the ordering process.”

              d. “A particular order or series of orders can raise red flags because of its unusual size,

   frequency, or departure from typical patterns with a given pharmacy.”

              e. “Distributors also monitor for and report abnormal behavior by pharmacies placing

   orders, such as refusing to provide business contact information or insisting on paying in cash.”

          286.    Through the above statements made on their behalf by their trade associations, and

   other similar statements assuring their continued compliance with their legal obligations, the

   Distributor Defendants not only acknowledged that they understood their obligations under the

   law, but they further affirmed that their conduct was in compliance with those obligations.




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          287.      The Distributor Defendants have also concealed and prevented discovery of

   information, including data from the ARCOS database, which will confirm their identities and the

   extent of their wrongful and illegal activities.

          288.      The Manufacturer Defendants distorted the meaning or import of studies they cited

   and offered them as evidence for propositions the studies did not support. The Manufacturer

   Defendants invented “pseudoaddiction” and promoted it to an unsuspecting medical community.

   Manufacturer Defendants provided the medical community with false and misleading information

   about ineffectual strategies to avoid or control opioid addiction. Manufacturer Defendants

   recommended to the medical community that dosages be increased, without disclosing the risks.

   Manufacturer Defendants spent millions of dollars over a period of years on a misinformation

   campaign aimed at highlighting opioids’ alleged benefits, disguising the risks, and promoting

   sales. The medical community, consumers, the State, and the Seminole Community were duped

   by the Manufacturer Defendants’ campaign to misrepresent and conceal the truth about the opioid

   drugs that they were aggressively pushing in the State and in the Seminole Community

          289.      Defendants intended that their actions and omissions would be relied upon,

   including by the Seminole Tribe and the Seminole Community. The Tribe and the Seminole

   Community did not know and did not have the means to know the truth, due to Defendants’ actions

   and omissions.

          290.      The Seminole Tribe and the Seminole Community reasonably relied on

   Defendants’ affirmative statements regarding their purported compliance with their obligations

   under the law and consent orders.




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          C.      Fraudulent Concealment.

          291.    The Plaintiff’s claims are further subject to equitable tolling, stemming from

   Defendants’ knowingly and fraudulently concealing the facts alleged herein. As alleged herein,

   Defendants knew of the wrongful acts set forth above, and had material information pertinent to

   their discovery, and concealed them from the Tribe and the Seminole Community. The Plaintiff

   did not know, and/or could not have known through the exercise of reasonable diligence, of its

   cause of action, as a result of Defendants’ conduct.

          292.    The purposes of the statutes of limitations period are satisfied because Defendants

   cannot claim prejudice due to a late filing where the Plaintiff filed suit promptly upon discovering

   the facts essential to its claims, described herein, which Defendants knowingly concealed.

          293.    In light of their statements to the media, in legal filings, and settlements, it is clear

   that Defendants had actual or constructive knowledge that their conduct was deceptive, in that they

   consciously concealed the schemes set forth herein.

          294.    Defendants continually and secretly engaged in their scheme to avoid compliance

   with their legal obligations. Only Defendants and their agents knew or could have known about

   Defendants’ unlawful actions because Defendants made deliberate efforts to conceal their conduct.

   As a result of the above, the Plaintiff was unable to obtain vital information bearing on its claims

   absent any fault or lack of diligence on its part.

                                    PLAINTIFF’S ALLEGATIONS

                                                 COUNT I
                 Violation of the Florida Deceptive and Unfair Trade Practices Act
                                          (Against All Defendants)

          295.    Plaintiff Seminole Tribe of Indians hereby incorporates by reference ¶¶ 1–294 and

   ¶¶ 308–497 of this Complaint as if fully set forth herein, and further alleges as follows.



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          296.    This is an action against all Defendants for violation of the FDUTPA, Fla. Stat.

  §§501.201 et seq.

          297.    Defendants’ acts or practices alleged herein are unfair, deceptive, and/or

  unconscionable in violation of FDUTPA.

          298.    Defendants’     sale,   promotion,   marketing,    advertising,   distribution,   and

  manufacturing of opioid products in the State of Florida and the Seminole Tribe of Indians of

  Florida involves trade or commerce within the meaning of FDUTPA.

          299.    Defendants sold, promoted, marketed, distributed, and advertised opioid products

  to the State of Florida, Indian Health Services, and the Seminole Tribe of Indians of Florida.

          300.    Defendants’ falsehoods, misrepresentations, and omissions of material facts, as

  detailed above, constitute deceptive, unfair, and unconscionable acts or practices that are prohibited

  by the FDUTPA. These acts or practices offend established public policy and are immoral,

  unethical, oppressive, unscrupulous, or substantially injurious to Seminole governmental entities,

  businesses, and consumers.

          301.    Defendants’ actions in distributing opioids, as detailed above, constitute unfair,

  unconscionable, and/or deceptive acts or practices that are prohibited by FDUTPA. These acts or

  practices offend established public policy and are immoral, unethical, oppressive, unscrupulous, or

  substantially injurious to Seminole governmental entities, businesses, and consumers.

          302.    Defendants’ unfair, deceptive, and unconscionable acts or practices, or the effects

  thereof, are continuing, will continue, and are likely to recur unless permanently restrained and

  enjoined.




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           303.    Further, a FDUTPA violation also occurs when a Defendant violates “any law,

   statute, rule, regulation, or ordinance which proscribes unfair methods of competition, or unfair,

   deceptive, or unconscionable acts or practices.”

           304.    The Florida Drug and Cosmetic Act (the “FDCA”), Chapter 499, Florida Statutes,

   regulates the trade practices of wholesale drug distributors. Chapter 465 regulates the trade practices

   of dispensing pharmacies. The FDCA requires each Defendant registered as a distributor to “take

   reasonable measures to identify its customers, understand the normal and expected transactions

   conducted by those customers, and identify those transactions that are suspicious in nature” and to

   “establish internal policies and procedures for identifying suspicious orders and preventing

   suspicious transactions.” § 499.0121 (15)(b), Fla. Stat.. Chapter 465 imposes similar requirements

   on dispensing pharmacies. Defendants violated these statutory provisions over a period of at least

   the past decade while a large percentage of Seminole Tribal members became addicted to opioids.

   These violations are unfair and unconscionable acts or practices, and offend established public

   policy and are immoral, unethical, oppressive, unscrupulous, or substantially injurious to Seminole

   governmental entities, businesses, and consumers.

           305.    The Distributor Defendants and national retail chain pharmacy Defendants

   continued to fill suspicious orders of opioids by their customers in Florida and the Seminole Tribe

   of Indians of Florida. This also constitutes a violation of Chapters 499 and 465, Florida Statutes,

   and is an unconscionable and/or unfair act or practice. This conduct offends established public

   policy and is immoral, unethical, oppressive, unscrupulous, or substantially injurious to Seminole

   governmental entities, businesses, and consumers.

           306.    Defendants’ acts caused damage to Seminole when Seminole and its members

   purchased deceptively marketed opioids and incurred the many other costs alleged herein.




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           307.    Consequently, the Seminole Tribe of Indians of Florida seeks all available relief

   under FDUTPA including damages, disgorgement, restitution, civil penalties, equitable relief,

   injunctive relief, and attorneys’ fees and costs.

                                                 COUNT II
                                            Public Nuisance
                                         (Against all Defendants)

           308.    Plaintiff incorporates by reference ¶¶ 1–307 and ¶¶ 353–497 of this Complaint as

   if fully set forth here and further alleges as follows.

           309.    Defendants’ unlawful actions have created a public nuisance and Plaintiff brings an

   action under common law for abatement of that nuisance.

           310.    Plaintiff alleges that Defendants’ wrongful and illegal actions have created a public

   nuisance. Each Defendant is liable for public nuisance because its conduct at issue has caused an

   unreasonable and substantial interference with a right common to the general public, which is the

   proximate cause of, and/or substantial factor leading to, Plaintiff’s injury. See Restatement Second,

   Torts § 821B.

           311.    Plaintiff, its members and citizens, and the residents of the Seminole Community

   have a right to be free from conduct that creates an unreasonable jeopardy to the public health,

   welfare and safety and injurious to health and to be free from conduct that creates a disturbance

   and reasonable apprehension of danger to person and property.

           312.    Defendants intentionally, unlawfully, and recklessly manufacture, market,

   distribute, and sell prescription opioids that Defendants know, or reasonably should know, will be

   diverted, causing widespread distribution of prescription opioids in and/or to the Seminole

   Community, resulting in addiction and abuse, an elevated level of crime, death and injuries to the




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   residents of the Seminole Community, a higher level of fear, discomfort and inconvenience to the

   residents of the Seminole Community, and direct costs to the Seminole Community.

          313.      Defendants have unlawfully and/or intentionally caused and permitted dangerous

   drugs under their control to be diverted such as to injure the Seminole Community and its members

   and residents.

          314.      Defendants have unlawfully and/or intentionally distributed opioids or caused

   opioids to be distributed without maintaining effective controls against diversion. Such conduct

   was illegal. Defendants’ failures to maintain effective controls against diversion include

   Defendants’ failure to effectively monitor for suspicious orders, report suspicious orders, and/or

   stop shipment of suspicious orders.

          315.      Defendants have caused a significant and unreasonable interference with the public

   health, safety, welfare, peace, comfort and convenience, and ability to be free from disturbance

   and reasonable apprehension of danger to person or property.

          316.      Defendants’ conduct in illegally distributing and selling prescription opioids, or

   causing such opioids to be distributed and sold, where Defendants know, or reasonably should

   know, such opioids will be diverted and possessed and/or used illegally the Seminole Community

   is of a continuing nature.

          317.      Defendants’ actions have been of a continuing nature and have produced a

   significant effect upon the public’s rights, including the public’s right to health and safety.

          318.      A violation of any rule or law controlling the distribution of a drug of abuse in the

   Seminole Community and the state is a public nuisance.

          319.      Defendants’ distribution of opioids while failing to maintain effective controls

   against diversion was proscribed by statute and regulation.




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          320.    Defendants’ ongoing conduct produces an ongoing nuisance, as the prescription

   opioids that they allow and/or cause to be illegally distributed and possessed in the Seminole

   Community will be diverted, leading to abuse, addiction, crime, and public health costs.

          321.    Because of the continued use and addiction caused by these illegally distributed

   opioids, the public will continue to fear for its health, safety and welfare, and will be subjected to

   conduct that creates a disturbance and reasonable apprehension of danger to person and property.

          322.    Defendants know, or reasonably should know, that their conduct will have an

   ongoing detrimental effect upon the public health, safety and welfare, and the public’s ability to

   be free from disturbance and reasonable apprehension of danger to person and property.

          323.    Defendants know, or reasonably should know, that their conduct causes an

   unreasonable invasion of the public right to health, safety and welfare and the public’s ability to

   be free from disturbance and reasonable apprehension of danger to person and property.

          324.    Defendants are aware, and at a bare minimum certainly should be aware, of the

   unreasonable interference that their conduct has caused in the Seminole Community. Defendants

   are in the business of manufacturing, marketing, selling, and distributing prescription drugs,

   including opioids, which are specifically known to Defendants to be dangerous under federal law.

   See, e.g., 21 U.S.C. § 812 (b)(2).

          325.    Defendants’ conduct in marketing, distributing, and selling prescription opioids

   which the defendants know, or reasonably should know, will likely be diverted for non-legitimate,

   non-medical use, creates a strong likelihood that these illegal distributions of opioids will cause

   death and injuries to residents in the Seminole Community and otherwise significantly and

   unreasonably interfere with public health, safety and welfare, and with the public’s right to be free

   from disturbance and reasonable apprehension of danger to person and property.




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          326.    It is, or should be, reasonably foreseeable to defendants that their conduct will cause

   deaths and injuries to residents in the Seminole Community, and will otherwise significantly and

   unreasonably interfere with public health, safety and welfare, and with the public’s right to be free

   from disturbance and reasonable apprehension of danger to person and property.

          327.    The prevalence and availability of diverted prescription opioids in the hands of

   irresponsible persons and persons with criminal purposes in the Seminole Community not only

   causes deaths and injuries, but also creates a palpable climate of fear among residents in the

   Seminole Community where opioid diversion, abuse, addiction are prevalent and where diverted

   opioids tend to be used frequently.

          328.    Defendants’ conduct makes it easier for persons to divert prescription opioids,

   constituting a dangerous threat to the public.

          329.    Defendants’ actions were, at the least, a substantial factor in opioids becoming

   widely available and widely used for non-medical purposes. Because of Defendants’ special

   positions within the closed system of opioid distribution, without Defendants’ actions, opioid use

   would not have become so widespread, and the enormous public health hazard of prescription

   opioid and heroin overuse, abuse, and addiction that now exists would have been averted.

          330.    The presence of diverted prescription opioids in the Seminole Community, and the

   consequence of prescription opioids having been diverted in the Seminole Community,

   proximately results in significant costs to the Plaintiff and to the Seminole Community in order to

   enforce the law, equip its police force and first responders, treat the victims of opioid abuse and

   addiction, and provide other services.




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          331.    Stemming the flow of illegally distributed prescription opioids, and abating the

   nuisance caused by the illegal flow of opioids, will help to alleviate this problem, save lives,

   prevent injuries and make the Seminole Community a safer place to live.

          332.    Defendants’ conduct is a direct and proximate cause of deaths and injuries to the

   members and residents of the Seminole Community, costs borne by the Seminole Community and

   the Plaintiff, and a significant and unreasonable interference with public health, safety and welfare,

   and with the public’s right to be free from disturbance and reasonable apprehension of danger to

   person and property.

          333.    Defendants’ conduct constitutes a public nuisance and, if unabated, will continue

   to threaten the health, safety and welfare of the residents of the Seminole Community, creating an

   atmosphere of fear and addiction that tears at the residents’ sense of well-being and security.

   Plaintiff has a clearly ascertainable right to abate conduct that perpetuates this nuisance.

          334.    Defendants’ actions created and expanded the abuse of opioids, which are

   dangerously addictive, and the ensuing associated plague of prescription opioid and heroin

   addiction. Defendants knew the dangers to public health and safety that diversion of opioids would

   create in the Seminole Community, however, Defendants intentionally and/or unlawfully failed to

   maintain effective controls against diversion through proper monitoring, reporting and refusal to

   fill suspicious orders of opioids. Defendants intentionally and/or unlawfully distributed opioids or

   caused opioids to be distributed without reporting or refusing to fill suspicious orders or taking

   other measures to maintain effective controls against diversion. Defendants intentionally and/or

   unlawfully continued to ship and failed to halt suspicious orders of opioids, or caused such orders

   to be shipped. Defendants intentionally and/or unlawfully marketed opioids in manners they knew

   to be false and misleading. Such actions were inherently dangerous.




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          335.       Defendants knew the prescription opioids have a high likelihood of being diverted.

   It was foreseeable to Defendants that where Defendants distributed prescription opioids or caused

   such opioids to be distributed without maintaining effective controls against diversion, including

   monitoring, reporting, and refusing shipment of suspicious orders, that the opioids would be

   diverted, and create an opioid abuse nuisance in the Seminole Community.

          336.       Defendants acted with actual malice because Defendants acted with a conscious

   disregard for the rights and safety of other persons, and said actions have a great probability of

   causing substantial harm, and did cause substantial harm.

          337.       Plaintiff has suffered special injuries distinguishable from those suffered by the

   general public.

          338.       The damages available to the Plaintiff include, among other things, recoupment of

   governmental costs, flowing from an ongoing and persistent public nuisance which the Plaintiff

   seeks to abate. Defendants’ conduct is ongoing and persistent, and the Plaintiff seeks all damages

   flowing from Defendants’ conduct. Plaintiff further seeks to abate the nuisance and harm created

   by Defendants’ conduct.

          339.       As a direct result of Defendants’ conduct, the Tribe and the Seminole Community

   have suffered actual injury and damages including, but not limited to, significant expenses for first

   responders, as well as, emergency, health, prosecution, social, and other services. The Plaintiff

   here seeks recovery for its own harm.

          340.       The Tribe and the Seminole Community have sustained specific and special injuries

   because its damages include, among other things, health services, law enforcement expenditures,

   and costs related to opioid addiction treatment and overdose prevention.




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          341.    The Plaintiff further seeks to abate the nuisance created by the Defendants’

   unreasonable, unlawful, intentional, ongoing, continuing, and persistent actions and omissions and

   interference with a right common to the public.

          342.    Plaintiff seeks all legal and equitable relief as allowed by law, including, among

   other things, abatement, compensatory damages, and punitive damages from the Defendants for

   the creation of a public nuisance, attorney fees and costs, and pre- and post-judgment interest.

          343.    Defendants’ intentional and unlawful actions and omissions and unreasonable

   interference with a right common to the public are of a continuing nature.

          344.    Defendants are aware, and at a bare minimum certainly should be aware, of the

   unreasonable interference that their conduct has caused in the Seminole Community. Defendants

   are in the business of manufacturing or distributing prescription drugs, including opioids, which

   are specifically known to Defendants to be dangerous because, among other things, these drugs

   are defined under federal, state, and tribal law as substances posing a high potential for abuse and

   severe addiction. Defendants created an absolute nuisance. Defendants’ actions created and

   expanded the abuse of opioids, drugs specifically codified as constituting severely harmful

   substances.

          345.    The public nuisance created by Defendants’ actions is substantial and

   unreasonable—it has caused and continues to cause significant harm to the community, and the

   harm inflicted outweighs any offsetting benefit. The staggering rates of opioid and heroin use

   resulting from the Defendants’ abdication of their gate-keeping and diversion prevention duties,

   and the Manufacturer Defendants’ fraudulent marketing activities, have caused harm to the entire

   community that includes, but is not limited to, the following:




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              a. The high rates of use leading to unnecessary opioid abuse, addiction, overdose,

   injuries, and deaths.

              b. Even children have fallen victim to the opioid epidemic. Easy access to prescription

   opioids made opioids a recreational drug of choice among teenagers. Infants have been born

   addicted to opioids due to prenatal exposure, causing severe withdrawal symptoms and lasting

   developmental impacts.

              c. Even those residents of the Seminole Community who have never taken opioids

   have suffered from the public nuisance arising from Defendants’ abdication of their gatekeeper

   duties and fraudulent promotions. Many residents have endured both the emotional and financial

   costs of caring for loved ones addicted to or injured by opioids, and the loss of companionship,

   wages, or other support from family members who have used, abused, become addicted to,

   overdosed on, or been killed by opioids.

              d. The opioid epidemic has increased health care costs.

              e. Employers have lost the value of productive and healthy employees.

              f. Defendants’ conduct created an abundance of drugs available for criminal use and

   fueled a new wave of addiction, abuse, and injury.

              g. Defendants’ dereliction of duties and/or fraudulent misinformation campaign

   pushing dangerous drugs resulted in a diverted supply of narcotics to sell, and the ensuing demand

   of addicts to buy them. More prescription opioids sold by Defendants led to more addiction, with

   many addicts turning from prescription opioids to heroin. People addicted to opioids frequently

   require increasing levels of opioids, and many turned to heroin as a foreseeable result.




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          346.    The diversion of opioids into the secondary, criminal market and the increased

   number of individuals who abuse or are addicted to opioids increased the demands on health care

   services and law enforcement.

          347.    The significant and unreasonable interference with the public rights caused by

   Defendants’ conduct taxed the human, medical, public health, law enforcement, and financial

   resources of the Seminole Community.

          348.    Defendants’ interference with the comfortable enjoyment of life in the Seminole

   Community is unreasonable because there is little social utility to opioid diversion and abuse, and

   any potential value is outweighed by the gravity of the harm inflicted by Defendants’ actions; and

          349.    Opioid abuse and addiction has triggered property crimes throughout the Seminole

   Community as addicts’ search for the means to finance their addiction.

          350.    The Tribe and the Seminole Community have sustained specific and special injuries

   because its damages include, among other things, health services, social services, and first

   responders’ expenditures, as described in this Complaint.

          351.    Plaintiff seeks economic losses (direct, incidental, and/or consequential pecuniary

   losses) resulting from Defendants illegal and wrongful conduct described above. Plaintiff does not

   seek damages for the wrongful death, physical personal injury, or emotional distress caused by

   Defendants’ actions.

          352.    Plaintiff seeks all legal and equitable relief as allowed by law, other than such

   damages disavowed herein, including, among other things, injunctive relief, restitution,

   disgorgement of profits, compensatory and punitive damages, and all damages allowed by law to

   be paid by the Defendants, attorney fees and costs, and pre- and post-judgment interest.




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                                                COUNT III
                        Racketeer Influenced and Corrupt Organizations Act
                                       18 U.S.C. 1961, Et Seq.
                                         (Against All Defendants)

           353.    Plaintiff incorporates by reference ¶¶ 1–352 and ¶¶ 449–497 of this Complaint as

   if fully set forth herein, and further alleges as follows.

           354.    Plaintiff brings this Count on behalf of itself against the following Defendants, as

   defined above: Purdue, Cephalon, Janssen, Endo, Mallinckrodt, Actavis, McKesson, Cardinal, and

   AmerisourceBergen (collectively, for purposes of this Count, the “RICO Defendants”).

           355.    The RICO Defendants conducted and continue to conduct their business through

   legitimate and illegitimate means in the form of an association-in-fact enterprise and/or a legal

   entity enterprise. At all relevant times, the RICO Defendants were “persons” under 18 U.S.C. §

   1961(3) because they are entities capable of holding, and do hold, “a legal or beneficial interest in

   property.”

           356.    Section 1962(c) of RICO makes it unlawful “for any person employed by or

   associated with any enterprise engaged in, or the activities of which affect, interstate or foreign

   commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise’s

   affairs through a pattern of racketeering activity or collection of unlawful debt.” 18 U.S.C. §

   1962(c); United State v. Turkette, 452 U.S. 576, 580 (1981).

           357.    The term “enterprise” is defined as including “any individual, partnership,

   corporation, association, or other legal entity, and any union or group of individuals associated in

   fact although not a legal entity.” 18 U.S.C. § 1961(4); Turkette, 452 U.S. at 580; Boyle v. U.S., 556

   U.S. 938, 944 (2009). The definition of “enterprise” in Section 1961(4) includes legitimate and

   illegitimate enterprises within its scope. Specifically, the section “describes two separate



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   categories of associations that come within the purview of an ‘enterprise’— the first encompassing

   organizations such as corporations, partnerships, and other ‘legal entities,’ and the second covering

   ‘any union or group of individuals associated in fact although not a legal entity.’” Turkette, 452

   U.S. at 577. The second category is not a more generalized description of the first. Id.

          358.    For over a decade, the RICO Defendants aggressively sought to bolster their

   revenue, increase profit, and grow their share of the prescription painkiller market by unlawfully

   and surreptitiously increasing the volume of opioids they sold. However, the RICO Defendants

   are not permitted to engage in a limitless expansion of their market through the unlawful sales of

   regulated painkillers. As “registrants,” the RICO Defendants operated and continue to operate

   within the “closed-system” created under the Controlled Substances Act, 21 U.S.C. § 821, et seq.

   (the “CSA”). The CSA restricts the RICO Defendants’ ability to manufacture or distribute

   Schedule II substances like opioids by requiring them to: (1) register to manufacture or distribute

   opioids; (2) maintain effective controls against diversion of the controlled substances that they

   manufacturer or distribute; (3) design and operate a system to identify suspicious orders of

   controlled substances, halt such unlawful sales, and report them to the DEA; and (4) make sales

   within a limited quota set by the DEA for the overall production of Schedule II substances like

   opioids.

          359.    The closed-system created by the CSA, including the establishment of quotas, was

   specifically intended to reduce or eliminate the diversion of Schedule II substances like opioids

   from “legitimate channels of trade” to the illicit market by controlling the quantities of the basic

   ingredients needed for the manufacture of [controlled substances].”

          360.    Finding it impossible to legally achieve their ever increasing sales ambitions,

   members of the Opioid Diversion Enterprise (as defined below) systematically and fraudulently




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   violated their statutory duty to maintain effective controls against diversion of their drugs, to

   design and operate a system to identify suspicious orders of their drugs, to halt unlawful sales of

   suspicious orders, and to notify the DEA of suspicious orders. As discussed in detail below,

   through the RICO Defendants’ scheme, members of the Opioid Diversion Enterprise repeatedly

   engaged in unlawful sales of painkillers which, in turn, artificially and illegally increased the

   annual production quotas for opioids allowed by the DEA. In doing so, the RICO Defendants

   allowed hundreds of millions of pills to enter the illicit market which allowed them to generate

   obscene profits.

          361.    Defendants’ illegal scheme was hatched by an association-in-fact enterprise

   between the Manufacturer Defendants and the Distributor Defendants, and executed in perfect

   harmony by each of them. In particular, each of the RICO Defendants were associated with, and

   conducted or participated in, the affairs of the RICO enterprise (defined below and referred to

   collectively as the “Opioid Diversion Enterprise”), whose purpose was to engage in the unlawful

   sales of opioids, deceiving the public and federal and state regulators into believing that the RICO

   Defendants were faithfully fulfilling their statutory obligations. The RICO Defendants’ scheme

   allowed them to make billions in unlawful sales of opioids and, in turn, increase and/or maintain

   high production quotas with the purpose of ensuring unlawfully increasing revenues, profits, and

   market share. As a direct result of the RICO Defendants’ fraudulent scheme, course of conduct,

   and pattern of racketeering activity, they were able to extract billions of dollars of revenue from

   the addicted American public, while entities like the Plaintiff experienced tens of millions of

   dollars of injury caused by the reasonably foreseeable consequences of the prescription opioid

   addiction epidemic. As explained in detail below, the RICO Defendants’ misconduct violated

   Section 1962(c) and Plaintiff is entitled to treble damages for its injuries under 18 U.S.C. § 1964(c).




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          362.    Alternatively, the RICO Defendants were members of a legal entity enterprise

   within the meaning of 18 U.S.C. § 1961(4), through which the RICO Defendants conducted their

   pattern of racketeering activity in this jurisdiction and throughout the United States. Specifically,

   the Healthcare Distribution Alliance (the “HDA”) is a distinct legal entity that satisfies the

   definition of a RICO enterprise. The HDA is a non-profit corporation formed under the laws of

   the District of Columbia and doing business in Virginia. As a non-profit corporation, HDA

   qualifies as an “enterprise” within the definition set out in 18 U.S.C. § 1961(4) because it is a

   corporation and a legal entity.

          363.    On information and belief, each of the RICO Defendants is a member, participant,

   and/or sponsor of the HDA and utilized the HDA to conduct the Opioid Diversion Enterprise and

   to engage in the pattern of racketeering activity that gives rise to the Count.

          364.    Each of the RICO Defendants is a legal entity separate and distinct from the HDA.

   And, the HDA serves the interests of distributors and manufacturers beyond the RICO Defendants.

   Therefore, the HDA exists separately from the Opioid Diversion Enterprise, and each of the RICO

   Defendants exists separately from the HDA. Therefore, the HDA may serve as a RICO enterprise.

          365.    The legal and association-in-fact enterprises alleged in the previous and subsequent

   paragraphs were each used by the RICO Defendants to conduct the Opioid Diversion Enterprise

   by engaging in a pattern of racketeering activity. Therefore, the legal and association in-fact

   enterprises alleged in the previous and subsequent paragraphs are pleaded in the alternative and

   are collectively referred to as the “Opioid Diversion Enterprise.”

          A.      The Opioid Diversion Enterprise

          366.    Recognizing that there is a need for greater scrutiny over controlled substances due

   to their potential for abuse and danger to public health and safety, the United States Congress




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   enacted the Controlled Substances Act in 1970. The CSA and its implementing regulations created

   a closed-system of distribution for all controlled substances and listed chemicals. Congress

   specifically designed the closed chain of distribution to prevent the diversion of legally produced

   controlled substances into the illicit market. Gonzalez v. Raich, 545 U.S. 1, 12–14 (2005); 21

   U.S.C. § 801 (2018); 21 U.S.C. §§ 821–824, 827, 880; H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N.

   at 4566, 4572 (Sept. 10, 1970). As reflected in comments from United States Senators during

   deliberation on the CSA, the “[CSA] is designed to crack down hard on the narcotics pusher and

   the illegal diverters of pep pills and goof balls.” See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N.

   at 4566; 116 Cong. Rec. 977–78 (Comments of Sen. Dodd, Jan. 23, 1970). Congress was

   concerned with the diversion of drugs out of legitimate channels of distribution when it enacted

   the CSA and acted to halt the “widespread diversion of [controlled substances] out of legitimate

   channels into the illegal market.” Moreover, the closed-system was specifically designed to ensure

   that there are multiple ways of identifying and preventing diversion through active participation

   by registrants within the drug delivery chain. All registrants—manufacturers and distributors

   alike—must adhere to the specific security, recordkeeping, monitoring, and reporting requirements

   that are designed to identify or prevent diversion. When registrants at any level fail to fulfill their

   obligations, the necessary checks and balances collapse. The result is the scourge of addiction that

   has occurred.

          367.     In 2006 and 2007, the DEA issued multiple letters to the Distributor Defendants

   reminding them of their obligation to maintain effective controls against diversion of particular

   controlled substances, design and operate a system to disclose suspicious orders, and to inform the

   DEA of any suspicious orders. The DEA also published suggested questions that a distributor

   should ask prior to shipping controlled substances, in order to “know their customers.”




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          368.    Central to the closed-system created by the CSA was the directive that the DEA

   determine quotas of each basic class of Schedule I and II controlled substances each year. The

   quota system was intended to reduce or eliminate diversion from “legitimate channels of trade”

   by controlling the “quantities of the basic ingredients needed for the manufacture of [controlled

   substances], and the requirement of order forms for all transfers of these drugs.” When evaluating

   production quotas, the DEA was instructed to consider the following information:

              a. Information provided by the Department of Health and Human Services;

              b. Total net disposal of the basic class by all manufacturers;

              c. Trends in the national rate of disposal of the basic class;

              d. An applicant’s production cycle and current inventory position;

              e. Total actual or estimated inventories of the class and of all substances manufactured

   from the class and trends in inventory accumulation; and

              f. Other factors such as: changes in the currently accepted medical use of substances

   manufactured for a basic class; the economic and physical availability of raw materials; yield and

   sustainability issues; potential disruptions to production; and unforeseen emergencies.

          369.    It is unlawful for a registrant to manufacture a controlled substance in Schedule II,

   like prescription opioids, that is (1) not expressly authorized by its registration and by a quota

   assigned to it by DEA, or (2) in excess of a quota assigned to it by the DEA.

          370.    At all relevant times, the RICO Defendants operated as an association-in-fact

   enterprise formed for the purpose of unlawfully increasing sales, revenues and profits by

   disregarding their statutory duty to identify, investigate, halt and report suspicious orders of

   opioids and diversion of their drugs into the illicit market, in order to unlawfully increase the

   quotas set by the DEA and allow them to collectively benefit from the unlawful formation of a




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   greater pool of prescription opioids from which to profit. The RICO Defendants conducted their

   pattern of racketeering activity in this jurisdiction and throughout the United States through this

   enterprise.

          371.    The opioid epidemic has its origins in the mid-1990s when, between 1997 and 2007,

   per capita purchase of methadone, hydrocodone, and oxycodone increased 13-fold, 4-fold, and 9-

   fold, respectively. By 2010, enough prescription opioids were sold in the United States to medicate

   every adult in the county with a dose of 5 milligrams of hydrocodone every 4 hours for 1 month.

   On information and belief, the Opioid Diversion Enterprise has been ongoing for at least the last

   decade.

          372.    The Opioid Diversion Enterprise was and is a shockingly successful endeavor. It

   Opioid Diversion Enterprise has been conducting business uninterrupted since its genesis. But, it

   was not until recently that United States and State regulators finally began to unravel the extent of

   the enterprise and the toll that it exacted on the American public.

          373.    At all relevant times, the Opioid Diversion Enterprise: (a) had an existence separate

   and distinct from each RICO Defendant; (b) was separate and distinct from the pattern of

   racketeering in which the RICO Defendants engaged; (c) was an ongoing and continuing

   organization consisting of legal entities, including each of the RICO Defendants; (d) characterized

   by interpersonal relationships among the RICO Defendants; (e) had sufficient longevity for the

   enterprise to pursue its purpose; and (f) functioned as a continuing unit. Turkette, 452 U.S. at 580;

   Boyle, 556 U.S. at 944 (2009). Each member of the Opioid Diversion Enterprise participated in

   the conduct of the enterprise, including patterns of racketeering activity, and shared in the

   astounding growth of profits supplied by fraudulently inflating opioid sales generated as a result

   of the Opioid Diversion Enterprise’s disregard for their duty to prevent diversion of their drugs




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   into the illicit market and then requesting the DEA increase production quotas, all so that the RICO

   Defendants would have a larger pool of prescription opioids from which to profit.

          374.    The Opioid Diversion Enterprise also engaged in efforts to lobby against the DEA’s

   authority to hold the RICO Defendants liable for disregarding their duty to prevent diversion.

   Members of the Pain Care Forum (described in greater detail below) and the Healthcare

   Distribution Alliance lobbied for the passage of legislation to weaken the DEA’s enforcement

   authority. The Ensuring Patient Access and Effective Drug Enforcement Act significantly reduced

   the DEA’s ability to issue orders to show cause and to suspend and/or revoke registrations. The

   HDA and other members of the Pain Care Forum contributed substantial amounts of money to

   political campaigns for federal candidates, state candidates, political action committees and

   political parties. Plaintiff, upon information and belief, asserts that the Pain Care Forum and its

   members poured at least $3.5 million into lobbying efforts in this jurisdiction while the HDA

   devoted over a million dollars a year to its lobbying efforts between 2011 and 2016.

          375.    The Opioid Diversion Enterprise functioned by selling prescription opioids. While

   there are some legitimate uses and/or needs for prescription opioids, the RICO Defendants, through

   their illegal enterprise, engaged in a pattern of racketeering activity, that involves a fraudulent

   scheme to increase revenue by violating state and federal laws requiring the maintenance of

   effective controls against diversion of prescription opioids, and the identification, investigation,

   and reporting of suspicious orders of prescription opioids destined for the illicit drug market. The

   goal of Defendants’ scheme was to increase profits from opioid sales. But, Defendants’ profits

   were limited by the production quotas set by the DEA, so the Defendants refused to identify,

   investigate and/or report suspicious orders of their prescription opioids being diverted into the

   illicit drug market. The result of this strategy was to increase and maintain artificially high




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   production quotas of opioids so that there was a larger pool of opioids for Defendants to

   manufacture and distribute for public consumption.

          376.      The Opioid Diversion Enterprise engaged in, and its activities affected, interstate

   and foreign commerce because the enterprise involved commercial activities across states lines,

   such as manufacture, sale, distribution, and shipment of prescription opioids throughout the

   Seminole Community and this jurisdiction, and the corresponding payment and/or receipt of

   money from the sale of the same.

          377.      Within the Opioid Diversion Enterprise, there were interpersonal relationships and

   common communication by which the RICO Defendants shared information on a regular basis.

   These interpersonal relationships also formed the organization of the Opioid Diversion Enterprise.

   The Opioid Diversion Enterprise used their interpersonal relationships and communication

   network for the purpose of conducting the enterprise through a pattern of racketeering activity.

          378.      Each of the RICO Defendants had a systematic link to each other through joint

   participation in lobbying groups, trade industry organizations, contractual relationships, and

   continuing coordination of activities. The RICO Defendants participated in the operation and

   management of the Opioid Diversion Enterprise by directing its affairs, as described herein. While

   the RICO Defendants participated in, and are members of, the enterprise, they each have a separate

   existence from the enterprise, including distinct legal statuses, different offices and roles, bank

   accounts, officers, directors, employees, individual personhood, reporting requirements, and

   financial statements.

          379.      The RICO Defendants exerted substantial control over the Opioid Diversion

   Enterprise by their membership in the Pain Care Forum, the HDA, and through their contractual

   relationships.




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          380.      The Pain Care Forum (“PCF”) has been described as a coalition of drug-makers,

   trade groups and dozens of non-profit organizations supported by industry funding. The PCF

   recently became a national news story when it was discovered that lobbyists for members of the

   PCF quietly shaped federal and state policies regarding the use of prescription opioids for more

   than a decade.

          381.      The Center for Public Integrity and The Associated Press obtained “internal

   documents shed[ding] new light on how drug-makers and their allies shaped the national response

   to the ongoing wave of prescription opioid abuse.” Specifically, PCF members spent over $740

   million lobbying in the nation’s capital and in all 50 statehouses on an array of issues, including

   opioid-related measures.

          382.      Not surprisingly, each of the RICO Defendants who stood to profit from lobbying

   in favor of prescription opioid use is a member of and/or participant in the PCF. In 2012,

   membership and participating organizations included the HDA (of which all RICO Defendants are

   members), Endo, Purdue, Johnson & Johnson (the parent company for Janssen Pharmaceuticals),

   Actavis (i.e., Allergan), and Teva (the parent company of Cephalon). Each of the Manufacturer

   Defendants worked together through the PCF to advance the interests of the enterprise. But, the

   Manufacturer Defendants were not alone. The Distributor Defendants actively participated, and

   continue to participate in the PCF, at a minimum, through their trade organization, the HDA.

   Plaintiff, upon information and belief, asserts that the Distributor Defendants participated directly

   in the PCF as well.

          383.      The 2012 Meeting Schedule for the Pain Care Forum is particularly revealing on

   the subject of the Defendants’ interpersonal relationships. The meeting schedule indicates that

   meetings were held in the D.C. office of Powers Pyles Sutter & Verville on a monthly basis, unless




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   otherwise noted. Local members were “encouraged to attend in person” at the monthly meetings.

   And, the meeting schedule indicates that the quarterly and year-end meetings included a “Guest

   Speaker.”

             384.   The 2012 Pain Care Forum Meeting Schedule demonstrates that each of the

   Defendants participated in meetings on a monthly basis, either directly or through their trade

   organization, in a coalition of drug-makers and their allies whose sole purpose was to shape the

   national response to the ongoing prescription opioid epidemic, including the concerted lobbying

   efforts that the PCF undertook on behalf of its members.

             385.   Second, the HAD— or Healthcare Distribution Alliance—led to the formation of

   interpersonal relationships and an organization between the RICO Defendants. Although the entire

   HDA membership directory is private, the HDA website confirms that each of the Distributor

   Defendants and the Manufacturer Defendants named in the Complaint, including Actavis (i.e.,

   Allergan), Endo, Purdue, Mallinckrodt and Cephalon were members of the HDA. And, the HDA

   and each of the Distributor Defendants, eagerly sought the active membership and participation of

   the Manufacturer Defendants by advocating that one of the benefits of membership included the

   ability to develop direct relationships between Manufacturers and Distributors at high executive

   levels.

             386.   In fact, the HDA touted the benefits of membership to the Manufacturer

   Defendants, advocating that membership included the ability to, among other things, “network one

   on one with manufacturer executives at HDA’s members-only Business and Leadership

   Conference,” “networking with HDA wholesale distributor members,” “opportunities to host and

   sponsor HDA Board of Directors events,” “participate on HDA committees, task forces and

   working groups with peers and trading partners,” and “make connections.” Clearly, the HDA and




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   the Distributor Defendants believed that membership in the HDA was an opportunity to create

   interpersonal and ongoing organizational relationships between the Manufacturers and

   Defendants.

          387.    The application for manufacturer membership in the HDA further indicates the

   level of connection that existed between the RICO Defendants. The manufacturer membership

   application must be signed by a “senior company executive,” and it requests that the manufacturer

   applicant identify a key contact and any additional contacts from within its company. The HDA

   application also requests that the manufacturer identify its current distribution information and its

   most recent year end net sales through any HDA distributors, including, Defendants

   AmerisourceBergen, Cardinal Health, and McKesson.

          388.    After becoming members, the Distributors and Manufacturers were eligible to

   participate on councils, committees, task forces and working groups, including:

              a. Industry Relations Council: “This council, composed of distributor and

   manufacturer members, provides leadership on pharmaceutical distribution and supply chain

   issues.”

              b. Business Technology Committee: “This committee provides guidance to HDA and

   its members through the development of collaborative e-commerce business solutions. The

   committee’s major areas of focus within pharmaceutical distribution include information systems,

   operational integration and the impact of e-commerce.” Participation in this committee includes

   distributors and manufacturer members.

              c. Health, Beauty and Wellness Committee: “This committee conducts research, as

   well as creates and exchanges industry knowledge to help shape the future of the distribution for




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   health, beauty and wellness/consumer products in the healthcare supply chain.” Participation in

   this committee includes distributors and manufacturer members.

              d. Logistics Operation Committee: “This committee initiates projects designed to help

   members enhance the productivity, efficiency and customer satisfaction within the healthcare

   supply chain. Its major areas of focus include process automation, information systems,

   operational integration, resource management and quality improvement.” Participation in this

   committee includes distributors and manufacturer members.

              e. Manufacturer Government Affairs Advisory Committee: “This committee provides

   a forum for briefing HDA’s manufacturer members on federal and state legislative and regulatory

   activity affecting the pharmaceutical distribution channel. Topics discussed include such issues as

   prescription drug traceability, distributor licensing, FDA and DEA regulation of distribution,

   importation and Medicaid/Medicare reimbursement.” Participation in this committee includes

   manufacturer members.

              f. Bar Code Task Force: Participation includes Distributor, Manufacturer and Service

   Provider Members.

              g. e-Commerce Task Force: Participation includes Distributor, Manufacturer and

   Service Provider Members.

              h. ASN Working Group: Participation includes Distributor, Manufacturer and Service

   Provider Members.

              i. Contracts and Chargebacks Working Group: “This working group explores how

   the contract administration process can be streamlined through process improvements or technical

   efficiencies. It also creates and exchanges industry knowledge of interest to contract and

   chargeback professionals.” Participation includes Distributor and Manufacturer Members.




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          389.     The councils, committees, task forces and working groups provided the

   Manufacturer and Distributor Defendants with the opportunity to work closely together in shaping

   their common goals and forming the enterprise’s organization.

          390.     The HDA also offers a multitude of conferences, including annual business and

   leadership conferences. The HDA and the Distributor Defendants advertise these conferences to

   the Manufacturer Defendants as an opportunity to “bring together high-level executives, thought

   leaders and influential managers . . . to hold strategic business discussions on the most pressing

   industry issues.” The conferences also gave the Manufacturer and Distributor Defendants

   “unmatched opportunities to network with [their] peers and trading partners at all levels of the

   healthcare distribution industry.”, The HDA and its conferences were significant opportunities for

   the Manufacturer and Distributor Defendants to interact at a high-level of leadership. And, it is

   clear that the Manufacturer Defendants embraced this opportunity by attending and sponsoring

   these events.

          391.     Third, the RICO Defendants maintained their interpersonal relationships by

   working together and exchanging information and driving the unlawful sales of their opioids

   through their contractual relationships, including chargebacks and vault security programs.

          392.     The Manufacturer Defendants engaged in an industry-wide practice of paying

   rebates and/or chargebacks to the Distributor Defendants for sales of prescription opioids. As

   reported in the Washington Post, identified by Senator McCaskill, and acknowledged by the HDA,

   there is an industry-wide practice whereby the Manufacturers paid the Distributors rebates and/or

   chargebacks on their prescription opioid sales. On information and belief, these contracts were

   negotiated at the highest levels, demonstrating ongoing relationships between the Manufacturer

   and Distributor Defendants. In return for the rebates and chargebacks, the Distributor Defendants




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   provided the Manufacturer Defendants with detailed information regarding their prescription

   opioid sales, including purchase orders, acknowledgements, ship notices, and invoices. The

   Manufacturer Defendants used this information to gather high-level data regarding overall

   distribution and direct the Distributor Defendants on how to most effectively sell the prescription

   opioids.

          393.    The contractual relationships among the RICO Defendants also include vault

   security programs. The RICO Defendants are required to maintain certain security protocols and

   storage facilities for the manufacture and distribution of their opiates. Plaintiff, upon information

   and belief, asserts that manufacturers negotiated agreements whereby the Manufacturers installed

   security vaults for Distributors in exchange for agreements to maintain minimum sales

   performance thresholds. Plaintiff, upon information and belief, asserts that these agreements were

   used by the RICO Defendants as a tool to violate their reporting and diversion duties in order to

   reach the required sales requirements.

          394.    Taken together, the interaction and length of the relationships between and among

   the Manufacturer and Distributor Defendants reflects a deep level of interaction and cooperation

   between two groups in a tightly knit industry. The Manufacturer and Distributor Defendants were

   not two separate groups operating in isolation or two groups forced to work together in a closed

   system. The RICO Defendants operated together as a united entity, working together on multiple

   fronts, to engage in the unlawful sale of prescription opioids. The HDA and the Pain Care Forum

   are but two examples of the overlapping relationships, and concerted joint efforts to accomplish

   common goals and demonstrates that the leaders of each of the RICO Defendants was in

   communication and cooperation.




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          395.    According to articles published by the Center for Public Integrity and The

   Associated Press, the Pain Care Forum—whose members include the Manufacturers and the

   Distributors’ trade association—has been lobbying on behalf of the Manufacturers and Distributors

   for “more than a decade.” And, from 2006 to 2016 the Distributors and Manufacturers worked

   together through the Pain Care Forum to spend over $740 million lobbying in the nation’s capital

   and in all 50 statehouses on issues including opioid-related measures. Similarly, the HDA has

   continued its work on behalf of Distributors and Manufacturers, without interruption, since at least

   2000, if not longer.

          396.    As described above, the RICO Defendants began working together as early as 2006

   through the Pain Care Forum and/or the HDA to promote the common purpose of their enterprise.

   Plaintiff, upon information and belief, asserts that the RICO Defendants worked together as an

   ongoing and continuous organization throughout the existence of their enterprise.

          B.      Conduct of The Opioid Diversion Enterprise

          397.    During the time period alleged in this Complaint, the RICO Defendants exerted

   control over, conducted and/or participated in the Opioid Diversion Enterprise by fraudulently

   failing to comply with their Federal and State obligations to identify, investigate, and report

   suspicious orders of opioids in order to prevent diversion of those highly addictive substances into

   the illicit market, to halt such unlawful sales and, in doing so, to increase production quotas and

   generate unlawful profits, as follows:

               a. Defendants disseminated false and misleading statements to the public claiming

   that they were complying with their obligations to maintain effective controls against diversion of

   their prescription opioids.




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              b. Defendants disseminated false and misleading statements to the public claiming

   that they were complying with their obligations to design and operate a system to disclose to the

   registrant suspicious orders of their prescription opioids.

              c. Defendants disseminated false and misleading statements to the public claiming

   that they were complying with their obligation to notify the DEA of any suspicious orders or

   diversion of their prescription opioids.

              d. Defendants paid nearly $800 million dollars to influence local, state and federal

   governments through joint lobbying efforts as part of the Pain Care Forum.

              e. The RICO Defendants were all members of their Pain Care Forum either directly

   or indirectly through the HDA. The lobbying efforts of the Pain Care Forum and its members

   included efforts to pass legislation making it more difficult for the DEA to suspend and/or revoke

   the Manufacturers’ and Distributors’ registrations for failure to report suspicious orders of opioids.

              f. The RICO Defendants exercised control and influence over the distribution

   industry by participating and maintaining membership in the HDA.

              g. The RICO Defendants applied political and other pressure on the DOJ and DEA to

   halt prosecutions for failure to report suspicious orders of prescription opioids and lobbied

   Congress to strip the DEA of its ability to immediately suspend registrations pending investigation

   by passing the “Ensuring Patient Access and Effective Drug Enforcement Act.”

              h. The RICO Defendants engaged in an industry-wide practice of paying rebates and

   chargebacks to incentivize unlawful opioid prescription sales. Plaintiff, upon information and

   belief, asserts that the Manufacturer Defendants used the chargeback program to acquire detailed

   high-level data regarding sales of the opioids they manufactured. And, Plaintiff, upon information

   and belief, asserts that the Manufacturer Defendants used this high-level information to direct the




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   Distributor Defendants’ sales efforts to regions where prescription opioids were selling in larger

   volumes.

              i. The Manufacturer Defendants lobbied the DEA to increase Aggregate Production

   Quotas, year after year, by submitting net disposal information that the Manufacturer Defendants

   knew included sales that were suspicious and involved the diversion of opioids that had not been

   properly investigated or reported by the RICO Defendants.

              j. The Distributor Defendants developed “know your customer” questionnaires and

   files. This information, compiled pursuant to comments from the DEA in 2006 and 2007, was

   intended to help the RICO Defendants identify suspicious orders or customers who were likely to

   divert prescription opioids. On information and belief, the “know your customer” questionnaires

   informed the RICO Defendants of the number of pills that the pharmacies sold, how many non-

   controlled substances are sold compared to controlled substances, whether the pharmacy buys from

   other distributors, the types of medical providers in the area, including pain clinics, general

   practitioners, hospice facilities, cancer treatment facilities, among others, and these questionnaires

   put the recipients on notice of suspicious orders.

              k. The RICO Defendants refused to identify, investigate, and report suspicious orders

   to the DEA when they became aware of the same despite their actual knowledge of drug diversion

   rings. The RICO Defendants refused to identify suspicious orders and diverted drugs despite the

   DEA issuing final decisions against the Distributor Defendants in 178 registrant actions between

   2008 and 2012 and 117 recommended decisions in registrant actions from The Office of

   Administrative Law Judges. These numbers include 76 actions involving orders to show cause and

   41 actions involving immediate suspension orders—all for failure to report suspicious orders.




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              l. Defendants’ scheme had decision-making structure that was driven by the

   Manufacturer Defendants and corroborated by the Distributor Defendants.

              m. The Manufacturer Defendants worked together to control the State and Federal

   Government’s response to the manufacture and distribution of prescription opioids by increasing

   production quotas through a systematic refusal to maintain effective controls against diversion,

   identify suspicious orders, and report them to the DEA.

              n. The RICO Defendants worked together to control the flow of information and

   influence state and federal governments and political candidates to pass legislation that was pro-

   opioid. The Manufacturer and Distributor Defendants did this through their participation in the

   Pain Care Forum and Healthcare Distributors Alliance.

          398.    The RICO Defendants also worked together to ensure that the Aggregate

   Production Quotas, Individual Quotas, and Procurement Quotas allowed by the DEA stayed high

   and ensured that suspicious orders were not reported to the DEA. By not reporting suspicious

   orders or diversion of prescription opioids, the RICO Defendants ensured that the DEA had no

   basis for refusing to increase or decrease the production quotas for prescription opioids due to

   diversion of suspicious orders. The RICO Defendants influenced the DEA production quotas in

   the following ways:

              a. The Distributor Defendants assisted the enterprise and the Manufacturer

   Defendants in their lobbying efforts through the Pain Care Forum;

              b. The Distributor Defendants invited the participation, oversight, and control of the

   Manufacturer Defendants by including them in the HDA, including on the councils, committees,

   task forces, and working groups;




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              c. The Distributor Defendants provided sales information to the Manufacturer

   Defendants regarding their prescription opioids, including reports of all opioids prescriptions filled

   by the Distributor Defendants;

              d. The Manufacturer Defendants used a chargeback program to ensure delivery of the

   Distributor Defendants’ sales information;

              e. The Manufacturer Defendants obtained sales information from QuintilesIMS

   (formerly IMS Health) that gave them a “stream of data showing how individual doctors across

   the nation were prescribing opioids.”

              f. The Distributor Defendants accepted rebates and chargebacks for orders of

   prescription opioids;

              g. The Manufacturer Defendants used the Distributor Defendants’ sales information

   and the data from QuintilesIMS to instruct the Distributor Defendants to focus their distribution

   efforts to specific areas where the purchase of prescription opioids was most frequent;

              h. The RICO Defendants identified suspicious orders of prescription opioids and then

   continued filling those unlawful orders, without reporting them, knowing that they were suspicious

   and/or being diverted into the illicit drug market;

              i. The RICO Defendants refused to report suspicious orders of prescription opioids

   despite repeated investigation and punishment of the Distributor Defendants by the DEA for failure

   to report suspicious orders; and

              j. The RICO Defendants withheld information regarding suspicious orders and illicit

   diversion from the DEA because it would have revealed that the “medical need” for and the net

   disposal of their drugs did not justify the production quotas set by the DEA.




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          399.    The scheme devised and implemented by the RICO Defendants amounted to a

   common course of conduct characterized by a refusal to maintain effective controls against

   diversion, and all designed and operated to ensure the continued unlawful sale of controlled

   substances.

          C.      Pattern of Racketeering Activity.

          400.    The RICO Defendants conducted and participated in the conduct of the Opioid

   Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C. § 1961(B),

   including mail fraud (18 U.S.C. § 1341) and wire fraud (18 U.S.C. § 1343); and 18 U.S.C. §

   1961(D) by the felonious manufacture, importation, receiving, concealment buying selling, or

   otherwise dealing in a controlled substance or listed chemical (as defined in section 102 of the

   Controlled Substance Act), punishable under any law of the United States.


                  1.      The RICO Defendants Engaged in Mail and Wire Fraud.

          401.    The RICO Defendants carried out, or attempted to carry out, a scheme to defraud

   federal and state regulators, and the American public by knowingly conducting or participating in

   the conduct of the Opioid Diversion Enterprise through a pattern of racketeering activity within

   the meaning of 18 U.S.C. § 1961(1) that employed the use of mail and wire facilities, in violation

   of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

          402.    The RICO Defendants committed, conspired to commit, and/or aided and abetted

   in the commission of at least two predicate acts of racketeering activity (i.e. violations of 18 U.S.C.

   §§ 1341 and 1343) within the past ten years. The multiple acts of racketeering activity that the

   RICO Defendants committed, or aided and abetted in the commission of, were related to each

   other, posed a threat of continued racketeering activity, and therefore constitute a “pattern of

   racketeering activity.” The racketeering activity was made possible by the RICO Defendants’



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   regular use of the facilities, services, distribution channels, and employees of the Opioid Diversion

   Enterprise. The RICO Defendants participated in the scheme to defraud by using mail, telephone,

   and the Internet to transmit mailings and wires in interstate or foreign commerce.

           403.      The RICO Defendants used, directed the use of, and/or caused to be used, thousands

   of interstate mail and wire communications in service of their scheme through virtually uniform

   misrepresentations, concealments, and material omissions regarding their compliance with their

   mandatory reporting requirements and the actions necessary to carry out their unlawful goal of

   selling prescription opioids without reporting suspicious orders or the diversion of opioids into the

   illicit market.

           404.      In devising and executing the illegal scheme, the RICO Defendants devised and

   knowingly carried out a material scheme and/or artifice to defraud by means of materially false or

   fraudulent pretenses, representations, promises, or omissions of material facts. For the purpose of

   executing the illegal scheme, the RICO Defendants committed these racketeering acts, which

   number in the thousands, intentionally and knowingly with the specific intent to advance the illegal

   scheme.

           405.      The RICO Defendants’ predicate acts of racketeering (18 U.S.C. § 1961(1))

   include, but are not limited to:

               a. Mail Fraud: The RICO Defendants violated 18 U.S.C. § 1341 by sending or

   receiving, or by causing to be sent and/or received, materials via U.S. mail or commercial

   interstate carriers for the purpose of executing the unlawful scheme to design, manufacture,

   market, and sell the prescription opioids by means of false pretenses, misrepresentations,

   promises, and omissions.




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                b. Wire Fraud: The RICO Defendants violated 18 U.S.C. § 1343 by

   transmitting and/or receiving, or by causing to be transmitted and/or received, materials by

   wire for the purpose of executing the unlawful scheme to design, manufacture, market, and

   sell the prescription opioids by means of false pretenses, misrepresentations, promises, and

   omissions.


             406.   The RICO Defendants’ use of the mail and wires includes, but is not limited to, the

   transmission, delivery, or shipment of the following by the Manufacturers, Distributors, or third

   parties that were foreseeably caused to be sent as a result of the RICO Defendants’ illegal scheme,

   including:

                a. The prescription opioids themselves;

                b. Documents and communications that facilitated the manufacture, purchase, and

   unlawful sale of prescription opioids;

                c. Defendants’ DEA registrations;

                d. Documents and communications that supported and/or facilitated Defendants’

   DEA registrations;

                e. Documents and communications that supported and/or facilitated the Defendants’

   request for higher aggregate production quotas, individual production quotas, and procurement

   quotas;

                f. Defendants’ records and reports that were required to be submitted to the DEA

   pursuant to 21 U.S.C. § 827;

                g. Documents and communications related to the Defendants’ mandatory DEA

   reports pursuant to 21 U.S.C. § 823 and 21 C.F.R. § 1301.74;




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               h. Documents intended to facilitate the manufacture and distribution of Defendants’

   prescription opioids, including bills of lading, invoices, shipping records, reports and

   correspondence;

               i. Documents for processing and receiving payment for prescription opioids;

               j. Payments from the Distributors to the Manufacturers;

               k. Rebates and chargebacks from the Manufacturers to the Distributors;

               l. Payments to Defendants’ lobbyists through the Pain Care Forum;

               m. Payments to Defendants’ trade organizations, like the HDA, for memberships

   and/or sponsorships;

               n. Deposits of proceeds from Defendants’ manufacture and distribution of

   prescription opioids; and

               o. Other documents and things, including electronic communications.

           407.    On information and belief, the RICO Defendants (and/or their agents), for the

   purpose of executing the illegal scheme, sent and/or received (or caused to be sent and/or received)

   by mail or by private or interstate carrier, shipments of prescription opioids and related documents

   by mail or by private carrier affecting interstate commerce, including the following:

               a. Purdue manufactures multiple forms of prescription opioids, including: OxyContin,

   MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq ER. Purdue manufactured

   and shipped these prescription opioids to the Distributor Defendants in this jurisdiction.

               b. The Distributor Defendants shipped Purdue’s prescription opioids throughout this

   jurisdiction.




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               c. Cephalon manufactures multiple forms of prescription opioids, including: Actiq

   and Fentora. Cephalon manufactured and shipped these prescription opioids to the Distributor

   Defendants in this jurisdiction.

               d. The Distributor Defendants shipped Teva’s prescription opioids throughout this

   jurisdiction.

               e. Janssen manufactures prescription opioids known as Duragesic. Janssen

   manufactured and shipped its prescription opioids to the Distributor Defendants in this jurisdiction.

               f. The Distributor Defendants shipped Janssen’s prescription opioids throughout this

   jurisdiction.

               g. Endo    manufactures multiple forms of           prescription opioids, including:

   Opana/Opana ER, Percodan, Percocet, and Zydone. Endo manufactured and shipped its

   prescription opioids to the Distributor Defendants in this jurisdiction.

               h. The Distributor Defendants shipped Janssen’s prescription opioids throughout this

   jurisdiction.

               i. Actavis manufactures multiple forms of prescription opioids, including: Kadin and

   Norco, as well as generic versions of the drugs known as Kadian, Duragesic and Opana. Actavis

   manufactured and shipped its prescription opioids to the Distributor Defendants in this jurisdiction.

               j. The Distributor Defendants shipped Actavis’ prescription opioids throughout this

   jurisdiction.

               k. Mallinckrodt manufactures multiple forms of prescription opioids, including:

   Exalgo and Roxicodone.

               l. The Distributor Defendants shipped Mallinckrodt’s prescription opioids throughout

   this jurisdiction.




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          408.    The RICO Defendants also used the internet and other electronic facilities to carry

   out their scheme and conceal the ongoing fraudulent activities. Specifically, the RICO Defendants

   made misrepresentations about their compliance with Federal State, and Tribal laws requiring them

   to identify, investigate, and report suspicious orders of prescription opioids and/or diversion of the

   same into the illicit market.

          409.    At the same time, the RICO Defendants misrepresented the superior safety features

   of their order monitoring programs, ability to detect suspicious orders, commitment to preventing

   diversion of prescription opioids, and that they complied with all state and federal regulations

   regarding the identification and reporting of suspicious orders of prescription opioids.

          410.    Plaintiff, upon information and belief, asserts that the RICO Defendants utilized the

   internet and other electronic resources to exchange communications, to exchange information

   regarding prescription opioid sales, and to transmit payments and rebates/chargebacks.

          411.    The RICO Defendants also communicated by U.S. Mail, by interstate facsimile,

   and by interstate electronic mail with various other affiliates, regional offices, regulators,

   distributors, and other third-party entities in furtherance of the scheme.

          412.    The mail and wire transmissions described herein were made in furtherance of

   Defendants’ scheme and common course of conduct to deceive regulators and the public that

   Defendants were complying with their state and federal obligations to identify and report

   suspicious orders of prescription opioids all while Defendants were knowingly allowing millions

   of doses of prescription opioids to divert into the illicit drug market. The RICO Defendants’

   scheme and common course of conduct was intended to increase or maintain high production

   quotas for their prescription opioids from which they could profit.




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          413.    Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire

   facilities have been deliberately hidden and cannot be alleged without access to Defendants’ books

   and records. But, Plaintiff has described the types of, and in some instances, occasions on which

   the predicate acts of mail and/or wire fraud occurred. They include thousands of communications

   to perpetuate and maintain the scheme, including the things and documents described in the

   preceding paragraphs.

          414.    The RICO Defendants did not undertake the practices described herein in isolation,

   but as part of a common scheme. These actions violate 18 U.S.C. § 1962(c). Various other persons,

   firms, and corporations, including third-party entities and individuals not named as defendants in

   this Complaint, may have contributed to and/or participated in the scheme with the RICO

   Defendants in these offenses and may have performed acts in furtherance of the scheme to increase

   revenues, increase market share, and /or minimize the losses for the RICO Defendants.

          415.    The RICO Defendants aided and abetted others in the violations of the above laws,

   thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343 offenses.

          416.    The RICO Defendants hid from the general public, and suppressed and/or ignored

   warnings from third parties, whistleblowers, and governmental entities about the reality of the

   suspicious orders that the RICO Defendants were filling on a daily basis—leading to the diversion

   of a tens of millions of doses of prescription opioids into the illicit market.

          417.    The RICO Defendants, with knowledge and intent, agreed to the overall objective

   of their fraudulent scheme and participated in the common course of conduct to commit acts of

   fraud and indecency in manufacturing and distributing prescription opioids.




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          418.    Indeed, for the Defendants’ fraudulent scheme to work, each of the Defendants had

   to agree to implement similar tactics regarding marketing prescription opioids and refusing to

   report suspicious orders.

          419.    As described herein, the RICO Defendants engaged in a pattern of related and

   continuous predicate acts for years. The predicate acts constituted a variety of unlawful activities,

   each conducted with the common purpose of obtaining significant monies and revenues from the

   sale of their highly addictive and dangerous drugs. The predicate acts also had the same or similar

   results, participants, victims, and methods of commission. The predicate acts were related and not

   isolated events.

          420.    The predicate acts all had the purpose of generating significant revenue and profits

   for the RICO Defendants while Plaintiff was left with substantial injury through the damage caused

   by the prescription opioid epidemic. The predicate acts were committed or caused to be committed

   by the RICO Defendants through their participation in the Opioid Diversion Enterprise and in

   furtherance of its fraudulent scheme.

          421.    The pattern of racketeering activity alleged herein and the Opioid Diversion

   Enterprise are separate and distinct from each other. Likewise, Defendants are distinct from the

   enterprise.

          422.    The pattern of racketeering activity alleged herein is continuing as of the date of

   this Complaint and, upon information and belief, will continue into the future unless enjoined by

   this Court.

          423.    Many of the precise dates of the RICO Defendants’ criminal and unlawful actions

   at issue here have been hidden and cannot be alleged without access to Defendants’ books and




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   records. Indeed, an essential part of the successful operation of the Opioids Addiction and Opioid

   Diversion Enterprise alleged herein depended upon secrecy.

            424.   Each instance of racketeering activity alleged herein was related, had similar

   purposes, involved the same or similar participants and methods of commission, and had similar

   results affecting similar victims, including consumers and persons in this jurisdiction and the

   Plaintiff. Defendants calculated and intentionally crafted the Opioid Diversion Enterprise and their

   scheme to increase and maintain their increased profits without regard to the effect such behavior

   would have on consumers in this jurisdiction, its citizens, or the Plaintiff. In designing and

   implementing the scheme, at all times Defendants were cognizant of the fact that those in the

   manufacturing and distribution chain rely on the integrity of the pharmaceutical companies and

   ostensibly neutral third parties to provide objective and reliable information regarding Defendants’

   products and their manufacture and distribution of those products. The Defendants were also aware

   that Plaintiff and the citizens of this jurisdiction rely on the Defendants to maintain a closed system

   and to protect against the non-medical diversion and use of their dangerously addictive opioid

   drugs.

            425.   By intentionally refusing to report and halt suspicious orders of their prescription

   opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

   a pattern of racketeering activity.

            426.   It was foreseeable to Defendants that refusing to report and halt suspicious orders,

   as required by the CSA and Code of Federal Regulations, would harm Plaintiff by allowing the

   flow of prescriptions opioids from appropriate medical channels into the illicit drug market.

            427.   The last racketeering incident occurred within five years of the commission of a

   prior incident of racketeering.




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                  2.      The RICO Defendants Manufactured, Sold and/or Dealt in Controlled
                          Substances and Their Crimes Are Punishable as Felonies.

          428.    The RICO Defendants conducted and participated in the conduct of the affairs of

   the Opioid Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C.

   § 1961(D) by the felonious manufacture, importation, receiving, concealment, buying, selling, or

   otherwise dealing in a controlled substance or listed chemical (as defined in section 102 of the

   Controlled Substance Act), punishable under any law of the United States.

          429.    The RICO Defendants committed crimes that are punishable as felonies under the

   laws of the United States. Specifically, 21 U.S.C. § 483(a)(4) makes it unlawful for any person to

   knowingly or intentionally furnish false or fraudulent information in, or omit any material

   information from, any application, report, record or other document required to be made, kept or

   filed under this subchapter. A violation of section 483(a)(4) is punishable by up to four years in

   jail, making it a felony. 21 U.S.C. § 483(d)(1).

          430.    Each of the RICO Defendants qualify as registrants under the CSA. Their status as

   registrants under the CSA requires that they maintain effective controls against diversion of

   controlled substances in schedule I or II, design and operate a system to disclose to the registrant

   suspicious orders of controlled substances and inform the DEA of suspicious orders when

   discovered by the registrant. 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).

          431.    Pursuant to the CSA and the Code of Federal Regulations, the RICO Defendants

   were required to make reports to the DEA of any suspicious orders identified through the design

   and operation of their system to disclose suspicious orders.

          432.    The RICO Defendants knowingly and intentionally furnished false or fraudulent

   information in their reports to the DEA about suspicious orders, and/or omitted material

   information from reports, records and other document required to be filed with the DEA including



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   the Manufacturer Defendants’ applications for production quotas. Specifically, the RICO

   Defendants were aware of suspicious orders of prescription opioids and the diversion of their

   prescription opioids into the illicit market and failed to report this information to the DEA in their

   mandatory reports and their applications for production quotas.

          433.    For example, The DEA and DOJ began investigating McKesson in 2013 regarding

   its monitoring and reporting of suspicious controlled substances orders. On April 23, 2015,

   McKesson filed a Form 8-K announcing a settlement with the DEA and DOJ wherein it admitted

   to violating the CSA and agreed to pay $150 million and have some of its DEA registrations

   suspended on a staggered basis. The settlement was finalized on January 17, 2017.

          434.    Purdue’s experience in Los Angeles is another striking example of Defendants’

   willful violation of the CSA and Code of Federal Regulations as it relates to reporting suspicious

   orders of prescription opioids. In 2016, the Los Angeles Times reported that Purdue was aware of

   a pill mill operating out of Los Angeles yet failed to alert the DEA. The LA Times uncovered that

   Purdue began tracking a surge in prescriptions in Los Angeles, including one prescriber in

   particular. A Purdue sales manager spoke with company officials in 2009 about the prescriber,

   asking “Shouldn’t the DEA be contacted about this?” and adding that she felt “very certain this is

   an organized drug ring.” Despite knowledge of the staggering amount of pills being issued in Los

   Angeles, and internal discussion of the problem, “Purdue did not shut off the supply of highly

   addictive OxyContin and did not tell authorities what it knew about Lake Medical until several

   years later when the clinic was out of business and its leaders indicted. By that time, 1.1 million

   pills had spilled into the hands of Armenian mobsters, the Crips gang and other criminals.”

          435.    Finally, Mallinckrodt was recently the subject of a DEA and Senate investigation

   for its opioid practices. Specifically, in 2011 the DEA targeted Mallinckrodt arguing that it ignored




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   its responsibility to report suspicious orders as 500 million of its pills ended up in Florida between

   2008 and 2012. After six years of DEA investigation, Mallinckrodt agreed to a settlement

   involving a $35 million fine. Federal prosecutors summarized the case by saying that

   Mallinckrodt’s response was that everyone knew what was going on in Florida but they had no

   duty to report it.

           436.    Plaintiff, upon information and belief, asserts that the foregoing examples reflect

   the RICO Defendants’ pattern and practice of willfully and intentionally omitting information from

   their mandatory reports to the DEA as required by 21 C.F.R. § 1301.74. This conclusion is

   supported by the sheer volume of enforcement actions available in the public record against the

   Distributor Defendants. For example:

               a. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate

   Suspension Order against the AmerisourceBergen Orlando, Florida distribution center (“Orlando

   Facility”) alleging failure to maintain effective controls against diversion of controlled substances.

   On June 22, 2007, AmerisourceBergen entered into a settlement that resulted in the suspension of

   its DEA registration;

               b. On November 28, 2007, the DEA issued an Order to Show Cause and Immediate

   Suspension Order against the Cardinal Health Auburn, Washington Distribution Center (“Auburn

   Facility”) for failure to maintain effective controls against diversion of hydrocodone;

               c. On December 5, 2007, the DEA issued an Order to Show Cause and Immediate

   Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center (“Lakeland

   Facility”) for failure to maintain effective controls against diversion of hydrocodone;

               d. On December 7, 2007, the DEA issued an Order to Show Cause and Immediate

   Suspension Order against the Cardinal Health Swedesboro, New Jersey Distribution Center




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   (“Swedesboro Facility”) for failure to maintain effective controls against diversion of

   hydrocodone;

              e. On January 30, 2008, the DEA issued an Order to Show Cause and Immediate

   Suspension Order against the Cardinal Health Stafford, Texas Distribution Center (“Stafford

   Facility”) for failure to maintain effective controls against diversion of hydrocodone;

              f. On May 2, 2008, McKesson Corporation entered into an Administrative

   Memorandum of Agreement (“2008 MOA”) with the DEA which provided that McKesson would

   “maintain a compliance program designed to detect and prevent the diversion of controlled

   substances, inform DEA of suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the

   procedures established by its Controlled Substance Monitoring Program”;

              g. On September 30, 2008, Cardinal Health entered into a Settlement and Release

   Agreement and Administrative Memorandum of Agreement with the DEA related to its Auburn

   Facility, Lakeland Facility, Swedesboro Facility and Stafford Facility. The document also

   referenced allegations by the DEA that Cardinal failed to maintain effective controls against the

   diversion of controlled substances at its distribution facilities located in McDonough, Georgia

   (“McDonough Facility”), Valencia, California (“Valencia Facility”) and Denver, Colorado

   (“Denver Facility”);

              h. On February 2, 2012, the DEA issued an Order to Show Cause and Immediate

   Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center (“Lakeland

   Facility”) for failure to maintain effective controls against diversion of oxycodone;

              i. On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the

   DEA to resolve the civil penalty portion of the administrative action taken against its Lakeland,

   Florida Distribution Center; and




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                 j. On January 5, 2017, McKesson Corporation entered into an Administrative

   Memorandum Agreement with the DEA wherein it agreed to pay a $150,000,000 civil penalty for

   violation of the 2008 MOA as well as failure to identify and report suspicious orders at its facilities

   in Aurora CO, Aurora IL, Delran NJ, LaCrosse WI, Lakeland FL, Landover MD, La Vista NE,

   Livonia MI, Methuen MA, Santa Fe Springs CA, Washington Courthouse OH, and West

   Sacramento CA.

           437.     These actions against the Distributor Defendants confirm that the Distributors knew

   they had a duty to maintain effective controls against diversion, design and operate a system to

   disclose suspicious orders, and to report suspicious orders to the DEA. These actions also

   demonstrate, on information and belief, that the Manufacturer Defendants were aware of the

   enforcement against their Distributors and the diversion of the prescription opioids and a

   corresponding duty to report suspicious orders.

           438.     The pattern of racketeering activity alleged herein is continuing as of the date of

   this Complaint and, upon information and belief, will continue into the future unless enjoined by

   this Court.

           439.     Many of the precise dates of Defendants’ criminal actions at issue herein were

   hidden and cannot be alleged without access to Defendants’ books and records. Indeed, an essential

   part of the successful operation of the Opioid Diversion Enterprise depended upon the secrecy of

   the participants in that enterprise.

           440.     Each instance of racketeering activity alleged herein was related, had similar

   purposes, involved the same or similar participants and methods of commission, and had similar

   results affecting similar victims, including consumers and persons in this jurisdiction and the

   Plaintiff. Defendants calculated and intentionally crafted the diversion scheme to increase and




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   maintain profits from unlawful sales of opioids, without regard to the effect such behavior would

   have on this jurisdiction, its citizens, or the Plaintiff. The Defendants were aware that Plaintiff and

   the citizens of this jurisdiction rely on the Defendants to maintain a closed system of manufacturing

   and distribution to protect against the non-medical diversion and use of their dangerously addictive

   opioid drugs.

          441.     By intentionally refusing to report and halt suspicious orders of their prescription

   opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

   a pattern of racketeering activity.

          442.     It was foreseeable to Defendants that refusing to report and halt suspicious orders,

   as required by the CSA and Code of Federal Regulations, would harm Plaintiff by allowing the

   flow of prescriptions opioids from appropriate medical channels into the illicit drug market.

          443.     The last racketeering incident occurred within five years of the commission of a

   prior incident of racketeering.

          D.       Damages

          444.     The RICO Defendants’ violations of law and their pattern of racketeering activity

   directly and proximately caused Plaintiff injury in its business and property because Plaintiff paid

   for costs associated with the opioid epidemic as described above in language expressly

   incorporated herein by reference.

          445.     Plaintiff’s injuries, and those of her citizens, were proximately caused by

   Defendants’ racketeering activities. But for the RICO Defendants’ conduct, Plaintiff would not

   have paid the health services, social services, and first responders’ services and expenditures

   required as a result of the plague of drug-addicted residents.




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          446.    Plaintiff’s injuries and those of her citizens were directly caused by the RICO

   Defendants’ racketeering activities.

          447.    Plaintiff was most directly harmed and there is no other Plaintiff better suited to

   seek a remedy for the economic harms at issue here.

          448.    Plaintiff seeks all legal and equitable relief as allowed by law, including, among

   other things, actual damages, treble damages, equitable relief, forfeiture as deemed proper by the

   Court, attorney’s fees, and all costs and expenses of suit and pre- and post-judgment interest.

                                                COUNT IV
               Violation of the Racketeer Influenced and Corrupt Organizations Act
                                     18 U.S.C. 1962(d), et seq.
                                          (Against All Defendants)

          449.    Plaintiff hereby incorporates by reference ¶¶ 1–448 and ¶¶ 461–497 of this

   Complaint as if fully set forth herein, and further alleges as follows.

          450.    Plaintiff brings this claim on its own behalf against all RICO Defendants. At all

   relevant times, the RICO Defendants were associated with the Opioid Diversion Enterprise and

   agreed and conspired to violate 18 U.S.C. § 1962(c), that is, they agreed to conduct and participate,

   directly and indirectly, in the conduct of the affairs of the Opioid Diversion

          451.    Enterprise through a pattern of racketeering activity in violation of 18 U.S.C. §

   1962(d). Under Section 1962(d) it is unlawful for “any person to conspire to violate” Section

   1962(d), among other provisions. 18 U.S.C. § 1962(d).

          452.    Defendants conspired to violate Section 1962(c), as alleged more fully above, by

   conducting the affairs of the Opioid Diversion Enterprise through a pattern of racketeering activity,

   as incorporated by reference below.




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          A.      The Opioid Diversion Enterprise.

          453.    For efficiency and avoiding repetition, for purposes of this claim, Plaintiff

   incorporates by reference the paragraphs set forth above concerning the “Opioid Diversion

   Enterprise.”

                  1.        Conduct Of The Opioid Diversion Enterprise.

          454.    For efficiency and avoiding repetition, for purposes of this claim, Plaintiff

   incorporates by reference the paragraphs set forth above concerning the “Conduct of the Opioid

   Diversion Enterprise.”


                  2.        Pattern Of Racketeering Activity.

          455.    For efficiency and avoiding repetition, for purposes of this claim, Plaintiff

   incorporates by reference the paragraphs set forth above concerning the “Pattern of Racketeering

   Activity.”

          B.      Damages.

          456.    The RICO Defendants’ violations of law and their pattern of racketeering activity

   directly and proximately caused Plaintiff injury in its business and property because Plaintiff paid

   for costs associated with the opioid epidemic as described above in language expressly

   incorporated herein by reference.

          457.    Plaintiff’s injuries, and those of her citizens, were proximately caused by the RICO

   Defendants’ racketeering activities. But for the RICO Defendants’ conduct, Plaintiff would not

   have paid the health services, social services, and first responders’ services and expenditures

   required as a result of the plague of drug-addicted residents.

          458.    Plaintiff’s injuries and those of her citizens were directly caused by the RICO

   Defendants’ racketeering activities.



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           459.    Plaintiff was most directly harmed and there is no other Plaintiff better suited to

   seek a remedy for the economic harms at issue here.

           460.    Plaintiff seeks all legal and equitable relief as allowed by law, including, among

   other things, actual damages, treble damages, equitable relief, forfeiture as deemed proper by the

   Court, attorney’s fees, and all costs and expenses of suit and pre- and post-judgment interest.

                                                 COUNT V
                              Negligence and Negligent Misrepresentation
                                       (Against All Defendants)

           461.    Plaintiff incorporates by reference ¶¶ 1–460 and ¶¶ 489–497 of this Complaint as

   if fully set forth here, and further alleges as follows.

           462.    Plaintiff seeks economic damages which were the foreseeable result of Defendants’

   intentional and/or unlawful actions and omissions.

           463.    To establish actionable negligence, one must show in addition to the existence of a

   duty to conform to a standard of conduct for the protection of others against unreasonable risks, a

   breach of that duty, and injury resulting proximately therefrom. All such essential elements exist

   here.

           464.    Each Defendant had an obligation to exercise due care in manufacturing, marketing,

   selling, and distributing highly dangerous opioid drugs in the State and the Seminole Community.

           465.    Defendants’ duties were assumed voluntarily, as a condition for the privilege of

   selling, distributing, and in the case of Walgreens and CVS dispensing, controlled substances in

   Florida.

           466.    The existence of a duty depends on the foreseeability of the injury. Each Defendant

   owed a duty to the Plaintiff and to the Seminole Community because the injuries alleged herein

   was foreseeable, and in fact foreseen, by the Defendants.



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          467.    Reasonably prudent manufacturers and distributors of prescription opioids would

   have anticipated that the scourge of opioid addiction would wreak havoc on communities and the

   significant costs which would be imposed upon the governmental entities associated with those

   communities. The closed system of opioid distribution whereby wholesale distributors are the

   gatekeepers between manufacturers and pharmacies, and wherein all links in the chain have a duty

   to prevent diversion, exists for the purpose of controlling dangerous substances such as opioids

   and preventing diversion and abuse.

          468.    Reasonably prudent manufacturers of pharmaceutical products would know that

   aggressively pushing highly addictive opioids for chronic pain would result in the severe harm of

   addiction, foreseeably causing patients to seek increasing levels of opioids and frequently turning

   to the illegal drug market as a result of a drug addiction that was foreseeable to the Manufacturer

   Defendants.

          469.    Moreover, Defendants were repeatedly warned by law enforcement of the

   unlawfulness and consequences of their actions and omissions.

          470.    The escalating amounts of addictive drugs flowing through Defendants’ businesses,

   and the sheer volume of these prescription opioids, further alerted Defendants that addiction was

   fueling increased consumption and that legitimate medical purposes were not being served.

          471.    As described above in language expressly incorporated herein, Distributor

   Defendants breached their duties to exercise reasonable care in the business of wholesale

   distribution of dangerous opioids, which are Schedule II Controlled Substances, by failing to

   monitor for, failing to report, and filling highly suspicious orders time and again. Because the very

   purpose of these duties was to prevent the resulting harm—diversion of highly addictive drugs for




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   non-medical purposes—the causal connection between Defendants’ breach of duties and the

   ensuing harm was entirely foreseeable.

          472.    As described elsewhere in the Complaint in language expressly incorporated

   herein, Distributor Defendants misrepresented their compliance with their duties under the law and

   concealed their noncompliance and shipments of suspicious orders of opioids to Plaintiff’s

   community and destinations from which they knew opioids were likely to be diverted into the

   Seminole Community, in addition to other misrepresentations alleged and incorporated herein.

          473.    As described elsewhere in the Complaint in language expressly incorporated

   herein, Manufacturer Defendants breached their duties to exercise due care in the business of

   pharmaceutical manufacturers of dangerous opioids, which are Schedule II Controlled Substances,

   and by misrepresenting the nature of the drugs and aggressively promoting them for chronic pain

   for which they knew the drugs were not safe or suitable.

          474.    The Manufacturer Defendants misrepresented and concealed the addictive nature

   of prescription opioids and its lack of suitability for chronic pain, in addition to other

   misrepresentations alleged and incorporated herein.

          475.    All Defendants breached their duties to prevent diversion and report and halt

   suspicious orders, and all Defendants misrepresented their compliance with their legal duties.

          476.    Defendants’ breaches were intentional and/or unlawful, and Defendants’ conduct

   was willful, wanton, malicious, reckless, oppressive, and/or fraudulent.

          477.    Plaintiff justifiably relied on Defendants’ representations and/or concealments,

   both directly and indirectly. This reliance proximately caused Plaintiff’s injuries.

          478.    The causal connections between Defendants’ breaches of duties and

   misrepresentations and the ensuing harm was entirely foreseeable.




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          479.    Defendants were selling dangerous drugs statutorily categorized as posing a high

   potential for abuse and severe dependence. Defendants’ knowingly traded in drugs that presented

   a high degree of danger if prescribed incorrectly or diverted to other than medical, scientific, or

   industrial channels. However, Defendants breached their duties to monitor for, report, and halt

   suspicious orders, breached their duties to prevent diversion, and, further, misrepresented what

   their duties were and their compliance with their legal duties.

          480.    As described above in language expressly incorporated herein, Defendants’

   breaches of duty and misrepresentations bear a causal connection with and/or proximately resulted

   in the damages sought herein.

          481.    The Defendants failed to disclose the material facts that, among other things, they

   were not in compliance with laws and regulations requiring that they maintain a system to prevent

   diversion, protect against addiction and severe harm, and specifically monitor, investigate, report,

   and refuse suspicious orders. But for these material factual omissions, the Defendants would not

   have been able to sell opioids.

          482.    As alleged herein, each Manufacturer Defendant wrongfully represented that the

   opioid prescription medications they manufactured, marketed and sold had characteristics, uses or

   benefits that they do not have. The Manufacturer Defendants also wrongfully misrepresented that

   the opioids were safe and effective when the Manufacturer Defendants knew, or should have

   known, such representations were untrue, false and misleading.

          483.    The Manufacturer Defendants made deceptive representations about the use of

   opioids to treat chronic non-cancer pain. Each Manufacturer Defendant also omitted or concealed

   material facts and failed to correct prior misrepresentations and omissions about the risks and




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   benefits of opioids. Each Defendant’s omissions rendered even their seemingly truthful statements

   about opioids deceptive.

          484.    Defendants breach of duty is the proximate cause and a substantial factor

   contributing to the damages suffered by the Seminole Tribe of Indians of Florida and its members

   alleged in this complaint, including medical costs, unemployment costs, drug treatment costs,

   emergency personnel costs, law enforcement costs, lost productivity, and lost tribal tax revenues.

          485.    Defendants’ unlawful and/or intentional actions constitute negligence.

          486.    Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

   losses) resulting from Defendants’ actions and omissions. Plaintiff does not seek damages for the

   wrongful death, physical personal injury, serious emotional distress, or any physical damage to

   property caused by Defendants’ actions.

          487.    Plaintiff seeks all legal and equitable relief as allowed by law, other than such

   damages disavowed herein, including, among other things, injunctive relief, restitution,

   disgorgement of profits, compensatory and punitive damages, and all damages allowed by law to

   be paid by the Defendants, attorney fees and costs, and pre- and post-judgment interest.

                                              COUNT VI
                                           Gross Negligence
                                           (All Defendants)

          488.    Plaintiff incorporates by reference ¶¶ 1–487 of this Complaint as if fully set forth

   here, and further alleges as follows.

          489.    Defendants owed Plaintiff a duty to exercise reasonable care in the marketing,

   manufacture, sale, distribution, and dispensing of opioids.




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             490.   Defendants owed a heightened duty of care to the State because of the great danger

   of addiction, death, and related harms resulting from their marketing, manufacture, sale,

   distribution, and dispensing of opioids.

             491.   Defendants were aware (or should have been aware) of the great danger posed by

   opioid use and diversion. Yet, in pursuit of profit, they continued to act as alleged herein, in

   reckless disregard of the injuries inflicted on the Plaintiff and its members. For example,

   Defendants failed to take reasonable precautions to identify, monitor, detect, investigate, report,

   and refuse to sell, fill, or dispense suspicious orders and prescriptions of opioids, despite their

   awareness (or circumstances that should have made them aware) of the high risk of diversion.

             492.   Defendants’ conduct alleged herein imposed an exceptional risk of injury and

   constituted a clear and present danger of harm to the Seminole Tribe and its members. Defendants’

   conduct alleged herein was so reckless or wanting in care that it constituted a conscious disregard

   or indifference to the life, safety, or rights of those exposed to Defendants’ conduct in Florida.

             493.   Defendants’ marketing, manufacture, sale, distribution, and dispensing of opioids

   displayed a conscious disregard for the consequences of their acts and omissions, including

   widespread addiction and death as well as related costs incurred by the Seminole Tribe.

             494.   Defendants’ breach of their duties constituted a proximate cause and a substantial

   factor contributing to the damages suffered by the Seminole Tribe and its citizens as alleged in this

   Complaint.

             495.   The harms suffered by the Seminole Tribe, including increased medical costs,

   unemployment costs, drug treatment costs, emergency personnel costs, law enforcement costs, lost

   productivity, and lost tribal tax revenues, were foreseeable in light of Defendants’ breach of their

   duties.




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          496.    The Seminole Tribe seeks damages resulting from Defendants’ gross negligence

   and reserves the right to seek punitive damages.

                                            Prayer for Relief

          WHEREFORE, the Plaintiff respectfully prays that this Court grant the following relief:

          a.      Entering Judgment in favor of the Plaintiff in a final order against each of the

   Defendants;

          b.      Enjoining the Defendants and their employees, officers, directors, agents,

   successors, assignees, merged or acquired predecessors, parent or controlling entities, subsidiaries,

   and all other persons acting in concert or participation with it, from engaging in unfair or deceptive

   practices in violation of law and ordering temporary, preliminary, or permanent injunction;

          c.      Ordering that Defendants compensate the Plaintiff for past and future costs to abate

   the ongoing public nuisance caused by the opioid epidemic;

          d.      Ordering Defendants to fund an “abatement fund” for the purposes of abating the

   opioid nuisance;

          e.      Awarding actual damages, treble damages, punitive damages, injunctive and

   equitable relief, forfeiture as deemed proper by the Court, and attorney fees and all costs and

   expenses of suit pursuant to Plaintiff’s racketeering claims;

          f.      Awarding the Plaintiff damages caused by the opioid epidemic, including:

                  1.      costs for providing medical care, additional therapeutic and prescription

                          drug purchases, and other treatments for patients suffering from opioid-

                          related addiction or disease, including overdoses and deaths;

                  2.      costs for providing treatment, counseling, and rehabilitation services;




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                 3.      costs for providing treatment of infants born with opioid-related medical

                         conditions;

                 4.      costs for providing care for children whose parents suffer from opioid-

                         related disability or incapacitation; and

                 5.      costs associated with law enforcement and public safety relating to the

                         opioid epidemic.

          g.     Awarding judgment against the Defendants requiring Defendants to pay punitive

   damages;

          h.     Granting the Plaintiff the cost of investigation, reasonable attorneys’ fees, and all

   costs and expenses; pre-judgment and post-judgment interest; and all other relief as provided by

   law and/or as the Court deems appropriate and just.

                                    DEMAND FOR JURY TRIAL

          Plaintiff hereby demands a jury trial as to all claims so triable.

          Dated: September 13, 2019

                                                 Respectfully submitted,

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